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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             BEAUMONT DIVISION


                                               )
 UNITED STATES OF AMERICA,                     )
                                               )
                          Plaintiff,           )
                                               )      Civ No. 1:24-cv-00187-MJT
             v.                                )
                                               )
 TPC GROUP LLC,                                )
                                               )
                                               )
                             Defendant.        )
                                               )

                                 CONSENT DECREE
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        WHEREAS, Plaintiff United States of America, on behalf of the United States

 Environmental Protection Agency (“EPA”), has filed a Complaint in this action concurrently with

 this Consent Decree, alleging that the TPC Group LLC (“TPC” or “Defendant”), violated

 Sections 112(r)(1) and 112(r)(7) of the Clean Air Act (“CAA” or the “Act”), 42 U.S.C.

 § 7412(r)(1) and (r)(7), and the 40 C.F.R. Part 68 Chemical Accident Prevention Provisions (the

 “Risk Management Program Regulations”), at its facilities located in Houston, Texas (“Houston

 Facility”) and Port Neches, Texas (“Port Neches Facility”) (collectively “the Facilities”).

        WHEREAS, the Complaint against Defendant alleges that certain violations caused or

 contributed to conditions that, on November 27, 2019, led to an explosion at the Port Neches

 Facility that resulted in the release of more than 11 million pounds of regulated substances, the

 evacuation of a significant number of people from the City of Port Neches and surrounding areas,

 more than $150 million in offsite property damage, and other impacts to human health and the

 environment (the “Port Neches Explosion”).

           WHEREAS, the Complaint against Defendant also alleges numerous other violations of

      the Risk Management Program Regulations at the Houston Facility and Port Neches Facility.

        WHEREAS, the Port Neches Facility no longer operates as a chemical manufacturing

 facility and currently operates only as a storage terminal.

        WHEREAS, on June 1, 2022 (the “Petition Date”), Defendant filed a voluntary petition

 for relief in the United States Bankruptcy Court for the District of Delaware (“Bankruptcy

 Court”) under Chapter 11 of title 11 of the United States Bankruptcy Code at Case No 22-10493

 (the “Bankruptcy Code” and such proceedings thereunder, the “Chapter 11 Case”).

        WHEREAS, on November 29, 2022, the EPA filed Proof of Claim No. 40198 (“Proof of

 Claim”) against the Defendant seeking, among other things, a claim for payment of a civil


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 penalty pursuant to Section 113(e) of the Act, 42 U.S.C. §7413(e), for the Defendant’s alleged

 violations of Sections 112(r)(1) and 112(r)(7) of the Act, 42 U.S.C. § 7412(r)(1) and (r)(7), and

 the 40 C.F.R. Part 68 Risk Management Program Regulations.

        WHEREAS, on December 1, 2022, the Bankruptcy Court entered the Findings of Fact,

 Conclusions of Law and Order Confirming Modified Second Amended Joint Chapter 11 Plan of

 TPC Group, Inc. and Its Debtor Affiliates [Docket No. 1281] (the “Confirmation Order”),

 thereby confirming the Modified Second Amended Joint Chapter 11 Plan of TPC Group Inc. and

 its Debtor Affiliates [Docket No. 1281-1] (the “Plan”). The GUC Trust Agreement (as defined in

 the Plan and approved in the Confirmation Order) provides that the Reorganized Debtors have

 the authority to enter into a settlement of the Proof of Claim with the consent of the GUC

 Trustee, solely to the extent such reconciliation results in an allowed general unsecured claim,

 which shall not be reasonably withheld, conditioned, or delayed.

        WHEREAS, on December 16, 2022, the Effective Date of the Plan occurred, and the

 Defendant emerged from Chapter 11.

        WHEREAS, the Parties have engaged in good faith settlement negotiations to resolve the

 claims in the Complaint and the Proof of Claim, and the Parties desire to memorialize certain

 understandings and agreements they have reached with respect thereto.

        WHEREAS, the GUC Trustee has provided a letter, which is attached as Appendix B to

 this Consent Decree, consenting to the allowance of a general unsecured claim in the amount of

 $4,840,000 for EPA, in settlement of the EPA’s claim for civil penalties in connection with

 Defendant’s Port Neches Facility.

        WHEREAS, Defendant does not admit any liability to the United States arising out of the

 transactions or occurrences alleged in the Complaint or the Proof of Claim.


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         WHEREAS, the Parties recognize, and the Court by entering this Consent Decree finds,

 that this Consent Decree has been negotiated by the Parties in good faith and will avoid litigation

 between the Parties and that this Consent Decree is fair, reasonable, and in the public interest.

         NOW, THEREFORE, before the taking of any testimony, without the adjudication or

 admission of any issue of fact or law except as provided in Section I (Jurisdiction and Venue)

 below, and with the consent of the Parties, IT IS HEREBY ADJUDGED, ORDERED, AND

 DECREED as follows:

                                I.      JURISDICTION AND VENUE

         1.       This Court has jurisdiction over the subject matter of this action, pursuant to

 28 U.S.C. §§ 1331, 1345, and 1355, and Section 113(b) of the Act, 42 U.S.C. § 7413(b), and over

 the Parties. Venue lies in this District pursuant to Section 113(b) of the Act, 42 U.S.C.

 § 7413(b), and 28 U.S.C. §§ 1391(b) and (c) and 1395(a), because some of the violations alleged

 in the Complaint are alleged to have occurred in, and Defendant conducts business in, this

 judicial district. For purposes of this Consent Decree, or any action to enforce this Consent

 Decree, Defendant consents to the Court’s jurisdiction over this Consent Decree and any such

 action and over Defendant and consents to venue in this judicial district.

    2.        For purposes of this Consent Decree, Defendant agrees that the Complaint states claims

                  upon which relief may be granted pursuant to Section 113(b) of the Act, 42 U.S.C.


 § 7413(b).

         3.       Notice of the commencement of this action has been given to the State of Texas,

 as required by Section 113(b) of the Act, 42 U.S.C. § 7413(b).




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                                     II.     APPLICABILITY

        4.       The obligations of this Consent Decree apply to and are binding upon the United

 States and upon Defendant and any successors, assigns, or other entities or persons otherwise

 bound by law.

        5.       No transfer of ownership or operation of the Houston Facility or the Port Neches

 Facility, whether in compliance with the procedures of this Paragraph or otherwise, shall relieve

 Defendant of its obligation to ensure that the terms of the Consent Decree are implemented,

 unless (1) the transferee agrees to undertake obligations required by this Consent Decree and to

 be substituted for the Defendant as a Party under the Consent Decree and thus be bound by the

 terms thereof, and (2) the United States consents to relieve Defendant of its obligations. At least

 30 Days prior to such transfer, Defendant shall provide a copy of this Consent Decree to the

 proposed transferee and shall simultaneously provide written notice of the prospective transfer,

 together with a copy of the proposed written agreement, to the United States in accordance with

 Section XIV (Notices) of the Consent Decree. Defendant’s written notice of the prospective

 transfer must demonstrate that the proposed transferee has the financial and technical ability to

 comply with this Consent Decree and the Act and must include a detailed summary of the

 proposed transferee’s accidental release history and compliance with Section 112(r) of the Act,

 42 U.S.C. § 7412(r). The United States’ consent or non-consent shall be based upon a

 determination regarding whether the proposed transferee has the financial and technical ability to

 comply with the Consent Decree as well as the proposed transferee’s accidental release history.

 No later than five Days after the completion of such transfer, Defendant shall provide an

 executed copy of the written agreement to the same entities that received written notice of the

 prospective transfer, in accordance with Section XIV (Notices). Any attempt to transfer


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 ownership or operation of the Houston Facility or the Port Neches Facility without complying

 with this Paragraph constitutes a violation of this Consent Decree.

        6.      Defendant shall provide a copy of this Consent Decree to all officers, employees,

 and agents whose duties might reasonably include compliance with any provision of this Consent

 Decree, as well as to any contractor retained to perform work required under this Consent Decree.

 Defendant shall condition any such contract upon performance of the work in conformity with the

 terms of this Consent Decree.

        7.      In any action to enforce this Consent Decree, Defendant shall not raise as a

 defense the failure by any of its officers, directors, employees, agents, or contractors to take any

 actions necessary to comply with the provisions of this Consent Decree.

                                        III.    OBJECTIVES

        8.      It is the express purpose of the Parties in entering into this Consent Decree to

 further the objectives set forth in 42 U.S.C. § 7412(r) by the expeditious implementation of the

 requirements of this Consent Decree. All obligations of this Consent Decree have the objective of

 causing the Defendant to come into and remain in full compliance with Section 112(r) of the Act,

 42 U.S.C. § 7412(r), including implementing the Risk Management Program Regulations found

 at 40 C.F.R. Part 68.


                                       IV.     DEFINITIONS

        9.      Terms used in this Consent Decree that are defined in the Act or in regulations

 promulgated pursuant to the Act shall have the meanings assigned to them in the Act or such

 regulations, unless otherwise provided in this Consent Decree. Whenever the terms set forth

 below are used in this Consent Decree, the following definitions apply:



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          a. “Administrative Order on Consent” means the Order entered into between EPA

             and Defendant and filed with the Regional Hearing Clerk on August 23, 2022,

             which is attached hereto as Appendix A.

          b. “Catastrophic Release” means a major uncontrolled emission, fire, or explosion,

             involving one or more regulated substances that presents imminent and substantial

             endangerment to public health and the environment.

          c. “Complaint” means the complaint filed by the United States in this action.

          d. “Consent Decree” means this Consent Decree and all appendices attached hereto

             listed in Section XXIV (Appendices).

          e. “Date of Lodging” means the Day this Consent Decree is filed for lodging with

             the Clerk for this Court for the United States District Court for the Eastern District

             of Texas.

          f. “Day” means a calendar day unless expressly stated to be a business day. In

             computing any period of time for a deadline under this Consent Decree, where the

             last day would fall on a Saturday, Sunday, or federal holiday, the period runs until

             the close of business of the next business day.

          g. “Defendant” means TPC Group LLC.

          h. “DOJ” means the United States Department of Justice and any of its successor

             departments or agencies.

          i. “Effective Date” means the definition provided in Section XV (Effective Date).

          j. “EPA” means the United States Environmental Protection Agency and any of its

             successor departments or agencies.




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          k. “Houston Facility” means Defendant’s petrochemical manufacturing facility

             located at 8600 Park Place Boulevard, Houston, Texas 77017.

          l. “Open Corrective Action” or “Open” means a team’s finding or recommendation

             resulting from a process hazard analysis conducted pursuant to 40 C.F.R. § 68.67,

             that has not been resolved and documented, and the completed action

             communicated to operating, maintenance and other employees whose work

             assignments are in the process and who may be affected by the recommendations

             or actions in accordance with 40 C.F.R. § 68.67(e).

          m. “Port Neches Facility” means Defendant’s petrochemical facility located at 2102

             Spur 136, Port Neches, Texas 77654.

          n. “Paragraph” means a portion of this Consent Decree identified by an Arabic

             numeral.

          o. “Parties” means the United States and Defendant, each of which is a “Party.”

          p. “PHA” or “Process Hazard Analysis” means the hazard evaluation described in

             and required by 40 C.F.R. Part 68.

          q. “PHA Action Item Tracking Spreadsheet” means a spreadsheet created and

             managed by TPC that summarizes corrective actions taken or to be taken in

             response to a process hazard analysis (e.g. spreadsheet generated from the PHA

             compliance tracking system). The spreadsheet shall include each PHA finding and

             the related recommendation, an assigned risk level, a description of any interim

             measures taken, the current implementation status of each corrective action (e.g.

             in process or completed), a scheduled due date for completion of the corrective




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                action and the actual completion date, and any rejection of a finding including the

                associated reasoning for the rejection.

             r. “PHA Report” means a written report generated during a Process Hazard Analysis

                as required by 40 C.F.R. § 68.67.

             s. “Process” means any activity involving a regulated substance including any use,

                storage, manufacturing, handling, or on-site movement of such substances, or

                combination of these activities. For the purposes of this definition, any group of

                vessels that are interconnected, or separate vessels that are located such that a

                regulated substance could be involved in a potential release, shall be considered a

                single process. “Process” shall apply to all processes at the Facilities.

             t. “Reporting Period” means the two six-month periods in each calendar year, the

                first running from January 1st through June 30th and the second running from July

                1st through December 31st.

             u. “Section” means a portion of this Consent Decree identified by a roman numeral.

             v. “United States” means the United States of America, acting on behalf of EPA.

                                     V.      CIVIL PENALTY

       10.      Defendant shall be liable to the United States for an allowed civil penalty totaling

$12,100,000 to resolve the civil penalty claims asserted by the United States in its Complaint and

Proof of Claim alleging that the Defendant violated Sections 112(r)(1) and 112(r)(7) of the Act,

42 U.S.C. § 7412(r)(1) and (r)(7), and the 40 C.F.R. Part 68 Risk Management Program

Regulations, at the Houston Facility and Port Neches Facility.

       11.      The Parties agree that $4,840,000 of the total allowed civil penalty provided for in

Paragraph 10 shall be in resolution of the United States’ civil penalty claims asserted in its


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Complaint and Proof of Claim related to alleged violations at the Port Neches Facility and shall be

treated as an allowed general unsecured claim, which shall be paid in accordance with the

Defendant’s Plan. This allowed general unsecured claim shall receive the same treatment under

Defendant’s Plan, without discrimination, as all other allowed Class 4 Unsecured Claims, with all

attendant rights provided by the Bankruptcy Code, the Plan, the Confirmation Order, and other

applicable law, and shall not be entitled to any priority in distribution over other allowed Class 4

Unsecured Claims.

       12.     The Parties agree that $7,260,000 of the total civil penalty provided for in

Paragraph 10 shall be in resolution of the United States’ civil penalty claims as asserted in its

Complaint and Proof of Claim related to alleged violations at the Houston Facility and shall be

treated as an allowed subordinated claim under Defendant’s Plan, which shall be paid in

accordance with the Defendant’s Plan.

       13.     The Parties acknowledge that, based on the Plan’s treatment of allowed general

unsecured claims and subordinated claims in Defendant’s Chapter 11 Case, all distributions on

account of EPA’s claims allowed herein shall be paid, as applicable, by the GUC Trust (as defined

in the Plan) in accordance with the Plan. The GUC Trustee has provided a letter consenting to the

allowance of a general unsecured claim in the amount of $4,840,000 for EPA, in settlement of the

EPA’s claim for civil penalties in connection with Defendant’s Port Neches Facility, attached

hereto as Appendix B. For such distributions, Defendant will notify and instruct the GUC Trust to

use FedWire Electronic Funds Transfer (“EFT”) to the DOJ account, in accordance with

instructions provided to Defendant by the Financial Litigation Unit (“FLU”) of the United States

Attorney’s Office for the Eastern District of Texas after the Effective Date. The Defendant will

notify the GUC Trust that the payment instructions provided by the FLU will


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include a Consolidated Debt Collection System (“CDCS”) number, which the GUC Trust shall

use to identify all payments required to be made in accordance with this Consent Decree. The

FLU will provide the payment instructions to:


       Edgar C. Gentle, III, Esq.
       Gentle Turner & Benson, LLC
       501 Riverchase Parkway East Suite100
       Hoover, AL 35244
       Email: egentle@gtandslaw.com

       With a copy to counsel:

       Aland D. Halperin, Esq., Bankruptcy Counsel
       Halperin Battaglia Benzija, LLP
       40 Wall Street – 37th Floor
       New York, New York 10005
       Email: ahalperin@halperinlaw.net

       And a copy to Defendant:

       Legal Department
       500 Dallas Street, Suite 2000
       Houston, Texas 77002
       Email: legal@tpcgrp.com

on behalf of the GUC Trust. The GUC Trust may change the individual to receive payment

instructions on its behalf by providing written notice of such change to DOJ and EPA in

accordance with Section XIV (Notices).

       14.     At the time of payment, Defendant will notify and instruct the GUC Trust to send

notice that payment has been made: (i) to EPA via email at cinwd_acctsreceivable@epa.gov or

via regular mail at EPA Cincinnati Finance Office, 26 W. Martin Luther King Drive, Cincinnati,

Ohio 45268; (ii) to DOJ via email or regular mail in accordance with Section XIV (Notices); and

(iii) to EPA in accordance with Section XIV (Notices). Such notice shall state that the payment is

for the civil penalty owed pursuant to the Consent Decree in United States v. TPC Group LLC



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and shall reference the civil action number, CDCS Number and DOJ case number 90-5-2-1-12550.

        15.     Defendant shall not deduct any penalties paid by the GUC Trust or Defendant

under this Consent Decree pursuant to this Section or Section VIII (Stipulated Penalties) in

calculating its federal income tax.


                           VI.        COMPLIANCE REQUIREMENTS

       16.     Defendant shall comply with Section 112(r) of the Act and the 40 C.F.R. Part 68

Risk Management Program Regulations at the Houston Facility and the Port Neches Facility.

The Compliance Requirements contained herein shall be completed at the Houston Facility and

at the Port Neches Facility, unless otherwise specifically indicated.

       17.     Process Safety Information. Within 365 Days after the Effective Date, with

respect to process safety information, Defendant shall:

               a.      Complete a compilation of written process safety information for all

                       equipment in each Process, that includes design codes and standards

                       employed, in accordance with 40 C.F.R. § 68.65(d)(1)(vi);

               b.      Complete a compilation of written process safety information for all

                       equipment in each Process designed and constructed in accordance with

                       codes, standards, or practices that are no longer in general use;

               c.      Determine and document that the equipment identified in Paragraph 17(b)

                       is designed, maintained, inspected, tested, and operating in a safe manner;

               d.      If any equipment for which information compiled in Paragraph 17(b) is

                       determined not to be designed, maintained, inspected, tested, or operated

                       in a safe manner pursuant to Paragraph 17(c), take corrective action in


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                              accordance with 40 C.F.R. § 68.73(e);

           e.         Evaluate all equipment in each Process to determine and document

                      whether the equipment complies with recognized and generally accepted

                      good engineering practices (“RAGAGEP”) in accordance with 40 C.F.R. §

                      68.65(d)(2). Such evaluation shall be documented and all non-compliant

                      equipment listed;

           f.         If any equipment evaluated in Paragraph 17(e) is determined to not be

                      compliant with RAGAGEP, take corrective action in accordance with 40

                      C.F.R. § 68.73(e);

           g.         Submit to EPA:

                (1)          A summary of the compilations of written process safety

                             information prepared in accordance with Paragraphs 17(a) and (b);

                (2)          A summary of the steps taken (e.g. explanation of what specific

                             documentation was reviewed) to make the determination in

                             Paragraph 17(c), and documentation of the determination as to

                             whether the equipment is designed, maintained, inspected, tested,

                             and operating in a safe manner, and an explanation of any

                             corrective action taken pursuant to Paragraph 17(d); and

                (3)          A summary of the steps taken (e.g. explanation of what specific

                             documentation was reviewed) to complete the evaluation

                             conducted in Paragraph 17(e), and documentation that the

                             equipment identified in Paragraph 17(e) is compliant with

                             RAGAGEP, and any explanation of any corrective action taken


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                                 pursuant to Paragraph 17(f); and

               h.         No later than 5 years from the Effective Date, and no sooner than 4 years

                          from the Effective Date, Defendant shall repeat the steps required by this

                          Paragraph and certify, using the statement in Paragraph 37, that the

                          equipment complies with RAGAGEP and is operating in a safe manner.

         18.   Process Hazard Analysis. With respect to Process Hazard Analysis, Defendant

shall:

               a.         Within 15 Days of the Effective Date:

                    (1)          Submit to EPA, the PHA Report from each PHA conducted from

                                 June 23, 2020, through the Effective Date, at the Houston Facility,

                                 and each PHA conducted from March 1, 2020, through the

                                 Effective Date at the Port Neches Facility.

                    (2)          Submit to EPA the current PHA Action Item Tracking

                                 Spreadsheet, including both Open and overdue corrective actions,

                                 resulting from any PHA conducted at the Houston Facility or Port

                                 Neches Facility.

                    (3)          Complete interim measures, as necessary, (administrative,

                                 procedural, engineering, etc.) to assure safe operation and mitigate

                                 hazards associated with all Open Corrective Actions classified with

                                 a red or orange risk level (as defined in Appendix D)

                                 for any finding resulting from any PHA conducted at the Houston

                                 Facility or Port Neches Facility; and

                    (4)          Submit to EPA documentation describing the interim measures and


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                             demonstrating that the Defendant completed the interim measures,

                             including the current PHA Action Item Tracking Spreadsheet.

           b.         Within 30 Days of the Effective Date:

                (1)          Complete interim measures, as necessary, to assure safe operation

                             and mitigate hazards associated with all Open Corrective Actions

                             classified with a yellow or green risk level for any finding resulting

                             from any PHA conducted at the Houston Facility or Port Neches

                             Facility; and

                (2)          Submit to EPA documentation describing the interim measures and

                             demonstrating that the Defendant has completed the interim

                             measures, including the current PHA Action Item Tracking

                             Spreadsheet.

           c.         As to all Open Corrective Actions listed in Appendix E as well as any

                      Open Corrective Actions generated between the date of Appendix E and

                      the Effective Date of this Consent Decree (the “Paragraph 18(c) Actions"):

                (1)          Within 6 months of the Effective Date:

                             (a)    Complete fifteen percent (15%) of all Paragraph 18(c)

                                    Actions classified with a red or orange risk level for any

                                    finding resulting from any PHA conducted at the Houston

                                    Facility or Port Neches Facility, unless otherwise agreed to

                                    in writing by EPA.

                             (b)    Submit to EPA documentation that such corrective actions

                                    have been completed, including the current PHA Action


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                                Item Tracking Spreadsheet.

              (2)        Within 12 months of the Effective Date:

                         (a)    Complete fifty percent (50%) of all Paragraph 18(c)

                                Actions classified with a red or orange risk level for any

                                finding resulting from any PHA conducted at the Houston

                                Facility or Port Neches Facility through the Effective Date,

                                unless otherwise agreed to in writing by EPA.

                         (b)    Submit to EPA documentation that such corrective actions

                                have been completed, including the current PHA Action

                                Item Tracking Spreadsheet.

              (3)        Within 24 months of the Effective Date:

                         (a)    Complete one hundred percent (100%) of all Paragraph

                                18(c) Actions classified with a red or orange risk level for

                                any finding resulting from any PHA conducted at the

                                Houston Facility or Port Neches Facility through the

                                Effective Date, unless otherwise agreed to in writing by

                                EPA.

                         (b)    Complete fifty percent (50%) of all Paragraph 18(c)

                                Actions classified with a yellow or green risk level for any

                                finding resulting from any PHA conducted at the Houston

                                Facility or Port Neches Facility through the Effective Date,

                                unless otherwise agreed to in writing by EPA.

                         (c)    Submit to EPA documentation that such corrective actions


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                                    have been completed, including the current PHA Action

                                    Item Tracking Spreadsheet.

                (4)          Within 36 months of the Effective Date:

                             (a)    Complete one hundred percent (100%) of all Paragraph

                                    18(c) Actions classified with a yellow or green risk level

                                    for any finding resulting from any PHA conducted at the

                                    Houston Facility or Port Neches Facility through the

                                    Effective Date, unless otherwise agreed to in writing by

                                    EPA.

                             (b)    Submit to EPA documentation that such corrective actions

                                    have been completed, including the current PHA Action

                                    Item Tracking Spreadsheet.

           d.         With respect to corrective actions generated from PHAs after the Effective

                      Date, the Defendant shall:

                (1)          Immediately (i.e. no more than 14 Days) after the date the PHA

                             Report was issued complete interim measures to reduce the risk

                             level for findings classified with a red level to an orange level.

                (2)          Complete interim measures, as necessary, to assure safe operation

                             and mitigate hazards associated with corrective actions classified

                             with an orange risk level as soon as practical but not later than

                             within 90 Days of the date the PHA Report was issued.

                (3)          Complete interim measures, as necessary, to assure safe operation

                             and mitigate hazards associated with corrective actions classified


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                         with a yellow or green risk level as soon as practical but not later

                         than within 6 months of the date the PHA Report was issued.

              (4)        Complete corrective actions classified with an orange risk level, or

                         original red risk level lowered to orange with interim measures, as

                         soon as practical but no later than within 18 months of the date the

                         PHA Report was issued or during the next turnaround, whichever

                         is earlier.

              (5)        Complete corrective actions classified with a yellow risk level as

                         soon as practical but no later than within 24 months of the date the

                         PHA Report was issued or during the next turnaround, whichever

                         is earlier.

              (6)        Complete corrective actions classified with a green risk level as

                         soon as practical but no later than within 30 months of the date the

                         PHA Report was issued or during the next turnaround, whichever

                         is earlier.

              (7)        In the event the corrective action cannot be completed safely in the

                         timeframe specified in Paragraph 18(d)(4), 18(d)(5), or 18(d)(6),

                         without a process shutdown and Defendant has appropriately

                         documented, prior to the corrective action due date, the reason for

                         deferring the action, a review of all PHA team findings and

                         recommendations that resulted in the corrective action, appropriate

                         risk-analysis of the deferral, consideration and, if appropriate,

                         implementation of controls to mitigate risk during the deferral, and


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                             appropriate management approvals of the deferral, the corrective

                             action shall be completed no later than the next process shutdown,

                             not to exceed three years from completion of the relevant PHA.

           e.         Communicate the actions to operating, maintenance and other employees

                      whose work assignments are in the process and who may be affected by

                      the PHA recommendations or actions.

           f.         Within 45 Days of the Effective Date, revise, and implement as revised,

                      Defendant’s PHA program, including Defendant’s Corrective Action

                      Management Procedure, EHS-GEN-ALL-1103, to require:

                (1)          Immediate completion (i.e. no more than 14 Days), after the date

                             the PHA Report was issued, of interim measures to reduce the risk

                             level for findings classified with a red level to an orange level.

                (2)          Completion of interim measures, as necessary, to assure safe

                             operation and mitigate hazards associated with corrective actions

                             classified with an orange risk level as soon as practical but not later

                             than within 90 Days of issuance of the PHA Report.

                (3)          Completion of interim measures, as necessary, to assure safe

                             operation and mitigate hazards associated with corrective actions

                             classified with a yellow or green risk level as soon as practical but

                             not later than within 6 months of issuance of the PHA Report.

                (4)          Completion of corrective actions classified with an orange risk

                             level, or original red risk level lowered to orange with interim

                             measures, as soon as practical but no later than within 18 months


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                         of issuance of the PHA Report.

              (5)        Completion of corrective actions classified with a yellow risk level

                         as soon as practical but no later than within 24 months of issuance

                         of the PHA Report.

              (6)        Completion of corrective actions classified with a green risk level

                         as soon as practical but no later than within 30 months of issuance

                         of the PHA Report.

              (7)        In the event the corrective action cannot be completed safely in the

                         timeframe specified in Paragraph 18(f)(4), 18(f)(5), or 18(f)(6),

                         without a process shutdown and Defendant has appropriately

                         documented, prior to the corrective action due date, the reason for

                         deferring the action, a review of all PHA team findings and

                         recommendations that resulted in the corrective action, appropriate

                         risk-analysis of the deferral, consideration and, if appropriate,

                         implementation of controls to mitigate risk during the deferral, and

                         appropriate management approvals of the deferral, the corrective

                         action shall be completed no later than the next process shutdown,

                         not to exceed three years from completion of the relevant PHA.

              (8)        PHAs to explicitly address natural hazards, including those caused

                         by climate change or other triggering events (e.g. extreme

                         temperatures, high winds, floods, storm surge).

              (9)        PHAs to explicitly address the stationary source siting, including

                         the placement of Processes, equipment, and buildings within the


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                              facility, hazards posed by proximate facilities, and potential

                              accidental release consequences to nearby public and

                              environmental receptors.

                (10)          PHAs to explicitly include evaluation of existing dead legs,

                              potential for dead legs to be created based on operational variances

                              and potential for dead legs to be created based on maintenance

                              activities or delays.

                (11)          PHAs to explicitly include evaluation of the need for emergency

                              isolation valves that are automatically operated or remotely

                              operated from a safe location during a release following

                              recognized and generally accepted good engineering practices

                              including, but not limited to, the American Petroleum Institute

                              (API) Recommended Practice 553: Refinery Valves and

                              Accessories for Control and Safety Instrumented Systems as

                              applicable.

           g.          For five years from the Effective Date, submit to EPA in each semi-annual

                       report submitted pursuant to Section VII (Reporting Requirements) all

                       new, updated and revalidated PHAs completed after the Effective Date,

                       including the current version of the PHA Action Item Tracking

                       Spreadsheet. For any corrective action not completed within the non-

                       extended timeframes (e.g. 18, 24, and 30 months) due to requiring a

                       process shutdown for safely completing the corrective action, include in

                       the relevant semi-annual report, the documentation describing the reason


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                        for deferring the action, a review of all PHA team findings and

                        recommendations that resulted in the corrective action, appropriate risk-

                        analysis of the deferral, consideration and, if appropriate, implementation

                        of controls to mitigate risk during the deferral, and appropriate

                        management approvals of the deferral.

       19.   Operating Procedures and Training. With respect to operating procedures and

training:

             a.         Within 180 Days of the Effective Date Defendant shall:

                  (1)         Identify the operating procedures subject to training requirements

                              pursuant to 40 C.F.R. § 68.71;

                  (2)         Identify safety, health or environmentally critical operating

                              procedures;

                  (3)         Consult with the employees involved in operating each Process to

                              determine and identify any operating procedures that the employees

                              believe training should be conducted on more frequently than at

                              least every three years;

                  (4)         Identify operating procedures that are implemented or used at a

                              frequency less than every six months;

                  (5)         After evaluating the information in Paragraphs 19(a)(1)-19(a)(4),

                              revise refresher training program requirements to provide refresher

                              training:

                               (a)     More frequently than every three years on any operating

                                       procedure identified in Paragraphs 19(a)(2) and 19(a)(3).


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                                (b)    More frequently than every three years on any operating

                                       procedure identified in 19(a)(4) except those procedures

                                       implemented for scheduled activities (e.g. scheduled

                                       shutdown).

                                (c)    Immediately (i.e. less than 7 Days) prior to use for any

                                       operating procedure identified in Paragraph 19(a)(4)

                                       implemented for scheduled activities (e.g. scheduled

                                       shutdown).

                   (6)         Submit all revised training programs to EPA;

                   (7)         Conduct training on the operating procedures at the frequency

                               required in the revised refresher training program; and

              b.         For five years from the Effective Date, submit to EPA in each semi-annual

                         report submitted pursuant to Section VII (Reporting Requirements)

                         documentation demonstrating:

                   (1)          The initial and refresher training required for each operator

                                position; and

                   (2)          A report of all operating procedure refresher trainings completed

                                during the semi-annual time period including a record containing

                                the identity of the employee, the date of the refresher training, the

                                date of the same previously completed training, and the means

                                used to verify that the employee understood the training.

       20.    Emergency Shutdown Procedures. Within 270 Days of the Effective Date, with

respect to emergency shutdown operating procedures, Defendant shall:


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              a.         Complete an audit of all emergency shutdown procedures to verify

                         compliance with 40 C.F.R. § 68.69(a)(1)(iv), including verification of

                         whether the procedures include conditions under which the emergency

                         shutdown is required;

              b.         Revise any procedures not compliant, including those that do not include

                         conditions under which emergency shutdown is required; and

                   (1)          Within 30 Days of revising any operating procedure revised

                                pursuant to Paragraph 20(b), Defendant shall train all operators

                                involved in each Process.

              c.         Submit to EPA in the semi-annual report submitted pursuant to Section

                         VII (Reporting Requirements) due after completion of the actions required

                         by this Paragraph:

                   (1)          a list of the operating procedures revised pursuant to Paragraph

                                20(b) and copies of the associated procedures;

                   (2)          if no operating procedures required revision, a copy of 5

                                representative emergency shutdown procedures;

                   (3)          a summary explanation of the operator training conducted pursuant

                                to Paragraph 20(b(1) and the date the training was completed.

       21.    Management of Change. With respect to Management of Change (“MOC”),

Defendant shall:

              a.         Within 30 Days of the Effective Date, and continuing with each semi-

                         annual report submitted pursuant to Section VII (Reporting

                         Requirements), identify and submit to EPA a list detailing the date opened


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                 and the status (e.g. new, authorized for construction, authorized for

                 startup) of all MOCs open as of the Effective Date.

           b.    Within 120 Days of the Effective Date, unless otherwise dictated by a

                 PHA schedule pursuant to Paragraph 18 and except as noted in Paragraph

                 21(c), complete or address all MOC action items for any MOC authorized

                 for startup prior to the Effective Date. Action items include addressing

                 considerations pursuant to 40 C.F.R. § 68.75(b), conducting training

                 pursuant to 40 C.F.R. §68.75(c), and updating operating procedures

                 pursuant to 40 C.F.R. § 75(e), unless otherwise authorized by EPA.

           c.    Within 180 Days of the Effective Date, complete MOC action items

                 relating to updating process safety information for any MOC authorized

                 for startup prior to the Effective Date.

           d.    Within 180 Days of the Effective Date, unless otherwise dictated by a

                 PHA schedule pursuant to Paragraph 18, complete all MOC action items

                 or remove the change from the MOC system for any MOC that has been

                 in-progress (initiated but not authorized for startup) for greater than 12

                 months and not closed (change has occurred and startup completed),

                 unless initial authorization (change authorized to proceed to development

                 of pre-startup activities, approved for construction) for the change has

                 been granted or physical onsite construction is being done to complete the

                 MOC and such work is documented or unless otherwise authorized by

                 EPA. Defendant shall document the reason(s) for each change in the MOC

                 system that has been in-progress for greater than 12 months and not closed


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                      or removed from the system pursuant to this paragraph.

           e.         Within 180 Days of the Effective Date revise Defendant’s MOC

                      procedures to include the following and implement the same:

                (1)          Explicitly prohibit the change from occurring unless the

                             considerations pursuant to 40 C.F.R. § 68.75(b) are addressed.

                (2)          Explicitly prohibit start-up of the Process unless training is

                             conducted pursuant to 40 C.F.R. § 68.75(c).

                (3)          Explicitly require the completion of any process safety information

                             updates pursuant to 40 C.F.R. § 68.75(d) within 6 months from the

                             change occurring.

                (4)          Explicitly require the completion of operating procedure updates

                             pursuant to 40 C.F.R. § 68.75(e) and 40 C.F.R. § 68.77(b)(2) prior

                             to start-up of the process.

                (5)          Establish a system for an annual evaluation of the MOC database

                             consistent with the requirements of Paragraphs 21(b) - 21(d)

                             above.

           f.         Within 365 Days of the Effective Date, and annually thereafter, or until

                      Defendant submits adequate documentation to EPA demonstrating no

                      MOC from the prior reporting period required revisions in accordance

                      with Paragraph 21(g), perform an audit of all closed MOCs with

                      operations, maintenance, and engineering personnel, beginning with

                      MOCs initiated November 1, 2021, to the first Reporting Period to verify

                      whether:


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                (1)          All changes made pursuant to 40 C.F.R. § 68.75(a) are being

                             documented.

                (2)          All considerations pursuant to 40 C.F.R. § 68.75(b) are addressed

                             prior to the change.

                (3)          Authorization requirements pursuant to 40 C.F.R. § 68.75(b) were

                             met prior to the change.

                (4)          Training on the change was conducted for employees pursuant to

                             40 C.F.R. § 68.75(c) prior to start-up of each Process or affected

                             part of each Process.

                (5)          Process safety information and operating procedures were updated

                             pursuant to 40 C.F.R. § 68.75(d) and (e).

                (6)          The change action described in the MOC was completed.

           g.         Within 30 Days of the audit described in Paragraph 21(f), revise any MOC

                      that does not include sufficient documentation of completed elements

                      described in Paragraphs 21(e)(1) - 21(e)(5); if the review described in

                      Paragraph 21(f) identifies elements that were not completed, resolve these

                      items within 3 months of the audit, unless otherwise agreed by EPA.

           h.         For five years from the Effective Date, report to EPA in each semi-annual

                      report submitted pursuant to Section VII (Reporting Requirements), a

                      summary of each completed MOC conducted and documentation

                      demonstrating completion of the considerations set forth in 40 C.F.R. §

                      68.75(b) and training conducted pursuant to 40 C.F.R. § 68.75(c).




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       22.    Risk Management Plan (“RMP”) Action Tracking. Within 180 Days of the

Effective Date, with respect to RMP action tracking, Defendant shall:

              a.         Establish an action item tracking and resolution management systems to

                         track to resolution all action items generated from:

                   (1)          PHAs conducted pursuant to 40 C.F.R. § 68.67;

                   (2)          Operating procedure reviews conducted pursuant to 40 C.F.R. §

                                68.69(c);

                   (3)          Employee training consultation conducted pursuant to 40 C.F.R. §

                                68.71(b);

                   (4)          The results of mechanical integrity inspection and testing,

                                equipment deficiencies, and quality assurance pursuant to 40

                                C.F.R. § 68.73;

                   (5)          MOCs conducted pursuant to 40 C.F.R. § 68.75;

                   (6)          Pre-startup safety reviews (“PSSR”) conducted pursuant to 40

                                C.F.R. § 68.77;

                   (7)          Compliance audits conducted pursuant to 40 C.F.R. § 68.79;

                   (8)          Incident investigations conducted pursuant to 40 C.F.R. § 68.81;

                                and

                   (9)          Consultation with employees pursuant to 40 C.F.R. § 68.83.

              b.         The action item tracking and resolution management system shall include,

                         as applicable:

                   (1)          Risk ranked prioritization for each action item;

                   (2)          Target due-dates based on risk ranking for each action item;


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                    (3)          Monthly management review of the status of resolution versus

                                 target due dates with the person with responsibility for

                                 implementing the respective requirement;

                    (4)          Documentation of the rationale for extending the deadline for an

                                 action item;

                    (5)          Documentation of the rationale for rejecting an action item;

                    (6)          Close-out of action items shall be based on completed

                                 implementation of the action item (e.g. equipment installed,

                                 procedure written, training completed); and

                    (7)          Close-out of action items shall include independent verification of

                                 implementation (e.g. field observation, review of procedure,

                                 review of training record).

       23.     Key Performance Indicators (KPIs). With respect to KPIs – PHA program

implementation, mechanical integrity program implementation, operating procedure

implementation, training program implementation, management of change, PSSR, incident

investigations, and compliance audits, action item tracking and resolution, Defendant shall:

               a.         Within 90 Days of the Effective Date, implement the KPIs and system for

                          the regular evaluation of Defendant’s compliance with its company

                          developed procedures for implementing PHA, mechanical integrity,

                          operating procedures, training program, management of change, and PSSR

                          (“Implementation Review System”) described in Appendix C.

               b.         Where KPI metrics indicate actual performance below targets, Defendant

                          shall develop and implement corrective actions.


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           c.         Submit to EPA, in each semi-annual report submitted pursuant to Section

                      VII (Reporting Requirements), the steps taken pursuant to the

                      Implementation Review System, including any corrective action and the

                      associated dates of completion.

           d.         Repeat the evaluation pursuant to the approved Implementation Review

                      System in Paragraph 23(a) annually and submit summary reports as

                      described in Paragraph 23(c) for a period of 5 years form the Effective

                      Date.

     24.   Compliance Audits. With respect to compliance audits, Defendant shall:

           a.         Within 90 Days of the Effective Date, review all compliance audits

                      conducted pursuant to 40 C.F.R. § 68.79 at the Houston Facility from

                      August 1, 2015, to the Effective Date, (including the PSM/RMP

                      Compliance Audit Report prepared for the TPC Group by AE Solutions

                      dated January 29, 2016; PSM/RMP Compliance Audit Report prepared for

                      the TPC Group by PSRG dated September 27, 2018; and PSM/RMP

                      Compliance Audit Report prepared for the TPC Group by AE Solutions

                      dated September 10, 2021 (“2021 Audit”)); and at the Port Neches Facility

                      from March 1, 2020, to the Effective Date to identify any findings that do

                      not have an associated:

                (1)           Appropriate response; and

                (2)           Documentation that deficiencies have been corrected.

           b.         Within 180 Days of the Effective Date, unless otherwise dictated by the

                      timing associated with a different compliance requirement term under this


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                      Consent Decree, revise any compliance audit responses that do not have

                      an appropriate response to the finding and take actions to correct all

                      deficiencies identified in the compliance audits reviewed pursuant to

                      Paragraph 24(a).

           c.         Within 210 Days of the Effective Date, submit to EPA for review:

                (1)          all compliance audits reviewed pursuant to Paragraph 24(a);

                (2)          all findings identified pursuant to Paragraph 24(a);

                (3)          any revisions made to compliance audit responses; and

                (4)          a description of any actions taken to correct deficiencies and the

                             associated date of completion.

           d.         Within 180 Days of the Effective Date, revise Defendant’s compliance

                      audit program to require the correction of all findings be completed within

                      1 year of the audit completion date unless an explanation and the

                      mitigation steps taken to assure safe operation are documented.

     25.   Incident Investigation. With respect to incident investigations, Defendant shall:

           a.         Within 5 Days of any incident occurring after the Effective Date that

                      resulted in or could have resulted in a Catastrophic Release regardless of

                      whether the released amount was over reportable quantities, report release

                      information to a webpage located on Defendant’s website (the webpage

                      can be accessed at TPCGroupOutreach.com). The webpage must be

                      available to the general public and not require an account or login

                      information for access. The release information must include at a

                      minimum:


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                (1)          anything submitted to the State of Texas Environmental Electronic

                             Reporting System (“STEERS”);

                (2)          the date of the incident;

                (3)          date the investigation began;

                (4)          a description of the incident;

                (5)          any known factors that contributed to the incident; and

                (6)          any known recommendations resulting from the investigation of

                             the incident.

                      Such information shall be posted on Defendant’s website and publicly

                      available for a minimum of 5 years from the date of the incident. The

                      release information above must be available initially in English and a

                      Spanish translation must be provided thereafter.

           b.         Within 30 Days of any accidental release occurring after the Effective

                      Date that resulted in or could have resulted in a Catastrophic Release

                      regardless of whether the released amount was over reportable quantities,

                      and on the first business Day every month thereafter, prepare and post a

                      status report with a summary of the corrective actions taken, interim

                      measures taken to prevent a reoccurrence or similar incident until

                      corrective actions can be implemented, and any root cause analysis on the

                      publicly available website maintained by TPC, unless otherwise

                      authorized by EPA. All status reports and additions shall be posted and

                      made publicly available for a minimum of 3 years from the date of the

                      release.


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           c.         For any accidental release occurring after the Effective Date that resulted

                      in or could have resulted in a Catastrophic Release regardless of whether

                      the release amount was over reportable quantities:

                (1)          Immediately (i.e. less than 24 hours) identify and take interim

                             measures and/or complete repairs, if any, to prevent a reoccurrence

                             or similar incident until corrective actions can be implemented;

                (2)          Address and resolve all incident report findings and

                             recommendations within 12 months after the incident, unless

                             Defendant demonstrates in writing with appropriate documentation

                             that: (1) the recommended corrective action cannot be successfully

                             completed due to health, safety, environmental, or technological

                             factors, (2) interim measures are implemented to prevent a

                             reoccurrence or similar incident until the corrective action can be

                             implemented, and (3) EPA has agreed in writing to extend the

                             deadline.

           d.         Within 60 Days of the Effective Date, revise Defendant’s incident

                      investigation system to require implementation of the actions and

                      timelines described in Paragraphs 25(a), 25(b), and 25(c), but not

                      including EPA approval in subparagraph 25(c)(2).

           e.         For any incident occurring from November 1, 2019, to the Effective Date

                      that resulted in or could have resulted in a Catastrophic Release regardless

                      of whether the release amount was over reportable quantities:

                (1)          Within 60 Days of the Effective Date, take the actions described in


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                             Paragraphs 25(a) and 25(b) to post incident investigation

                             information.

                (2)          Within 30 Days of the Effective Date, (i) take interim measures to

                             prevent a reoccurrence or similar incident until corrective actions

                             can be implemented; and (ii) address and resolve all incident report

                             findings or recommendations involving minor repairs.

                (3)          Address and resolve all incident report findings or

                             recommendations within 9 months of the Effective Date, unless

                             Defendant demonstrates in writing with appropriate documentation

                             that: (1) the recommended corrective action cannot be successfully

                             completed due to health, safety, environmental, or technological

                             factors, (2) interim measures are implemented to prevent a

                             reoccurrence or similar incident until the corrective action can be

                             implemented, and (3) EPA has agreed in writing to extend the

                             deadline.

           f.         Submit to EPA, in each semi-annual reports submitted pursuant to Section

                      VII (Reporting Requirements), for any release subject to 40 C.F.R. §

                      68.81(a) and occurring during the prior semi-annual period:

                (1)          The incident investigation report required pursuant to 40 C.F.R. §

                             68.81(d); and

                (2)          A report of the corrective actions taken, or schedule of the

                             corrective actions to be taken, to address and resolve the incident

                             report findings and recommendations.


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              g.      Within 30 Days of written notice from EPA, correct any incident

                      investigation report deficiencies with the elements required by 40 C.F.R. §

                      68.81(d) (e.g. missing date investigation began).

       26.    Risk Management Plan Required Corrections. Within 90 Days of the Effective

Date, with respect to RMP required corrections, Defendant shall:

              a.      Update its RMP in accordance with 40 C.F.R. § 68.195 to include accident

                      history information for the release that occurred at the Houston Facility on

                      April 6, 2018 (frac tank over pressured and exploded resulting in a fire);

              b.      Develop and submit to EPA for review and approval, a proposed work

                      plan for the audit of all incidents which resulted in or could have resulted

                      in a Catastrophic Release occurring from March 1, 2020, to the Effective

                      Date, for identifying any incidents meeting the accidental release five-year

                      accident history reporting criteria of 40 C.F.R. § 68.42. Within 30 Days of

                      receipt of EPA’s approval, Defendant shall complete the actions described

                      in the incident review work plan and submit to EPA a summary of any

                      incidents identified.

              c.      Within 30 Days of completing the audit described in 26(b), update the

                      RMP in accordance with 40 C.F.R. § 68.195 to include the relevant

                      accident history information.

       27.    Administrative Order on Consent.

              a.      The Administrative Order on Consent (“AOC”) entered into between the

                      EPA and Defendant on August 23, 2022, attached hereto as Appendix A,

                      is incorporated herein by reference. The terms, conditions, and


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                          requirements of paragraph 72 of the AOC, as modified by Appendix G,

                          are fully enforceable under this Consent Decree; provided that to the

                          extent of any inconsistency between this Consent Decree and the AOC,

                          the terms of this Consent Decree shall govern. Defendant shall implement

                          the terms, conditions, and requirements of the AOC at the Port Neches

                          Facility.

               b.         Defendant shall complete work orders and service requests at the Houston

                          Facility by the anticipated completion dates listed in Appendix H, unless

                          otherwise agreed to by EPA in writing.

       28.     Port Neches Facility Operations. Should Defendant modify the operations at the

Port Neches Facility such that any operations are beyond the scope of activities associated with

NAICS 424710 – Petroleum Bulk Stations and Terminals, or if Defendant brings into service any

equipment for which Defendant has not evaluated fitness for service since December 10, 2020,

Defendant must take the following actions:

               a.         At least 120 Days prior to modifying operations at the Port Neches

                          Facility, Defendant must notify the United States, in a manner consistent

                          with Section XIV (Notices), of the operational change. The notice must

                          include:

                    (1)           Detailed plans for start-up.

                    (2)           A detailed plan describing the steps being taken by Defendant to

                                  ensure compliance with this Consent Decree and the Risk

                                  Management Program Regulations, including an assessment of any

                                  change to potential offsite impacts from the proposed modification


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                             in operations.

                (3)          An updated hazard assessment conducted pursuant to 40 C.F.R.

                             Part 68 Subpart B accounting for the additional equipment brought

                             online including indications of any changes to offsite impacts (as

                             defined under 40 C.F.R. § 68.3, 40 C.F.R. § 68.30, and 40 C.F.R. §

                             68.33) as compared to the offsite consequence analysis reported in

                             the most recent Risk Management Plan Defendant submitted to

                             EPA per 40 C.F.R. Part 68 Subpart G.

                (4)          A summary of equipment being brought into service or used to

                             store regulated substances that were not storing regulated

                             substances as of December 10, 2020, a summary of any fitness for

                             service evaluations conducted by Defendant, and the results of

                             those fitness for service evaluations.

           b.         At least 90 Days prior to any modification of operations at the Port Neches

                      Facility, Defendant must notify the public of the operational change by:

                (1)          Posting a notice, in both English and Spanish, on a public facing

                             webpage located on Defendant’s website that does not require an

                             account or login information for access that describes the change in

                             operation at the Port Neches Facility.

                (2)          Posting notice in both English and Spanish language newspapers

                             of record describing the change in operation at the Port Neches

                             Facility.

                (3)          Sending a written notice, in both English and Spanish, to any


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                              public receptors, as identified in the worst-case release scenario

                              conducted pursuant to 40 C.F.R.      § 68.25.

           c.         In addition to the requirements of Paragraphs 5 and 6 of this Consent

                      Decree, should Defendant seek to transfer ownership of the Port Neches

                      Facility Defendant must notify the United States, in accordance with

                      Section XIV (Notices), if the transferee will operate the Port Neches

                      Facility as a storage terminal, petrochemical manufacturing facility, or

                      other facility subject to the Risk Management Program Regulations.

     29.   Relief System Design Audit and Repair.

           a.         Within 2 years of the Effective Date, conduct an audit of the relief system

                      design (“Relief System Design Audit”) at the Houston Facility, including

                      pressure relief valves, vapor recovery systems, and flare systems, to

                      ensure the relief system is adequately designed to handle all appropriate

                      relieving scenarios and submit to the United States a report detailing the

                      audit. “Relief System” is defined as the collection of all pressure relieving

                      devices; headers and manifolds; vapor recovery system including

                      compressors and associated piping and vessels; flare piping, headers, and

                      manifolds; and flares including all components (including knock-out and

                      seal vessels) at the Facility.

                (1)           The Relief System Design Audit shall include at a minimum:

                              (a)     An evaluation of the design and design basis for all

                                      pressure relief valves and other pressure relieving devices

                                      (e.g., rupture disks), including those relieving to the


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                               atmosphere and to the relief system, to ensure:

                               1)     All appropriate overpressure scenarios were

                                      considered, including but not limited to power loss,

                                      fires, and other overpressure scenarios identified in

                                      the Houston Facility’s PHAs.

                               2)     The design of all pressure relief valves and other

                                      pressure relieving devices are appropriate to safely

                                      relieve the pressure-containing equipment for the

                                      identified overpressure scenarios.

                         (b)   An evaluation of all pressure relief valves and other

                               pressure relieving devices that relieve to the atmosphere to

                               ensure all such devices discharge to a safe location and in a

                               manner that does not cause harm to human or equipment

                               receptors.

                         (c)   An evaluation of the design of the closed relief system,

                               including relief headers, vapor recovery system, flare

                               headers, and flares to ensure the closed relief system can

                               safely relieve the overpressure scenarios identified in

                               Paragraph 29(a)(1)(a)(1).

                         (d)   An identification of prior reportable release events

                               occurring within 5 years prior to the Effective Date that

                               resulted from the point of discharge from a pressure

                               relieving device or flare and an evaluation of whether the


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                                     design or operation of the flare system, including the vapor

                                     recovery system and flares, was a contributing factor to the

                                     reportable release events.

                             (e)     Findings of any inadequacies of design, construction, or

                                     installation identified during the Relief System Design

                                     Audit.

                (2)          The Relief System Design Audit report shall document, at a

                             minimum, the following information:

                             (a)     A list of any findings of inadequacies of design or

                                     construction identified during the Relief System Design

                                     Audit.

                             (b)     A plan to resolve all findings of inadequacies of design or

                                     construction identified during the Relief System Design

                                     Audit, including a schedule for completion of corrective

                                     actions.

                             (c)     A list of industry standards and corporate and Houston

                                     Facility policies and procedures referenced during the

                                     Relief System Design Audit.

           b.         Within five years of the Effective Date, unless otherwise agreed by EPA,

                      perform corrective actions to resolve any findings of inadequacies of

                      design or construction identified during the Relief System Design Audit.

           c.         Within 30 Days following completion of corrective actions to resolve

                      findings of inadequacies of design or construction, Defendant shall submit


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                      to the United States a Notice of Completion in accordance with Section

                      XIV (Notices). The Notice of Completion shall include the date of

                      completion and a description of the work performed. The United States

                      may request additional information after Defendant submits the Notice of

                      Completion, if the information provided is not adequate to conclude that

                      the work has been performed and completed in accordance with this

                      Consent Decree.

     30.   Air Monitoring and Notification.

           a.         Monitoring Program Elements. Within 120 Days of the Effective Date,

                      Defendant shall develop and submit to the United States for review and

                      approval, a proposed quality assurance project plan (“QAPP”) for the

                      following:

                (1)          Installation, continual use, and maintenance of chlorine air

                             monitoring equipment at the fence line and a community

                             monitoring station at the Houston Facility; and installation,

                             continual use, and maintenance of air monitoring equipment for

                             1,3 butadiene and isobutylene at the fence lines of the Houston

                             Facility and Port Neches Facility, and within the communities

                             surrounding both Facilities (“Air Monitors”).

                (2)          Monitoring locations: The QAPP must include a map and

                             geographic coordinates of proposed monitoring locations that

                             include at minimum:

                             (a)    Chlorine – At the Houston Facility, one chlorine monitor at


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                                 each of the five 1,3 butadiene and isobutylene fence line

                                 monitoring stations referenced in Paragraph 30(a)(2)(b). A

                                 chlorine monitor must also be placed at the community

                                 monitoring station referenced in Paragraph 30(a)(2)(b).

                         (b)     1,3 Butadiene and isobutylene at the Houston Facility’s two

                                 existing monitoring sites at the northwestern and

                                 southeastern fence lines; three additional fence line

                                 monitoring sites added near the southwestern, southeastern,

                                 and northeastern property boundaries; and one community

                                 monitoring site placed within a half mile of the fence line

                                 south/southeast of the Houston Facility in or near the

                                 Allendale neighborhood; and

                         (c)     1,3 Butadiene and isobutylene at the Port Neches Facility’s

                                 existing four monitoring sites at the fence line; and two

                                 community monitoring sites, both placed within a half mile

                                 of the fence line, one in the area bound by Avenue K, Park

                                 Street, Grigsby Avenue, and Main Street, and the other in a

                                 residential setting in the area bound by Merriam Street,

                                 Magnolia Avenue (Hwy 366), Twin City Highway (Hwy

                                 347), and Hwy 136.

              (3)        Communication of data derived from the Air Monitors to a public

                         facing webpage located on Defendant’s website that does not

                         require an account or login information for access. For 1,3


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                            butadiene and isobutylene, data must be communicated for 15-

                            minute averages and published to the webpage within 30 minutes of

                            data becoming available but no later than 90 minutes after each data

                            collection period ends. For chlorine, data must be communicated for

                            averaging times not longer than 10 minutes and published to the

                            webpage within 30 minutes of data becoming available but no later

                            than 90 minutes after each data collection period ends. Data derived

                            from the Air Monitors and posted to Defendant’s webpage must be

                            understandable to the public and, to the extent practicable, in

                            English and Spanish.

                (4)         Reoccurring community outreach for the purpose of educating and

                            explaining the data derived from the Air Monitors to the public and

                            the local community response systems referred to in Paragraph

                            30(d)(2).

           b.         Detection Levels. Table 1, included in Appendix F to this Consent Decree,

                      lists the “Warning Levels” for air monitoring. The 1,3 butadiene and

                      isobutylene Air Monitors shall be calibrated to be capable of reliably

                      detecting these substances at the Houston Facility and Port Neches Facility

                      at concentrations at least 10 times lower than the Warning Level shown in

                      Table 1 of Appendix F. The chlorine Air Monitors shall be calibrated to be

                      capable of reliably detecting the substance at the Houston Facility at

                      concentrations of 0.5 parts per million (ppm) on a volume basis.

           c.         Investigative Warning Levels. An investigation must be completed within


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                      14 Days of any exceedance of a Warning Level. The investigation must

                      document the pollutant and concentration that exceeded the Warning

                      Level, the factors that were believed to cause the exceedance, and

                      recommendations for avoiding future exceedances. All investigations must

                      be posted to a public facing webpage located on Defendant’s website that

                      does not require an account or login information for access. If the

                      investigation determines that the warning conditions resulted from a

                      release unrelated to TPC’s operations, the evidence for the conclusion

                      must be documented and recommendations for avoiding future

                      exceedances are not required.

           d.         Notification Action Levels.

                (1)         Table 2, included in Appendix F to this Consent Decree, lists the

                            Action Levels for the air monitoring. Notification to local

                            community response systems must be made immediately, but no

                            longer than within 15 minutes, of the following:

                             (a)     Exceedances of Action Levels for 1,3 butadiene or

                                     isobutylene at a fence line or community monitoring site;

                             (b)     Exceedances of the Action Level for chlorine at the

                                     Houston Facility fence line; or

                             (c)     Exceedances of the Action Level for chlorine at the

                                     community monitoring site provided either of the following

                                     is also met: (1) a fence line detection above 0.5 ppm within

                                     two hours of the community monitoring detection, or (2) a


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                                        Process monitor detection above 2 ppm within two hours of

                                        the community monitor detection.

                (2)         Notifications to local community response systems surrounding the

                            Houston Facility and the Port Neches Facility includes, but is not

                            limited to, the East Harris County Manufacturers Association’s

                            Community Awareness Emergency Response (CAER) online

                            system via the E-Notify emergency notification system for the

                            Houston Facility, and the Southeast Plant Managers Forum, through

                            the Southeast Texas Alerting Network (STAN) for the Port Neches

                            Facility.

                (3)         Additionally, an investigation must be completed within 14 Days of

                            any measured exceedance of an Action Level. The investigation

                            must document the pollutant and concentration that exceeded the

                            Action Level, the factors that were believed to cause the

                            exceedance, and recommendations for avoiding future exceedances.

                            All investigations must be posted to a public facing webpage

                            located on Defendant’s website that does not require an account or

                            login information for access. If the investigation determines that the

                            alert conditions resulted from a release unrelated to TPC’s

                            operations, the evidence for the conclusion must be documented

                            and recommendations for avoiding future exceedances are not

                            required.

           e.         Community Comments. Prior to submitting the QAPP to the United States


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                      for review and approval, Defendant shall host a community meeting for

                      the purpose of presenting and receiving community comments on the

                      proposed QAPP (“QAPP Community Meeting”). Defendant shall notify

                      the United States of the date, time, and location of the QAPP Community

                      Meeting at least 30 Days in advance of the meeting, in accordance with

                      the provisions in Section XIV (Notices). The QAPP Community Meeting

                      shall be open to all members of the public and held in a publicly accessible

                      space, compliant with the American with Disabilities Act, 42 U.S.C. §

                      12101 et seq., (“ADA”), within five (5) miles of each Facility. Defendant

                      shall provide notice of the date, time, and location of the QAPP

                      Community Meeting to the community surrounding the Houston Facility

                      and the Port Neches Facility at least 30 Days in advance of the meeting

                      by:

                (1)         Posting a notice, in both English and Spanish, on a public facing

                            webpage located on Defendant’s website that does not require and

                            account or login information for access.

                (2)         Posting notice in both English and Spanish language newspapers

                            of record.

                (3)         Sending a written notice, in both English and Spanish, to any public

                            receptors, as identified in the worst-case release scenario conducted

                            pursuant to 40 C.F.R. § 68.25.

           f.         Community Outreach. Establish reoccurring community outreach for the

                      purpose of educating and explaining the data derived from the Air


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                 Monitors to the public and the local community response systems referred

                 to in Paragraph 30(d)(2). This must include at least one open meeting

                 every six months for each of the Houston and Port Neches Facilities, at

                 which community members can ask questions about the monitoring data.

                 All such meetings shall be publicized to local communities at least 30

                 Days prior to the meeting and advertised in accordance with Paragraph

                 30(e). Defendant must include a certified Spanish language interpreter at

                 all meetings and Language Skilled interpreters (an interpreter who can

                 demonstrate to the satisfaction of the United States the ability to interpret

                 from English to a language and from that language into English) for

                 additional languages, if requested 21 days prior to the meeting.

           g.    Data Quality. The QAPP must address all elements in “EPA Requirements

                 for Quality Assurance Project Plans (QA/R5)” (document EPA/240/B-

                 01/003, last reissued in May 2006) and in “Guidance for Quality

                 Assurance Project Plans (QA/G-5)” (document EPA/240/R-02/009,

                 December 2002). The QAPP must specify the proposed monitoring

                 methods. The QAPP must also specify how air monitoring precision and

                 accuracy will be quantified and set acceptable bounds for these

                 parameters. Data quality metrics must be reported on a quarterly basis to a

                 public facing webpage located on Defendant’s website that does not

                 require an account or login information for access.

           h.    Within 210 Days of receipt of the United States approval of the QAPP,

                 subject to the approval process set forth in Paragraph 33, Defendant shall


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                      complete installation of the fence line monitors described in the approved

                      QAPP.

           i.         Within 270 Days of receipt of the United States approval of the QAPP,

                      subject to the approval process set forth in Paragraph 33, Defendant shall

                      complete installation of the community monitors described in the

                      approved QAPP.

           j.         Within 30 Days of completing the installation of all required fence line

                      and community monitoring stations, Defendant shall submit to the United

                      States a Notice of Completion in accordance with Section XIV (Notices).

                      The Notice of Completion shall include the date of completion and a

                      description of the work performed. The United States may request

                      additional information after Defendant submits the Notice of Completion,

                      if the information provided is not adequate to conclude that the work has

                      been performed and completed in accordance with this Consent Decree.

     31.   Inherently Safer Technology Review.

           a.         Within five years of the Effective Date or the date of completion of the

                      PHA update and revalidation pursuant to 40 C.F.R. § 68.67(f), whichever

                      is earlier, Defendant shall conduct an inherently safer technology review

                      (“ISTR”) at each covered Process at the Houston Facility and Port Neches

                      Facility and submit to the United States a ISTR report detailing the

                      review.

                (1)             The ISTR shall be conducted by a team consisting of: (a) an

                                independent third-party expert qualified in conducting and


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                         facilitating ISTRs (“independent third-party ISTR Facilitator” or

                         “ISTR Facilitator”); (b) at least one operator of the Process; (c) at

                         least one individual knowledgeable in the chemistry of the Process;

                         (d) at least one individual knowledgeable in the technology of the

                         Process; and (e) at least one member of the environmental and

                         health safety staff for the facility (collectively, the “ISTR Team”).

                         The ISTR Facilitator shall be responsible for leading the ISTR

                         Team, including conducting necessary training, guiding the team

                         through the ISTR process, and appropriately documenting the

                         ISTR.

              (2)        Defendant has proposed and the United States has agreed that

                         AcuTech Consulting Group and/or PSRG shall serve as the ISTR

                         Facilitator pursuant to the requirements of this Paragraph until

                         such time, if any, that Defendant proposes and the United States

                         approves a successor.

              (3)        In the event it becomes necessary for Defendant to replace a

                         previously approved ISTR Facilitator, Defendant shall notify the

                         United States within 10 Days of learning of the need for a

                         successor, and within 45 Days Defendant shall submit to the

                         United States the name, contact information (including mailing

                         address, phone number, and e-mail address), and qualifications of

                         the proposed successor ISTR Facilitator with a signed certification.

                         The certification shall be signed by the proposed successor ISTR


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                         Facilitator and an authorized representative of Defendant and shall

                         certify that the competency and independence requirements set

                         forth in ISTR Facilitator Qualifications are met.

              (4)        ISTR Facilitator Qualifications. The independent third party ISTR

                         Facilitator shall, unless otherwise agreed to by EPA:

                         (a)    Receive no financial benefit from the outcome of the ISTR,

                                apart from payment for the review services.

                         (b)    Shall not have conducted past research, development,

                                design, construction services, or consulting for Defendant

                                within the last two years.

                         (c)    Shall not provide other business or consulting services to

                                Defendant, including advice or assistance to implement the

                                findings or recommendations of the ISTR for a period of at

                                least two years following submission of the ISTR Report.

              (5)        Within at least 30 Days prior to the initiation of any ISTR, all

                         ISTR Team members, other than the ISTR Facilitator, shall attend

                         formal ISTR training that instructs on the purpose, scope, and

                         objective of an ISTR.

              (6)        Immediately prior to the initiation of any ISTR, for which formal

                         training was conducted more than 60 Days prior, the ISTR

                         Facilitator shall provide refresher training on the purpose, scope,

                         and objective of an ISTR.

              (7)        In each semi-annual report submitted pursuant to Section VIII


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                         (Reporting Requirements), Defendant shall submit to the United

                         States the name and qualifications of the members of the ISTR

                         Team and a signed agreement to abide by Paragraph 31(a)(1), a

                         summary and verification of the training conducted pursuant to

                         Paragraphs 31(a)(5) and 31(a)(6), for any ISTR conducted.

              (8)        The ISTR shall identify available inherently safer technology

                         alternatives or combinations of alternatives that minimize or

                         eliminate the potential for an accidental release. Using a

                         recognized and generally accepted ISTR evaluation method, the

                         review shall include, at a minimum, an analysis of the following

                         principles and techniques:

                         (a)    Reducing the amount of hazardous substances that

                                potentially may be released;

                         (b)    Substituting safer substances for hazardous substances;

                         (c)    Using hazardous substances in the least hazardous process

                                conditions or form; and

                         (d)    Designing equipment and processes to minimize the

                                potential for equipment failure and human error.

              (9)        The ISTR Report shall document, at a minimum, the following

                         information:

                         (a)    An identification of the covered Process that is the subject

                                of the review; a list of the ISTR Team members with name,

                                position, affiliation, responsibilities, qualifications and


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                               experience for each; the date of report completion; and the

                               inherently safer technology analysis method used to

                               complete the review.

                         (b)   A list of the drawings, documents, reports, data, studies,

                               referenced by the ISTR Team during the review.

                         (c)   The questions asked and answered to address the inherently

                               safer technology principles and techniques pursuant to

                               Paragraph (5)(8).

                         (d)   A list of inherently safer technologies determined to be

                               already present in the covered Process.

                         (e)   A list of additional inherently safer technologies identified

                               that could reasonably be added to the covered Process.

                         (f)   A list of the additional inherently safer technologies

                               selected to be implemented and a schedule for their

                               implementation.

                         (g)   A list of the additional inherently safer technologies that

                               could not be reasonably added to the covered Process.

                         (h)   A written explanation justifying the determination for each

                               inherently safer technology listed pursuant to Paragraph

                               31(a)(9)(g) (those that cannot reasonably be added to the

                               covered Process). The determination shall include a

                               qualitative and quantitative evaluation of environmental,

                               public health and safety, legal, technological, and economic


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                                     factors.

           b.         Within two years of the ISTR, Defendant shall install the inherently safer

                      technology selected for implementation through the ISTR, unless

                      otherwise agreed by EPA.

                (1)          In in each semi-annual report following the installation of the

                             inherently safer technology selected for implementation through

                             the ISTR, Defendant shall submit to the United States a Notice of

                             Completion in accordance with Section XIV (Notices). The Notice

                             of Completion shall include the date of completion and a

                             description of the work performed. The United States may request

                             additional information after Defendant submits the Notice of

                             Completion, if the information provided is not adequate to

                             conclude that the work has been performed and completed in

                             accordance with this Consent Decree.

     32.   Community Safety Information Sharing.

           a.         Within 365 Days of the Effective Date, Defendant shall host two

                      community meetings for the public regarding the risks to the community

                      posed by the Houston Facility and how Defendant is mitigating those

                      risks. Defendant shall also host two community meetings for the public

                      regarding the risks to the community posed by the Port Neches Facility

                      and how Defendant is mitigating those risks. Information shared during

                      the community meeting must include, at minimum, the following:

                (1)          Risk Management Plans.


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                (2)          Emergency response plans and procedures.

                (3)          Evacuation routes.

                (4)          Understanding Facility alarms.

                (5)          Understanding Air Monitoring information.

                (6)          How to properly shelter in place.

                (7)          Information regarding the work performed at the Facility.

           b.         Defendant shall provide notice of the date, time, and location of the

                      Houston Facility community meeting and the Port Neches Facility

                      community meeting to the public at least 30 Days in advance of each

                      community meeting by:

                (1)          Posting a notice, in both English and Spanish, on a public facing

                             webpage located on Defendant’s website that does not require an

                             account or login information for access.

                (2)          Posting notice in both English and Spanish language newspapers

                             of record.

                (3)          Sending a written notice, in both English and Spanish, to any

                             public receptors, as identified in the worst-case release scenario

                             conducted pursuant to 40 C.F.R. § 68.25.

           c.         The meeting must be open to the public. The location of the meeting must

                      be no further than three miles from each of the Facilities and held in a

                      publicly accessible and ADA compliant space. The meetings must include

                      a certified Spanish language interpreter and Language Skilled interpreters

                      for additional languages, if requested 21 days prior to the meeting.


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               d.         At least 15 Days prior to each community meeting, Defendant shall submit

                          the following information regarding the community meeting to the United

                          States in accordance with Section XIV (Notices):

                    (1)          The date, times, and location of the community meeting.

                    (2)          A copy of the notice sent to the community.

                    (3)          A description of the information to be shared with the community.

               e.         Within 30 Days following each community meeting, Defendant shall

                          submit to the United States a Notice of Completion in accordance with

                          Section XIV (Notices). The Notice of Completion shall include the date of

                          the community meeting and a description of the meeting, including a

                          summary of the information shared and the number of participants. The

                          United States may request additional information after Defendant submits

                          the Notice of Completion, if the information provided is not adequate to

                          conclude that the work has been performed and completed in accordance

                          with this Consent Decree.

       33.     Approval of Deliverables. After review of any plan, report, or other item that is

required to be submitted for approval pursuant to this Consent Decree, the United States will

notify Defendant that it approves or disapproves of the submission.

               a.         If the submission is approved, Defendant shall take all actions required by

                          the plan, report, or other document, in accordance with the schedules and

                          requirements of the plan, report, or other document, as approved.

               b.         If the submission is disapproved, Defendant shall, within 15 Days or such

                          other time as the Parties agree to in writing, correct all deficiencies and


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                      resubmit the plan, report, or other item for approval. If the resubmission is

                      approved, Defendant shall proceed in accordance with Paragraph 33(a).

               c.     If a resubmitted plan, report, or other item is disapproved, the United

                      States may again require Defendant to correct any deficiencies, in

                      accordance with the preceding subparagraphs.

               d.     If Defendant elects to invoke dispute resolution as set forth in Section X

                      (Dispute Resolution) concerning a decision by the United States to

                      disapprove a deliverable, Defendant shall do so by sending a Notice of

                      Dispute in accordance with Paragraph 60 within 15 Days (or such other

                      time as the Parties agree to in writing) after receipt of the applicable

                      decision.

               e.     Any stipulated penalties applicable to the original submission, as provided

                      in Section VIII (Stipulated Penalties), accrue during the 15 Day period or

                      other specified period, but shall not be payable unless the resubmission is

                      untimely or is disapproved; provided that, if the original submission was

                      so deficient as to constitute a material breach of Defendant’s obligations

                      under this Consent Decree, the stipulated penalties applicable to the

                      original submission shall be due and payable notwithstanding any

                      subsequent resubmission.

                            VII.      REPORTING REQUIREMENTS

       34.     Defendant shall submit the following reports to the United States at the addresses

set forth in Section XIV (Notices):

               a.     Semi-annual Reports. By January 31st and July 31st of each year,


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     commencing after the Effective Date of this Consent Decree and continuing until

     termination of this Consent Decree pursuant to Section XVIII (Termination), Defendant

     shall submit to the United States a semi-annual report for the preceding Reporting Period.

     Each semi-annual report shall include the following information for the applicable

     Reporting Period from the Effective Date forward:

                 (1)          A description of Defendant’s activities undertaken during the

                              Reporting Period to achieve compliance with this Consent Decree,

                              corresponding with each of the obligations set forth in Section VI

                              (Compliance Requirements);

                 (2)          A description of all completed corrective actions taken by

                              Defendant during the Reporting Period;

                 (3)          Identification of all plans, reports, and other submissions required

                              by this Consent Decree that Defendant completed and submitted

                              during the Reporting Period; and

                 (4)          A description of any additional activities Defendant plans to

                              undertake during the next Report Period in order to achieve

                              compliance with this Consent Decree.

            b.         Non-compliance Reports. Each semi-annual report shall also include a

     description of any non-compliance with the requirements of this Consent Decree and an

     explanation of the violation’s likely cause and of the remedial steps taken, or to be taken,

     to prevent or minimize such violation. If Defendant violates, or has reason to believe that

     it may violate, any requirement of this Consent Decree, Defendant shall notify the United

     States of such violation and its likely duration, in writing, within 10 business Days of the


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       Day Defendant first becomes aware of the violation, with an explanation of the

       violation’s likely cause and of the remedial steps taken, or to be taken, to prevent or

       minimize such violation. If the cause of a violation cannot be fully explained at the time

       the report is due, Defendant shall so state in the report. Defendant shall investigate the

       cause of the violation and shall then submit an amendment to the report, including a full

       explanation of the cause of the violation, within 30 Days of the Day Defendant becomes

       aware of the cause of the violation. Nothing in this Paragraph or the following Paragraph

       relieves Defendant of its obligation to provide the notice required by Section IX (Force

       Majeure).

       35.     Whenever any violation of this Consent Decree or any other event affecting

Defendant’s performance under this Consent Decree, or the performance of its Facilities, may

pose an immediate threat to the public health or welfare or the environment, Defendant shall

notify EPA by telephone or email as soon as possible, but no later than 24 hours after Defendant

first knew of the violation or event. This procedure is in addition to the requirements set forth in

the preceding Paragraph.

       36.     All reports shall be submitted to the persons designated in Section XIV (Notices).

       37.     Each report submitted by Defendant under this Section shall be signed by an

official of the submitting Party and include the following certification:

       I certify under penalty of perjury that this document and all attachments were prepared
       under my direction or supervision in accordance with a system designed to assure that
       qualified personnel properly gather and evaluate the information submitted. Based on my
       inquiry of the person or persons who manage the system, or those persons directly
       responsible for gathering the information, the information submitted is, to the best of my
       knowledge and belief, true, accurate, and complete. I have no personal knowledge that
       the information submitted is other than true, accurate, and complete. I am aware that
       there are significant penalties for submitting false information, including the possibility
       of fine and imprisonment for knowing violations.


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       38.     This certification requirement does not apply to emergency or similar

notifications where compliance would be impractical.

       39.     The reporting requirements of this Consent Decree do not relieve Defendant of

any reporting obligations required by the Act or implementing regulations, or by any other

federal, state, or local law, regulation, permit, or other requirement.

       40.     Any information provided pursuant to this Consent Decree may be used by the

United States in any proceeding to enforce the provisions of this Consent Decree and as

otherwise permitted by law.

                                VIII.   STIPULATED PENALTIES

       41.     Defendant shall be liable for stipulated penalties to the United States for

violations of this Consent Decree as specified below, unless excused under Section IX (Force

Majeure). A violation includes failing to perform any obligation required by the terms of this

Consent Decree, including any work plan or schedule approved under this Consent Decree,

according to all applicable requirements of this Consent Decree and within the specified time

schedules established by or approved under this Consent Decree.

       42.     Transfer of Ownership. If Defendant fails to: (a) provide a copy of this Consent

Decree to any proposed transferee or to provide written notice to the United States at least 30

Days prior to any transfer of any portion of the Facility; or (b) timely provide to the United

States an executed copy of the written agreement with the transferee as required by Paragraph 5,

Defendant shall pay a stipulated penalty of $10,000 per occurrence.

       43.     Compliance Milestones. The following stipulated penalties shall accrue per

violation per Day for each violation of the requirements identified in Paragraphs 17-32:



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                         Penalty per Day per Violation

                         $3,500            1st through 14th Day of violation

                         $7,000            15th through 30th Day of violation

                         $15,000           31st through 60th Day of violation

                         $22,500           61st Day of violation and beyond



       44.     Reporting Requirements. The following stipulated penalties shall accrue per

violation per Day for each violation of the reporting requirements of Section VII (Reporting

Requirements):

                         Penalty per Day per Violation

                         $700              1st through 14th Day of violation

                         $1,500            15th through 30th Day of violation

                         $3,000            31st Day of violation and beyond


       45.     Stipulated penalties that accrue per Day under this Section shall begin to accrue

on the Day after performance is due or on the Day a violation occurs, whichever is applicable,

and shall continue to accrue until performance is satisfactorily completed or until the violation

ceases. Stipulated penalties shall accrue simultaneously for separate violations of this Consent

Decree.

       46.     Defendant shall pay any stipulated penalty within 30 Days of receiving the United

States’ written demand, subject to Paragraph 50.

       47.       The United States may in the unreviewable exercise of its discretion, reduce or

waive stipulated penalties otherwise due it under this Consent Decree.


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        48.     Stipulated penalties shall continue to accrue as provided in Paragraph 45, during

any dispute resolution invoked pursuant to Section X (Dispute Resolution), but need not be paid

until the following:


                a.      If the dispute is resolved by agreement of the Parties or by a decision of

        the United States that is not appealed to the Court, Defendant shall pay accrued penalties

        determined to be owing, together with interest, to the United States within 30 Days of the

        effective date of the agreement or the receipt of the United States’ decision or order.

                b.      If the dispute is appealed to the Court and the United States prevails in

        whole or in part, Defendant shall pay all accrued penalties determined by the Court to be

        owing, together with interest, within 60 Days of receiving the Court’s decision or order,

        except as provided in Paragraph 48(c), below.

                c.      If any Party appeals the District Court’s decision, Defendant shall pay all

        accrued penalties determined to be owing, together with interest, within 15 Days of

        receiving the final appellate court decision.

        49.     Defendant shall pay stipulated penalties owing to the United States in the manner

set forth in Paragraph 13 and with the confirmation notices required by Paragraph 14, except that

the transmittal letter shall state that the payment is for stipulated penalties and shall state for

which violation(s) the penalties are being paid.

        50.     If Defendant fails to pay stipulated penalties according to the terms of this

Consent Decree, Defendant shall be liable for interest on such penalties, as provided for in

28 U.S.C. § 1961, accruing as of the date payment became due. Nothing in this Paragraph shall

be construed to limit the United States from seeking any remedy otherwise provided by law for

Defendant’s failure to pay any stipulated penalties.


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          51.     The payment of penalties and interest, if any, shall not alter in any way

Defendant’s obligation to complete the performance of the requirements of this Consent Decree.

       52.      Non-Exclusivity of Remedy. Stipulated penalties are not the United States’

exclusive remedy for violations of this Consent Decree. Subject to the provisions of Section XII

(Effect of Settlement/Reservation of Rights), the United States expressly reserves the right to seek

any other relief it deems appropriate for Defendant’s violation of this Consent Decree or

applicable law, including but not limited to an action against Defendant for statutory penalties,

additional injunctive relief, mitigation or offset measures, and/or contempt. However, the amount

of any statutory penalty assessed for a violation of this Consent Decree shall be reduced by an

amount equal to the amount of any stipulated penalty assessed and paid pursuant to this Consent

Decree.

                                     IX.     FORCE MAJEURE

       53.      “Force Majeure,” for purposes of this Consent Decree, is defined as any event

arising from causes beyond the control of Defendant, of any entity controlled by Defendant, or of

Defendant’s contractors, that delays or prevents the performance of any obligation under this

Consent Decree despite Defendant’s best efforts to fulfill the obligation. Given the need to protect

public health and welfare and the environment, the requirement that Defendant exercise “best

efforts to fulfill the obligation” includes using best efforts to anticipate any potential Force

Majeure and best efforts to address the effects of any potential Force Majeure (a) as it is occurring

and (b) following the potential Force Majeure, such that the delay or non-performance is, and any

adverse effects of the delay or noncompliance are, minimized to the greatest extent possible.

“Force Majeure” does not include Defendant’s financial inability to perform any obligation under

this Consent Decree.

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       54.     If any event occurs for which Defendant will or may claim a Force Majeure,

Defendant shall provide notice by email to EPA in accordance with Section XIV (Notices). The

deadline for the initial notice is three Days after Defendant first knew or should have known that

the event would likely delay or prevent performance. Defendant shall be deemed to know of any

circumstance of which any contractor of, subcontractor of, or entity controlled by Defendant knew

or should have known.

       55.     If Defendant seeks to assert a claim of Force Majeure concerning the event, within

seven Days after the notice under Paragraph 54 Defendant shall submit a further notice to EPA

that includes (a) an explanation and description of the event and its effect on Defendant’s

completion of the requirements of the Consent Decree; (b) a description and schedule of all

actions taken or to be taken to prevent or minimize the delay and/or other adverse effects of the

event; (c) if applicable, the proposed extension of time for Defendant to complete the

requirements of the Consent Decree; (d) Defendant’s rationale for attributing such delay to a Force

Majeure; (e) a statement as to whether, in the opinion of Defendant, such event may cause or

contribute to an endangerment to public health or welfare or the environment; and (f) all available

proof supporting any claim that the delay was attributable to a Force Majeure

       56.     Failure to submit a timely or complete notice or claim under Paragraphs 54 and 55

regarding an event precludes Defendant from asserting any claim of Force Majeure regarding that

event, provided, however, that EPA may, in its unreviewable discretion, excuse such failure if it is

able to assess to its satisfaction whether the event is a Force Majeure, and whether Defendant has

exercised its best efforts under Paragraph 53.

         57.     After receipt of any claim of Force Majeure, EPA will notify Defendant in writing

     of its determination whether Defendant is entitled to relief under Paragraph 53, and, if so, the


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excuse of, or the extension of time for, performance of the obligations affected by the Force

Majeure. An excuse of, or extension of the time for performance of, the obligations affected by the

Force Majeure does not, of itself, excuse or extend the time for performance of any other

obligation.

       58.     If Defendant elects to invoke the dispute resolution procedures set forth in Section

X (Dispute Resolution), it shall do so no later than 20 Days after receipt of the EPA’s notice. In

any such proceeding, Defendant shall have the burden of proving that it is entitled to relief under

Paragraph 53, that its proposed excuse or extension was or will be warranted under the

circumstance, and that it complied with the requirements of Paragraphs 53 - 55. If Defendant

carries this burden, the delay or non-performance at issue shall be deemed not to be a violation by

Defendant of the affected obligation of this Consent Decree identified to EPA and the Court.

                                 X.     DISPUTE RESOLUTION

       59.     Unless otherwise expressly provided for in this Consent Decree, the dispute

resolution procedures of this Section shall be the exclusive mechanism to resolve disputes arising

under or with respect to this Consent Decree. Defendant’s failure to seek resolution of a dispute

under this Section concerning an issue of which it had notice and an opportunity to dispute under

this Section prior to an action by the United States to enforce any obligation of Defendant arising

under this Consent Decree precludes Defendant from raising any such issue as a defense to any

such enforcement action.

       60.     Informal Dispute Resolution. Any dispute subject to dispute resolution under this

Consent Decree shall first be the subject of informal negotiations. The dispute shall be considered

to have arisen when Defendant sends the United States a written Notice of Dispute. Such Notice

of Dispute shall state clearly the matter in dispute. The period of informal


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negotiations shall not exceed 30 Days from the date the dispute arises, unless that period is

modified by written agreement. If the Parties cannot resolve a dispute by informal negotiations,

then the position advanced by the United States shall be considered binding unless, within 20

Days after the conclusion of the informal negotiation period, Defendant invokes formal dispute

resolution procedures as set forth below.

       61.     Formal Dispute Resolution. Defendant shall invoke formal dispute resolution

procedures, within the time period provided in the preceding Paragraph, by sending the United

States a written “Statement of Position” regarding the matter in dispute. The Statement of Position

shall include, but need not be limited to, any factual data, analysis, or opinion supporting

Defendant’s position and any supporting documentation relied upon by Defendant.

       62.     The United States shall send Defendant its Statement of Position within 45 Days of

receipt of Defendant’s Statement of Position. The United States’ Statement of Position shall

include, but need not be limited to, any factual data, analysis, or opinion supporting that position

and any supporting documentation relied upon by the United States. The United States’ Statement

of Position shall be binding on Defendant, unless Defendant files a motion for judicial review of

the dispute in accordance with the following Paragraph.

       63.     Judicial Dispute Resolution. Defendant may seek judicial review of the dispute by

filing with the Court and serving on the United States, in accordance with Section XIV (Notices), a

motion requesting judicial resolution of the dispute. The motion (a) must be filed within 15 Days

of receipt of the United States’ Statement of Position pursuant to the preceding Paragraph; (b) may

not raise any issue not raised in informal dispute resolution, unless the United States raises a new

issue of law or fact in its Statement of Position; (c) shall contain a written statement of

Defendant’s position on the matter in dispute, including any supporting factual data, analysis,


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opinion, or documentation; and (d) shall set forth the relief requested and any schedule within

which the dispute must be resolved for orderly implementation of the Consent Decree.

        64.        The United States shall respond to Defendant’s motion within the time period

allowed by the Local Rules of this Court. Defendant may file a reply memorandum, to the extent

permitted by the Local Rules.

        65.        Standard of Review. In a formal dispute resolution proceeding under this Section,

Defendant bears the burden of demonstrating that its position complies with this Consent Decree

and the CAA, and that it is entitled to relief under applicable principles of law. The United States

reserves the right to argue that its position is reviewable only on the administrative record and

must be upheld unless arbitrary and capricious or otherwise not in accordance with law, and

Defendant reserves the right to argue to the contrary.

        66.        The invocation of dispute resolution procedures under this Section shall not, by

itself, extend, postpone, or affect in any way any obligation of Defendant under this Consent

Decree, unless and until final resolution of the dispute so provides. Stipulated penalties with

respect to the disputed matter shall continue to accrue from the first Day of noncompliance, but

payment shall be stayed pending resolution of the dispute as provided in Paragraph 48. If

Defendant does not prevail on the disputed issue, stipulated penalties shall be assessed and paid as

provided in Section VIII (Stipulated Penalties).

                      XI.    INFORMATION COLLECTION AND RETENTION

        67.        The United States and its representatives, including attorneys, contractors, and

consultants, shall have the right of entry into any facility covered by this Consent Decree, at all

reasonable times, subject to any applicable federal law and regulation, upon presentation of

credentials, to:


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                  a.     monitor the progress of activities required under this Consent Decree;

                  b.     verify any data or information submitted to the United States in

       accordance with the terms of this Consent Decree;

                  c.     obtain samples and, upon request, splits of any samples taken by

       Defendant or its representatives, contractors, or consultants;

                  d.     obtain documentary evidence, including photographs and similar data; and

                  e.     assess Defendant’s compliance with this Consent Decree.

       68.        Upon request, Defendant shall provide EPA or its authorized representatives splits

of any samples taken by Defendant relevant to compliance with the terms of this Consent

Decree. Upon request, EPA shall provide Defendant splits of any samples taken by EPA relevant

to compliance with the terms of this Consent Decree.

       69.        Until five years after the termination of this Consent Decree, Defendant shall

retain, and shall instruct its contractors and agents to preserve, all non-identical copies of all

documents, records, or other information (including documents, records, or other information in

electronic form) in its or its contractors’ or agents’ possession or control, or that come into its or

its contractors’ or agents’ possession or control, and that relate in any manner to Defendant’s

performance of its obligations under this Consent Decree. This information retention requirement

shall apply regardless of any contrary corporate or institutional policies or procedures. At any

time during this information retention period, upon request by the United States, Defendant shall

provide copies of any documents, records, or other information required to be maintained under

this Paragraph.

       70.        At the conclusion of the information retention period provided in the preceding

Paragraph, Defendant shall notify the United States at least 90 Days prior to the destruction of


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any documents, records, or other information subject to the requirements of the preceding

Paragraph and, upon request by the United States, Defendant shall deliver any such documents,

records, or other information to EPA.

       71.     Defendant may assert that certain documents, records, or other information

required to be provided under this Section is privileged under the attorney-client privilege or any

other privilege recognized by federal law. If Defendant asserts such a privilege, it shall provide the

following: (a) the title of the document, record, or information; (b) the date of the document,

record, or information; (c) the name and title of each author of the document, record, or

information; (d) the name and title of each addressee and recipient; (e) a description of the subject

of the document, record, or information; and (f) the privilege asserted by Defendant. However, no

documents, records, or other information created or generated pursuant to the requirements of this

Consent Decree shall be withheld on grounds of privilege.

       72.     Defendant may also assert that information required to be provided under this

Consent Decree is protected as Confidential Business Information (“CBI”) under 40 C.F.R. Part 2.

As to any information that Defendant seeks to protect as CBI, Defendant shall follow the

procedures set forth in 40 C.F.R. Part 2.

       73.     This Consent Decree in no way limits or affects any right of entry and inspection,

or any right to obtain information, held by the United States pursuant to applicable federal or state

laws, regulations, or permits, nor does it limit or affect any duty or obligation of Defendant to

maintain documents, records, or other information imposed by applicable federal or state laws,

regulations, or permits.




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               XII.    EFFECT OF SETTLEMENT/RESERVATION OF RIGHTS

        74.     This Consent Decree resolves only the civil claims of the United States for the

violations alleged in the Complaint filed in this action and the Proof of Claim through the Date

of Lodging of this Consent Decree.

        75.     Neither this Consent Decree nor Defendant’s consent to its entry constitutes an

admission by Defendant of violations alleged by the United States in the Complaint or

allegations stated in the Proof of Claim.

        76.     The United States reserves all legal and equitable remedies available to enforce

the provisions of this Consent Decree. This Consent Decree shall not be construed to limit the

rights of the United States to obtain penalties or injunctive relief under the Act or implementing

regulations, or under other federal laws, regulations, or permit conditions, except as expressly

specified in Paragraph 74. The United States further reserves all legal and equitable remedies to

address any imminent and substantial endangerment to the public health or welfare or the

environment arising at, or posed by, Defendant’s Facilities, whether related to the violations

addressed in this Consent Decree or otherwise.

        77.      In any subsequent administrative or judicial proceeding initiated by the United

States for injunctive relief, civil penalties, other appropriate relief relating to the Facilities or

Defendant’s violations, Defendant shall not assert, and may not maintain, any defense or claim

based upon the principles of waiver, res judicata, collateral estoppel, issue preclusion, claim

preclusion, claim-splitting, or other defenses based upon any contention that the claims raised by

the United States in the subsequent proceeding were or should have been brought in the instant

case, except with respect to claims that have been specifically resolved pursuant to Paragraph 74.




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        78.     This Consent Decree is not a permit, or a modification of any permit, under any

federal, state, or local laws or regulations. Defendant is responsible for achieving and maintaining

complete compliance with all applicable federal, state, and local laws, regulations, and permits;

and Defendant’s compliance with this Consent Decree shall be no defense to any action

commenced pursuant to any such laws, regulations, or permits, except as set forth herein. The

United States does not, by its consent to the entry of this Consent Decree, warrant or aver in any

manner that Defendant’s compliance with any aspect of this Consent Decree will result in

compliance with provisions of the Act, 42 U.S.C. § 7401, et seq., or with any other provisions of

federal, state, or local laws, regulations, or permits.

        79.     This Consent Decree does not limit or affect the rights of Defendant or of the

United States against any third parties, not party to this Consent Decree, nor does it limit the

rights of third parties, not party to this Consent Decree, against Defendant, except as otherwise

provided by law.

        80.     This Consent Decree shall not be construed to create rights in, or grant any cause of

action to, any third party not party to this Consent Decree.

        81.     For administrative purposes in Defendant’s Chapter 11 Case, the entry into this

Consent Decree by the Parties with either the consent of the GUC Trustee (as defined in the Plan)

or the approval of the Bankruptcy Court shall constitute a settlement and resolution of the Proof of

Claim; provided, that the DOJ and EPA shall retain the right to enforce their rights hereunder to

payment of the civil penalty in the Bankruptcy Court. Nothing in this Consent Decree modifies

Paragraphs 62, 65, 66, and 67 of the Confirmation Order.




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                                           XIII.   COSTS

       82.     The Parties shall bear their own costs of this action, including attorneys’ fees,

except that the United States shall be entitled to collect the costs (including attorneys’ fees)

incurred in any action necessary to collect any portion of any stipulated penalties due but not

paid by Defendant.

                                          XIV. NOTICES

       83.     Unless otherwise specified in this Consent Decree, whenever notifications,

submissions, or communications are required by this Consent Decree, they shall be made in

writing and addressed as follows, with a courtesy copy by email (except that attachments that are

too voluminous to email must be copied onto other electronic media and sent by mail):

       To the United States (notifications to the United States also shall be sent to the EPA):

       As to the United States by email:       eescdcopy.enrd@usdoj.gov
                                               Re: DJ # 90-5-2-1-12550

       As to the United States by mail:        EES Case Management Unit
                                               Environment and Natural Resources Division
                                               U.S. Department of Justice
                                               P.O. Box 7611
                                               Washington, D.C. 20044-7611
                                               Re: DJ # 90-5-2-1-12550

       As to EPA by mail and email:            Samuel Tates, Chief
                                               Chemical Accident Enforcement Section (ECDAC)
                                               Air Enforcement Branch
                                               Enforcement and Compliance Assurance Division
                                               U.S. Environmental Protection Agency
                                               Region 6
                                               1201 Elm Street, Suite 500
                                               Dallas, Texas 75720
                                               Tates.Samuel@EPA.gov




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       As to Defendant by mail and email: Legal Department
                                          500 Dallas Street, Suite 2000
                                          Houston, Texas 77002
                                          legal@tcpgrp.com

                                              Scott Janoe
                                              Baker Botts L.L.P.
                                              910 Louisiana St.
                                              Houston, Texas 77002
                                              Scott.Janoe@bakerbotts.com

       84.     Any Party may, by written notice to the other Parties, change its designated notice

recipient or notice address provided above.

       85.     Notices submitted pursuant to this Section shall be deemed submitted upon

mailing or transmission by email, unless otherwise provided in this Consent Decree or by mutual

agreement of the Parties in writing.

                                   XV.     EFFECTIVE DATE

       86.     The Effective Date of this Consent Decree shall be the date upon which this

Consent Decree is entered by the Court or a motion to enter the Consent Decree is granted,

whichever occurs first, as recorded on the Court’s docket.

                           XVI. RETENTION OF JURISDICTION

       87.     The Court shall retain jurisdiction over this case until termination of this Consent

Decree, for the purpose of resolving disputes arising under this Consent Decree or entering

orders modifying this Consent Decree, pursuant to Sections X (Dispute Resolution) and XVII

(Modification), or effectuating or enforcing compliance with the terms of this Consent Decree.




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                                      XVII. MODIFICATION

       88.     The terms of this Consent Decree, including any attached appendices, may be

modified only by a subsequent written agreement signed by all the Parties. Where the

modification constitutes a material change to this Consent Decree, it shall be effective only upon

approval by the Court.

       89.     Any disputes concerning modification of this Consent Decree shall be resolved

pursuant to Section X (Dispute Resolution), provided, however, that, instead of the burden of

proof provided by Paragraph 65, the Party seeking the modification bears the burden of

demonstrating that it is entitled to the requested modification in accordance with Federal Rule of

Civil Procedure 60(b).

                                       XVIII. TERMINATION

       90.     Before seeking termination of the Consent Decree, the Defendant must have:

               a.        Paid the civil penalty and any accrued stipulated penalties as required by

                         this Consent Decree;

               b.        Completed all requirements of Section VI (Compliance Requirements)

                         with substantial compliance with Paragraph 16;

               c.        Completed all Open Corrective Actions as of the Effective Date, and any

                         overdue corrective actions not meeting the timeframes set forth in

                         Paragraphs 18.d) and 18.f);

               d.        Maintained satisfactory compliance with the Consent Decree for a period

                         of five years from the Effective Date; and

               e.        No releases that resulted in or could have resulted in a Catastrophic

                         Release for at least two years.


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       91.     After Defendant has satisfied the conditions for termination set forth in Paragraph

90, Defendant may serve upon the United States a Request for Termination. The Request for

Termination must demonstrate that Defendant has satisfied all requirements for termination set

forth in Paragraph 90 and include all necessary supporting documentation.

       92.     Following receipt by the United States of Defendant’s Request for Termination, the

Parties shall confer informally concerning the Request for Termination and any disagreement that

the Parties may have as to whether Defendant has satisfactorily complied with the requirements for

termination of this Consent Decree. If the United States agrees that the Consent Decree may be

terminated, the Parties shall submit, for the Court’s approval, a joint stipulation terminating the

Consent Decree. Section XI (Information Collection and Retention) shall survive termination.

       93.     If the United States does not agree that the Consent Decree may be terminated,

Defendant may invoke dispute resolution under Section X. However, Defendant shall not seek

dispute resolution of any dispute regarding termination until 120 Days after service of its Request

for Termination.

                                XIX. PUBLIC PARTICIPATION

        94.    This Consent Decree shall be lodged with the Court for a period of not less than

30 Days for public notice and comment in accordance with 28 C.F.R. § 50.7. The United States

reserves the right to withdraw or withhold its consent if the comments regarding the Consent

Decree disclose facts or considerations indicating that the Consent Decree is inappropriate,

improper, or inadequate. Defendant consents to entry of this Consent Decree without further

notice and agrees not to withdraw from or oppose entry of this Consent Decree by the Court or to




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challenge any provision of the Consent Decree, unless the United States has notified Defendant in

writing that it no longer supports entry of the Consent Decree.

                                XX.     SIGNATORIES/SERVICE

       95.     Each undersigned representative of Defendant and the Assistant Attorney General

for the Environment and Natural Resources Division of the Department of Justice identified on the

DOJ signature page below, certifies that they are fully authorized to enter into the terms and

conditions of this Consent Decree and to execute and legally bind the Party that person represents

to this document.

       96.     This Consent Decree may be signed in counterparts, and its validity shall not be

challenged on that basis. Defendant agrees to accept service of process by mail with respect to all

matters arising under or relating to this Consent Decree and to waive the formal service

requirements set forth in Rules 4 and 5 of the Federal Rules of Civil Procedure and any applicable

Local Rules of this Court including, but not limited to, service of a summons. Defendant need not

file an answer to the Complaint in this action unless or until the Court expressly declines to enter

this Consent Decree.

                                      XXI. INTEGRATION

       97.     This Consent Decree, including deliverables that are subsequently approved

pursuant to this Consent Decree, constitutes the entire agreement among the Parties regarding the

subject matter of the Consent Decree and supersedes all prior representations, agreements and

understandings, whether oral or written, regarding the subject matter of the Consent Decree,

except as to Paragraphs 62, 65, 66, and 67 of the Confirmation Order.




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                    XXII. 26 U.S.C. § 162(f)(2)(A)(ii) IDENTIFICATION

       98.     For purposes of the identification requirement of Section 162(f)(2)(A)(ii) of the

Internal Revenue Code, 26 U.S.C. § 162(f)(2)(A)(ii), performance of Section II (Applicability),

Paragraph 6; Section VI (Compliance Requirements) and related Appendices, Paragraphs 17 -27;

Section VII (Reporting Requirements), Paragraphs 34 and 40; and Section XI (Information

Collection and Retention), Paragraphs 67 and 73 is restitution or required to come into

compliance with the law.

                                  XXIII. FINAL JUDGMENT

       99.     Upon approval and entry of this Consent Decree by the Court, this Consent

Decree shall constitute a final judgment of the Court as to the United States and Defendant.


                                   XXIV. APPENDICES
       100.    The following Appendices are attached to and part of this Consent Decree:

               “Appendix A” is the Administrative Order on Consent

               “Appendix B” is the Letter of No Objection from the GUC Trust

               “Appendix C” is the KPI Attachment

               “Appendix D” is the Risk Ranking Program Summary and Definitions

               “Appendix E” is the PHA Corrective Actions List

               “Appendix F” is the Air Monitoring Tables

               “Appendix G” is the PNO AOC Requirements

               “Appendix H” is the HNO Service Requests and Work Orders




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                            SIGNED this 15th day of January, 2025.




                                                         ____________________________
                                                         Michael J. Truncale
                                                         United States District Judge




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    Signature Page for Consent Decree in the matter of United States of America v. TPC Group LLC


                                       FOR THE UNITED STATES OF AMERICA:

                                       TODD KIM
                                       Assistant Attorney General
                                       Environment and Natural Resources Division
                                       U.S. Department of Justice         1




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                                UNITED STATES                                 22 l•4U1 23 1.,1 9: 53
                       ENVIRONMENTAL PROTECTION AGENCY
                                   REGION 6                                                  ti C1
                                                                                                   CLERK
                                  Dallas, Texas                                             J vi


In the Matter of

TPC Group LLC,                                               Docket No. CAA-06-2022-3364


Respondent.




                        ADMINISTRATIVE ORDER ON CONSENT

                                     Preliminary Statement

        I.     The U.S. Environmental Protection Agency, Region 6 ("EPA" or "Complainant"),

and TPC Group LLC ("Respondent") have agreed to voluntarily enter into this Administrative

Order on Consent ("Order") for the purposes of carrying out the goals of Section 112(r) of the

Clean Air Act ("CAA"), 42 U.S.C. § 7412(r), and the regulations promulgated thereunder and

codified at 40 C.F.R. Part 68.

                                           Jurisdiction

       2.      This Order is entered into pursuant to the authority of Section 113(a)(3)(B) of the

CAA, 42 U.S.C. § 7413(a)(3)(B). Section 113(a)(3)(B) of the CAA, 42 U.S.C. § 7413(a)(3)(B),

provides that whenever, on the basis of any information available to the Administrator, the

Administrator finds that any person has violated, or is in violation of, any other requirement or

prohibition of Subchapter 1 of the CAA, which includes, among other things, the requirements of

Section 112(r) of the CAA, 42 U.S.C. § 7412(r), and the regulations promulgated thereunder, the

Administrator may issue an order requiring compliance with such requirement or prohibition.
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                                              Parties

         3.     Complainant is the Director of the Enforcement and Compliance Assurance

 Division, EPA, Region 6, as duly delegated by the Administrator of the EPA and the Rezional

Administrator. EPA, Region 6.

         4.     Respondent is TPC Group LLC, a company organized under the laws of the state

of Texas and authorized to conduct business in the state of Texas.

                             Statutory and Regulatory Background

         5.     On November 15, 1990. the President signed into law the CAA Amendments of

 1990. The Amendments added Section I I 2(r) to Title I of the CAA, 42 U.S.C. § 7412(r). The

objective of Section 112(r) is to prevent the accidental release and to minimize the consequences

of any such release of any substance listed pursuant to Section 112(r)(3) of the CAA, 42 U.S.C. §

 7412(r)(3), or any other extremely hazardous substance.

         6.     Pursuant to Section 112(r)(1) of the CAA, 42 U.S.C. § 7412(r)(1), commonly

 referred to as the General Duty Clause, owners and operators of stationary sources producing.

 processing, handling or storing substances listed pursuant to Section 112(r)(3) of the CAA, 42

 U.S.C. § 7412(r)(3), or any other extremely hazardous substance, have a general duty in the same

 manner and the same extent as the Occupational Safety and Health Act ("OSHA"), 29 U.S.C. §

654 et. seq., to identify hazards which may result from accidental releases using appropriate

 hazard assessment techniques, to design and maintain a safe facility, taking such steps as are

 necessary to prevent releases, and to minimize the consequences of accidental releases which do

occur.

         7.     Section 112(r)(3) of the CAA. 42 U.S.C. § 7412(r)(3), mandates the

Administrator to promulgate a list of regulated substances which, in the case of an accidental



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 release, are known to cause or may reasonably be anticipated to cause death, injury, or serious

 adverse effects to human health or the environment. Section 112(r)(5) of the CAA, 42 U.S.C.

 § 7412(r)(5), mandates that the Administrator establish a threshold quantity for any substance

 listed pursuant to Section 112(r)(3) of the CAA, 42 U.S.C. § 7412(r)(3). The list of regulated

 substances and respective threshold quantities is codified at 40 C.F.R. § 68.130.

        8.      Section 112(r)(7) of the CAA, 42 U.S.C. § 7412(r)(7), requires the Administrator

 to promulgate regulations that address release prevention, detection, and correction requirements

 for stationary sources with threshold quantities of regulated substances listed pursuant to Section

 112(r)(3) of the CAA, 42 U.S.C. § 7412(r)(3). On June 20. 1996, EPA promulgated a final rule

 known as the Risk Management Program, 40 C.F.R. Part 68 — Chemical Accident Prevention

 Provisions, which implements Section I12(r)(7) of the CAA, 42 U.S.C. § 7412(r)(7).

        9.      The regulations at 40 C.F.R. Part 68 require owners and operators to develop and

 implement a Risk Management Program at each stationary source with over a threshold quantity

 of regulated substances. The Risk Management Program must include, among other things, a

 hazard assessment, a prevention program, and an emergency response program. The Risk

 Management Program is described in a Risk Management Plan ("RMP") that must be submitted

 to the EPA.

        10.     Pursuant to Section 112(0(7) of the CAA, 42 U.S.C. § 7412(r)(7), and 40 C.F.R.

 § 68.150. an RMP must be submitted for all covered processes by the owner or operator of a

 stationary source subject to 40 C.F.R. Part 68 no later than the latter of June 21, 1999, or the date

 on which a regulated substance is first present above the threshold quantity in a process.

         1 1.   The regulations at 40 C.F.R. § 68.10 set forth how the Chemical Accident

 Prevention Provisions of 40 C.F.R. Part 68 apply to each program level of covered processes.



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 Pursuant to 40 C.F.R. § 68.10(i). a covered process is subject to Program 3 requirements if the

process does not meet the requirements of Program I, as described in 40 C.F.R. § 68.10(g), and

 if it is in a specified North American Industrial Classification System code or is subject to the

OSHA process safety management standard, 29 C.F.R. § 1910.119.

                                             Definitions

         12.    Section 302(e) of the CAA, 42 U.S.C. § 7602(e), defines "person" to include any

 individual. corporation. partnership, association, State, municipality, political subdivision of a

State, and any agency department, or instrumentality of the United States and any officer, agent,

or employee thereof.

         13.    Section 112(r)(2)(A) of the CAA, 42 U.S.C. § 7412(r)(2)(A). and the regulation at

40 C.F.R. § 68.3 defines "accidental release" as an unanticipated emission of a regulated

substance or other extremely hazardous substance into the ambient air from a stationary source.

         14.    Section 112(r)(2)(C) of the CAA, 42 U.S.C. § 7412(r)(2)(C) and the regulation at

40 C.F.R. § 68.3 defines "stationary source," in part, as any buildings, structures, equipment,

 installations or substance emitting stationary activities which belong to the same industrial

 uoup. which are located on one or more contiguous properties, which are under the control of

the same person (or persons under common control) and from which an accidental release may

occur.

         15.    Section 112(r)(2)(B) of the CAA, 42 U.S.C. § 7412(r)(2)(B), and the regulation at

40 C.F.R. § 68.3 define "regulated substance" as any substance listed pursuant to Section

112(r)(3) of the CAA, as amended. in 40 C.F.R. § 68.130.

         16.    The regulation at 40 C.F.R. § 68.3 defines "threshold quantity" as the quantity

specified for regulated substances pursuant to Section I 12(r)(5) of the CAA, as amended, listed



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 in 40 C.F.R. § 68.130 and determined to be present at a stationary source as specified in 40

 C.F.R. § 68.115.

           17.   The regulation at 40 C.F.R. § 68.3 defines "process" as any activity involving a

 regulated substance including any use, storage, manufacturing, handling or on-site movement of

 such substances or combination of these activities. For the purposes of this definition, any group

 of vessels that are interconnected, or separate vessels that are located such that a regulated

 substance could be involved in a potential release, shall be considered a single process.

           18.   The regulation at 40 C.F.R. § 68.3 defines "covered process" as a process that has

a regulated substance present in more than a threshold quantity as determined under 40 C.F.R. §

 68.115.

                          EPA Findings of Fact and Conclusions of Law

           19.   Respondent is, and at all times referred to herein was, a "person" as defined by

 Section 302(e) of     CAA, 42 U.S.C. § 7602(e).

        20.      Respondent is the owner and operator of the facility located at: 8600 Park Place

 Boulevard. 1 louston, Texas 70017 ("the Facility").

        21.      On April 3, 2018, the EPA conducted an inspection at the Facility to evaluate

 Respondent's compliance with Section 1 12(r) of the CAA, 42 U.S.C. § 7412(r), and 40 C.F.R.

 Part 68.

        22.      On October 28, 2020, the EPA requested, and on December 15, 2020, January 8.

2021, and July 13, 2021, Respondent provided documentation and information concerning the

 Respondent's compliance with Section 112(r) of the CAA, 42 U.S.C. § 7412(r), and 40 C.F.R.

 Part 68.




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        23.     On June 15, 2022, the EPA conducted a site visit at the Facility to evaluate

 Respondent's compliance with Section 1 12(r) of the CAA, 42 U.S.C. § 7412(r), and 40 C.F.R.

 Part 68.

        24.     The Facility is a "stationary source- pursuant to Section I I 2(r)(2)(C) of the CAA,

42 U.S.C. 7412(r)(2)(C), and the regulation at 40 C.F.R. § 68.3.

        25.     Respondent operates a petrochemical manufacturing process at the Facility that

produces butadiene, butene-1, raffinate, isobutylene, diisobutylene, and polyisobutylene.

        26.     Respondent's petrochemical manufacturing process at the Facility meets the

definition of a "process" as defined by 40 C.F.R. § 68.3

        27.     Respondent's activities at the Facility involve the use, storage, manufacturing,

handling, and/or on-site movement of 1-butene, isobutane, ammonia (cone 20% or greater), 1,3-

butadiene, and flammable mixtures consisting of butane, 1-butene, propane, 2-butene, 1,3-

butadiene, pentane, 2-methylpropene, isopentane, and chlorine (hereinafter the "I-INO Regulated

Substances").

        28.     The 1-INO Regulated Substances are each a "listed substance" as referred to in

Section 112(r)(1) of the CAA, 42 U.S.C. § 7412(r)(1).

        29.     From the time Respondent first produced, processed, handled, or stored listed

substances at the Facility, Respondent was subject to the requirements of the General Duty

Clause in Section 112(r)(1) of the CAA, 42 U.S.C. § 7412(r)(1).

        30.     The I-INO Regulated Substances are each a "regulated substance" pursuant to

Section I I2(r)(2)(B) of the CAA, and the regulation at 40 C.F.R. § 68.3.




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        31.      Respondent has greater than threshold quantities of the HNO Regulated

 Substances. as listed in 40 C.F.R. § 68.130 and determined pursuant to 40 C.F.R. § 68.115(b)(3),

 in a process at the Facility.

        32.      Multiple processes at the Facility meet the definition of -covered process" as

 defined by 40 C.F.R. § 68.3.

        33.      From the time Respondent first had on-site greater than a threshold quantity of

 any of the HNO Regulated Substances in a process, Respondent was subject to the requirements

 of Section 112(r)(7) of the CAA, 42 U.S.C. § 7412(r)(7), and 40 C.F.R. Part 68 because it was

 the owner or operator of a stationary source that had more than a threshold quantity of a

 regulated substance in a process.

        34.      The covered processes at the Facility do not meet the Program 1 eligibility

 requirements set forth in 40 C.F.R. § 68.10(g), is in the NAICS code 3251 1 — Petroleum

 Manufacturin2. and are subject to the OSHA process safety management standards: therefore.

 meeting the Program 3 applicability and eligibility requirements pursuant to 40 C.F.R. § 68.10(i).

        35.      From the time Respondent first had on-site greater than a threshold quantity of

 any of the HNO Regulated Substances in a process and met the Program 3 eligibility

 requirements of 40 C.F.R. §68.10(i), Defendant was required to comply with the Program 3

 requirements set forth in 40 C.F.R. § 68.12(d).

                                     EPA Findings of Violation

        36.     The facts stated in the EPA Findings of Fact and Conclusions of Law above are

 herein incorporated.

        37.     Complainant hereby states and alleges that Respondent has violated the CAA and

 federal regulations promulgated thereunder as follows:



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                                       General Duty Clause

       38.      Pursuant to Section 1 12(0(1) of the CAA, 42 U.S.C. § 7412(r)(1), owners and

operators of stationary sources producing, processing, handling or storing substances listed

pursuant to Section 112(r)(3) of the CAA. 42 U.S.C. § 7412(r)(3), or any other extremely

hazardous substance, have a general duty in the same manner and the same extent as the OSHA,

29 U.S.C. § 654 et. seq., to identify hazards and to design and maintain a safe facility, taking

such steps as are necessary to prevent releases.

        39.     The process at the Facility has piping and equipment with visible external

corrosion. The visible external corrosion has created equipment deficiencies including pinhole

leaks, pitting, and line leaks.

        40.     Respondent's failure to identify hazards and to design and maintain a safe facility

free of external corrosion, and hazardous conditions, taking such steps as are necessary to

prevent releases is a violation of Section 112(r)(1) of the CAA, 42 U.S.C. § 7412(r)(1).

                                       General Duty Clause

       41.      Pursuant to Section 112(r)(1) of the CAA, 42 U.S.C. § 7412(r)(1), owners and

operators of stationary sources producing, processing, handling or storing substances listed

pursuant to Section 112(r)(3) of the CAA, 42 U.S.C. § 7412(r)(3), or any other extremely

hazardous substance, have a general duty in the same manner and the same extent as the OSHA,

29 U.S.C. § 654 et. seq., to identify hazards and to design and maintain a safe facility, taking

such steps as are necessary to prevent releases.

       42.      Dead legs, which are piping segments open to the process but with no flow

through them, in equipment containing high purity butadiene, can allow for the formation of

popcorn polymer if not properly manazed. The formation and growth of popcorn polymer can



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 result in over pressurization, equipment failure, and loss of containment, as evidenced in the

 catastrophic release that occurred at Respondent's facility located in Port Neches, Texas.

         43.     The design of the Facility includes at least sixty-three (63) dead legs.

         44.     At least fifty-three (53) of the dead legs identified by Respondent at the Facility

 are managed with administrative controls. Administrative controls allow for human error and the

 potential for a release.

         45.     TPC was unable to identify the status of at least eighteen (18) dead legs at the

 time of the June 15, 2022, site visit.

         46.     The Mobile Ops tracking system used by Respondent for tracking and recording

 the status of operational and permanent dead legs at the Facility does not reliably and timely

 record and register the current status of the dead legs.

         47.     Temporary dead legs at the Facility are not tracked.

         48.     The catastrophic release at the Port Neches, Texas facility was as a result of a

 temporary dead leg.

         49.     Respondent has failed to identify hazards and to design and maintain a facility

 with controls necessary for managing and mitigating dead legs, including inadequately tracking

 the status of all dead legs for appropriate management and mitigation, which includes permanent

 removal. blinding, valving, and regular flushing of the dead legs.

         50.     Respondent's failure to identify hazards, and to design and maintain a safe facility

 taking such steps as are necessary to prevent releases is a violation of Section 112(r)(1) of the

 CAA, 42 U.S.C. § 7412(r)(1).




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                           Mechanical Integrity - Inspection and Testing

         51.    The regulation at 40 C.F.R. § 68.12(d)(3) requires the owner or operator of a

 stationary source with a process subject to Program 3 to implement the prevention requirements

 of 40 C.F.R. §§ 68.65 through 68.87. Pursuant to 40 C.F.R. § 68.73(d)(2), inspection and testing

 procedures shall follow recognized and generally accepted good engineering practices.

         52.    Consistent with recognized and generally accepted good engineering practices

 ("RAGAGEP") for the petrochemical manufacturing industry, owners and operators should

 calculate the remaining life of the process equipment and record the same.

         53.    Respondent has failed to calculate the remaining life of process equipment.

         54.    Respondent's failure to calculate the remaining life of process equipment

 following RAGAGEP pursuant to 40 C.F.R. § 68.73(d)(2), as required by 40 C.F.R. §

 68.12(d)(3) is a violation of Section 112(r)(7) of the CAA, 42 U.S.C. § 7412(r)(7).

                          Mechanical Integrity — Inspection and Testing

         55.    The regulation at 40 C.F.R. § 68.12(d)(3) requires the owner or operator of a

 stationary source with a process subject to Program 3 to implement the prevention requirements

 of 40 C.F.R. §§ 68.65 through 68.87. Pursuant to 40 C.F.R. § 68.73(d)(3), the frequency of

 inspections and tests of process equipment shall be consistent with applicable manufacturers'

 recommendations and good engineering practices. and more frequently if determined to be

 necessary by prior operating experience.

        56.     Visual external and thickness measurement inspections for piping should be

 conducted consistent with applicable manufacturers' recommendations and good engineering

 practices.




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        57.     Respondent failed to perform visual external and thickness measurement

 inspections consistent with applicable manufacturers' recommendations and good engineering

 practices.

        58.     Respondent's failure to perform inspections and tests on piping process

 equipment at a frequency consistent with applicable manufacturers' recommendations and good

 engineering practices pursuant to 40 C.F.R. § 68.73(d)(3), as required by 40 C.F.R. § 68.12(d)(3)

 is a violation of Section 112(r)(7) of the CAA, 42 U.S.C. § 7412(r)(7).

                      Mechanical Integrity — Piping Equipment Deficiencies

        59.     The regulation at 40 C.F.R. § 68.12(d)(3) requires the owner or operator of a

 stationary source with a process subject to Program 3 to implement the prevention requirements

 of 40 C.F.R. §§ 68.65 through 68.87. Pursuant to 40 C.F.R. § 68.73(e) the owner or operator

 shall correct deficiencies in equipment that are outside acceptable limits (defined by the process

 safety information in § 68.65) before further use or in a safe and timely manner when necessary

 means are taken to assure safe operation.

        60.     Respondent failed to correct equipment deficiencies in piping process equipment,

 including where there is corrosion found under piping insulation and labeling, where pitting is

exhibited, and where pinhole leaks and line leaks are found.

        61.     Respondent's failure to correct deficiencies in piping process equipment that are

outside acceptable limits before further use or in a safe and timely manner pursuant to 40 C.F.R.

 § 68.73(e), as required by 40 C.F.R. § 68.12(d)(3) is a violation of Section 1 12(r)(7) of the CAA,

 42 U.S.C. § 7412(r)(7).




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                       Mechanical Integrity — Pump Equipment Deficiencies

        62.     The regulation at 40 C.F.R. § 68.12(d)(3) requires the owner or operator of a

 stationary source with a process subject to Program 3 to implement the prevention requirements

 of 40 C.F.R. §§ 68.65 through 68.87. Pursuant to 40 C.F.R. § 68.73(e) the owner or operator

 shall correct deficiencies in equipment that are outside acceptable limits (defined by the process

 safety information in § 68.65) before further use or in a safe and timely manner when necessary

 means are taken to assure safe operation.

        63.     Respondent failed to correct equipment deficiencies in pump process equipment

 where a running water stream and spray is being used on external pump assemblies.

        64.     Respondent's failure to correct deficiencies in pump process equipment that are

 outside acceptable limits before further use or in a safe and timely manner pursuant to 40 C.F.R.

 § 68.73(e), as required by 40 C.F.R. § 68. I 2(d)(3) is a violation of Section I 12(r)(7) of the CAA,

 42 U.S.C. § 7412(r)(7).

                 Mechanical Integrity — Pressure Gauges Equipment Deficiencies

        65.     The regulation at 40 C.F.R. § 68.I2(d)(3) requires the owner or operator of a

 stationary source with a process subject to Program 3 to implement the prevention requirements

 of 40 C.F.R. §§ 68.65 through 68.87. Pursuant to 40 C.F.R. § 68.73(e) the owner or operator

 shall correct deficiencies in equipment that are outside acceptable limits (defined by the process

 safety information in § 68.65) before further use or in a safe and timely manner when necessary

 means are taken to assure safe operation.

        66.     Respondent failed to correct equipment deficiencies in pressure gauge process

 equipment where the gauges had no readings or incorrect readings.




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        67.     Respondent's failure to correct deficiencies in pressure gauge process equipment

 that are outside acceptable limits before further use or in a safe and timely manner pursuant to 40

 C.F.R. § 68.73(e), as required by 40 C.F.R. § 68.12(d)(3) is a violation of Section 112(r)(7) of

 the CAA, 42 U.S.C. § 7412(r)(7).

                    Mechanical Integrity — Compressor Equipment Deficiencies

        68.     The regulation at 40 C.F.R. § 68.12(d)(3) requires the owner or operator of a

 stationary source with a process subject to Program 3 to implement the prevention requirements

 of 40 C.F.R. §§ 68.65 through 68.87. Pursuant to 40 C.F.R. § 68.73(e) the owner or operator

 shall correct deficiencies in equipment that are outside acceptable limits (defined by the process

 safety information in § 68.65) before further use or in a safe and timely manner when necessary

 means are taken to assure safe operation.

        69.     Respondent failed to correct equipment deficiencies in compressors that were

 outside acceptable limits before further using the compressors. or taking, necessary means to

 assure safe operation, resulting in accidental releases.

        70.     Respondent's failure to correct deficiencies in compressor equipment that are

 outside acceptable limits before further use or in a safe and timely manner pursuant to 40 C.F.R.

 § 68.73(e), as required by 40 C.F.R. § 68.12(d)(3) is a violation of Section 112(r)(7) of the CAA,

 42 U.S.C. § 7412(r)(7).

                                       Order for Compliance

         71.    Based on the EPA Find in2s of Fact and Conclusions of Law and the EPA

 Findings of Violation set forth above, and pursuant to the authority of Section 113(a)(3)(B) of

 the CAA, 42 U.S.C. § 7413(a)(3)(B), as amended, Respondent is hereby ORDERED and agrees




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 to comply with the requirements of Section 1 12(r) of the CAA. 42 U.S.C. § 74I2(r), and the

 regulations promulgated thereunder and codified at 40 C.F.R. Part 68.

        72:      The EPA and Respondent agree that Respondent shall, as expeditiously as

 possible, but in no event later than the timeframes specified below, complete the following

 actions ("Compliance Actions") at the Facility:

              a. Fixed Equipment (Vessels and Piping):

                     i. Remaining Life Calculations: Within sixty (60) days of the effective date

                        of this Order, identify all fixed equipment that requires a remaining life

                        calculation pursuant to RAGAGEP and does not have a recorded

                        remaining life calculation. Within one hundred twenty (120) days of the

                        effective date of this Order, calculate and record remaining life

                        calculations as required for all fixed equipment consistent with

                        RAGAGEP.

                     ii. Damage Mechanism Reviews: Within thirty (30) days of the effective date

                        of this Order, Respondent shall develop and submit, to EPA for review

                        and approval, a proposed work plan for the audit of the damage

                        mechanism reviews/corrosion control studies and inspection plans for

                        fixed equipment to ensure these reviews/studies cover all appropriate

                        damage/corrosion mechanisms at the entire Facility and are up-to-date and

                        accurate. Within sixty (60) days of receipt of EPA's approval, Respondent

                        shall complete the actions described in the approved damage mechanism

                        review work plan and submit. as provided herein, a summary of and




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                  schedule for preparing any new damage mechanism review/control studies

                  or otherwise addressing any observations, findings, and recommendations.

              iii. Inspection Plans: Within thirty (30) days of the effective date of this

                  Order, Respondent shall develop and submit, to EPA for review and

                  approval, a proposed work plan for the audit of the Facility's inspection

                  plans and policies in existence as of the effective date of this Order for all

                  fixed equipment to evaluate whether the inspection plans and policies are

                  consistent with Respondent's corporate and Facility specific programs and

                  policies as well as established RAGAGEP, including but not limited to

                  API 510, API 570, API 580/581. Within ninety (90) days of receipt of

                  EPA's approval, Respondent shall complete the actions described in the

                  approved inspection plans and policies work plan and submit, as provided

                  herein, a summary of and schedule for addressing any observations,

                  findings, and recommendations.

              iv. Overdue Inspections: Within thirty (30) days of the effective date of this

                  Order, identify all fixed equipment with inspections that were overdue on

                  the effective date of this Order, and for which inspections are due

                  consistent with frequencies established by applicable manufacturers'

                  recommendations and good engineering practices. Within ninety (90) days

                  of the effective date of this Order, unless otherwise agreed by the EPA in

                  writing, conduct all overdue inspections on fixed equipment, including but

                  not limited to the equipment specified in Appendix A, consistent with the

                  requirements of 40 C.F.R. § 68.73(d). Within one hundred twenty (120)



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                  days of the effective date of this Order, based on the results of overdue

                  inspections: (i) evaluate and update inspection plans and policies; (ii)

                  ensure inspection schedules are up-to-date and compliant with the

                  inspection plans, policies, and RAGAGEP; (iii) update and record

                  remaining life calculations as required by RAGAGEP; and (iv) correct any

                  equipment deficiencies identified consistent with 40 C.F.R. § 68.73(e).

                  Within one hundred, twenty (120) days of the effective date of this Order,

                  submit, as provided herein, a summary of the corrective actions taken

                  pursuant to this paragraph, including documentation that any inspection

                  observations, findings, and recommendations and equipment deficiencies

                  were addressed.

               v. Materials of Construction: Within thirty (30) days of the effective date of

                  this Order, Respondent shall develop and submit, to EPA for review and

                  approval, a proposed work plan for identifying any unknown,

                  incompatible or inadequate materials of construction (e.g., metallurgy,

                  gaskets) based on the latest audit of damage mechanism reviews/corrosion

                  control studies and inspections. Within sixty (60) days of receipt of EPA's

                  approval, Respondent shall complete the actions described in the work

                  plan and submit, as provided herein, a list of equipment with unknown,

                  incompatible or inadequate materials of construction. Within ninety (90)

                  days of identifying the list of equipment, unless otherwise agreed by EPA

                  in writing. Respondent shall take action to: (a) identify any unknown

                  materials of construction and incorporate the information into damage



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                     mechanism reviews/corrosion studies and inspection plans and policies;

                     and (b) replace any incompatible or inadequate materials of construction

                     with those that are compatible or adequate.

         b. Rotating Equipment (Pumps and Compressors):

                i. Criticality Risk Ranking: Within sixty (60) days of the effective date of

                     this Order, Respondent shall develop and submit to EPA for review and

                     approval, a proposed work plan for the audit of any criticality risk ranking

                     performed for rotating equipment, or conduct a risk ranking if one has not

                     previously been done, to ensure the ranking covers all appropriate rotating

                     equipment and is accurate and current. Within thirty (30) days of receipt

                     of EPA's approval, Respondent shall complete the actions described in the

                     approved criticality risk ranking audit work plan and submit, as provided

                     herein, a summary and schedule for addressing any observations, fi ndings.

                     and recommendations.

               ii.   ITPM Plans: Within sixty (60) days of the effective date of this Order,
                     Respondent shall develop and submit, to EPA for review and approval, a

                     proposed work plan for the audit of the inspection, testing, and

                     preventative maintenance ("ITPM") plans and schedules for rotating

                     equipment to ensure completeness. accuracy, compliance with

                     manufacturer's recommendations or RAGAGEP, and consistency with the

                     most current criticality risk ranking. Within thirty (30) days of receipt of

                     EPA's approval, unless otherwise agreed by EPA in writing. Respondent

                     shall complete the actions described in the approved work plan and



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                   submit, as provided herein, a summary of and schedule for addressing any

                   observations, findings, and recommendations.

               iii. ITPM Schedules: Within sixty (60) days of the effective date of this

                   Order, Respondent shall develop and submit, to EPA for review and

                   approval, a proposed work plan for the audit of the ITPM schedules for

                   each piece of rotating equipment to identify overdue ITPMs. Within thirty

                   (30) days of receipt of EPA's approval, Respondent shall complete the

                   actions described in the approved work plan and submit, as provided

                   herein, the list of overdue ITPM task. Within thirty (30) days of

                   submitting the list of overdue ITPMs tasks, unless otherwise agreed by

                   EPA in writing: (a) complete all overdue ITPMs tasks; (b)take action to

                   ensure future schedules are up-to-date and compliant with the ITPM plans;

                   and (c) submit, as provided herein, a summary of the actions taken to

                   address the overdue ITPM tasks and correct any future schedules.

               iv. Deficiencies: Within thirty (30) days of the effective date of this Order,

                   Respondent shall develop and submit, to EPA for review and approval, a

                   proposed work plan for the purpose of identifying all rotating equipment

                   with deficiencies, including as identified from releases at FINO occurriml,

                   within the last five (5) years. Within sixty (60) days of receipt of EPA's

                   approval, Respondent shall complete the actions described in the approved

                   deficient rotating equipment work plan and correct deficiencies before

                   further use or submit, as provided herein, a plan to EPA for correcting




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                    deficiencies in a safe and timely manner when necessary means are taken

                    to assure safe operation.

          c. Instrumentation and Safety Systems:

                 i. Within sixty (60) days of the effective date of this Order, compile a list or

                    lists of safety systems (see 40 C.F.R. § 68.65(d)(1)(viii)), and audit the

                    list(s) to ensure the list is accurate, complete, and current. Submit, as

                    provided herein, a summary of Respondent's process for identifying safety

                    systems, and the compiled the list of safety systems.

                 ii. Within ninety (90) days of the effective date of this Order, perform an

                    audit of the hazard and risk assessments ("1-I&RA") conducted for all

                    safety instrumented systems ("SIS") to ensure they are accurate, complete.

                    and compliant with Respondent's corporate and Facility specific programs

                    and policies and established RAGAGEP (e.g. ANSI/ISA 61511). Submit,

                    as provided herein, a summary of and schedule for addressing any

                    observations, findings, and recommendations.

                iii. Within one hundred twenty (120) days of the effective date of this Order,

                    perform an audit of the safety requirements, design, and safety integrity

                    level ("SIL") and/or risk reduction factor ("RRF") designations for all

                    safety instrumented systems ("SIS") to determine whether they are

                    accurate, current, and consistent with the latest H&RAs. Submit, as

                    provided herein. a summary of Respondent's process for auditing the SIS.

                iv. Within one hundred twenty (120) days of the effective date of this Order,

                     Respondent shall develop and submit to EPA for review and approval, a



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                     proposed work plan for the audit of the ITPM plans and schedules for all

                     instrumentation and safety systems to determine whether they are

                    accurate, current, and consistent with the latest H&RAs and current safety

                     systems. Within sixty (60) days of EPA's approval, Respondent shall

                     complete the actions described in the approved work plan and submit, as

                     provided herein, a summary of and schedule for addressing any

                     observations, findings, and recommendations.

                 v. Within sixty (60) days of the effective date of this order. identify all

                     overdue instrumentation and safety system ITPM tasks and submit. as

                     provided herein, the list of overdue ITPM tasks to EPA. Within ninety

                     (90) days of the effective date of this Order. unless otherwise agreed by

                     EPA in writing, conduct all overdue ITPMs tasks and ensure schedules arc

                     up-to-date and compliant with the ITPM plans.

                vi. Within one hundred twenty (120) days of the effective date of this Order,

                     Respondent shall identify all instrumentation and safety system

                     deficiencies and correct deficiencies before further use or submit, as

                     provided herein, a plan to EPA for correcting deficiencies in a safe and

                     timely manner when necessary means are taken to assure safe operation.

          d. Water on Pumps: Within twenty-one (21) days of the effective date of this Order:

                  i. Fvaluate and identify the cause for water streams and spray being utilized

                    on the exterior of pumps at the Facility.




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                ii. Identify and perform corrective measures to ensure pumps arc operated

                   and maintained consistent with manufacturers' recommendations and the

                   Facility's applicable safe operating parameters.

         e. Deficient Pressure Gauges:

                i. Within sixty (60) days of the effective date of this Order:

                       a. Survey all operating units to evaluate the operating condition of

                           local gauges used in operator rounds, including but not limited to

                           pressure, temperature, level, and flow gauges.

                       b. Remove, replace, or repair all gauges determined to be non-

                           functioning or in-error consistent with 40 C.F.R. § 68.73(e).

                ii. Within two hundred forty (240) days of the effective date of this Order,

                   unless otherwise agreed by EPA in writing:

                       a. Survey all operating units to evaluate the operating condition of

                           local gauges, including but not limited to pressure, temperature,

                           level, and flow gauges.

                       b. Remove, replace, or repair all gauges determined to be non-

                           functioning or in-error consistent with 40 C.F.R. § 68.73(e).

         f. Idle or Out-of-Service Equipment: Within one hundred twenty (120) days of the

            effective date of this Order, unless otherwise agreed by EPA in writing:

                i. Identify all units or equipment classified as idle, meaning retired from

                   service and abandoned in place, or out-of-service, including equipment

                   that has been permanently removed from operational service and

                   equipment that has been taken out-of-service for an undetermined length



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                      of time (e.g. equipment currently out of service but may be returned to

                      operational service at some future time).

                ii. Evaluate whether the idle or out-of-service units or equipment are

                      physically connected to in-service units or equipment.

               iii. Positively isolate any units or equipment determined to be physically

                      connected to in-service units or equipment.

             Dead Legs Administrative Controls:

                 i.   Within forty-five (45) days of the effective date of this Order, evaluate

                      each administratively managed dead leg in high purity butadiene service to

                      determine whether the dead leg can be permanently removed or is

                      necessary for continued operation and submit, as provided herein, a

                      summary of the evaluation, including an explanation of why the dead leg

                      cannot be permanently removed if so determined, for each

                      administratively managed dead leg.

                      a.     Within 90 days of the effective date of this Order, for dead legs

                             that Respondent determines are not necessary for continued

                             operation, submit to EPA a work plan to permanently mitigate the

                             dead leg, such as through removal or blinding.

                ii. Within sixty (60) days of the effective date of this Order, for each dead leg

                      in high purity butadiene service that arc managed with administrative

                      controls and are necessary for continued operation, Respondent shall: (1)

                      submit to EPA, as provided herein, a description of the type of

                      administrative controls in place; (2) establish a dedicated team of trained



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                    personnel to perform the administrative control measures; and (3)

                    establish a system that documents ongoing and completed administrative

                    control measures in a timely, adequate, and reliable manner.

               iii. Every 30 days from the effective date of this Order and continuing until

                    this Order is terminated, assess, and submit a report, as provided herein,

                    indicating whether the administrative control measures performed on each

                    dead leg have been performed and are effective.

         h. Dead Legs Mobile Ops Tracking System: Within thirty (30) days of the effective

            date of this Order:

                 i. Take corrective action to ensure the Mobile Ops system provides reliable,

                    timely, and current tracking and recording of Facility dead legs; or

                ii. Alternatively, establish a different electronic system or platform to reliably

                    and timely track and record the current status of Facility dead legs.

            Temporary Dead Legs: Within sixty (60) days of the effective date of this Order:

                 i. Establish an electronic system or platform to reliably and timely track and

                    record the current status and type of mitigation employed for all temporary

                   dead legs in high purity butadiene service that can be reviewed and

                   assessed by all necessary Facility personnel.

                ii. Every seven (7) days from the effective date of this Order and continuing

                    until this Order is terminated, confirm the implementation of mitigation

                    measures for every temporary dead leg.

         J• Missing Operational or Permanent Dead Legs: Within five (5) days of the

            effective date of this Order:



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                i.   Identify the status of each dead leg for which no status is known, including

                     but not limited to dead leg numbers: 35, 44, 53, 54, 63, 65, 78, 86, 87, 88,

                     104, 107, 108, 110, 117, 122, 124, 125, 135, 139, 140, 143, and 145.

                ii. Evaluate whether these dead legs have been permanently removed, or

                     what mitigation controls need to be or are being implemented.

               iii. Add any of the missing dead legs not permanently removed to the tracking

                     system.

          k. Maintenance:

                1. Within ninety (90) days of the effective date of this Order, unless

                     otherwise agreed by EPA in writing, audit the Maximo maintenance work

                     process software for outstanding work orders (approved work orders not

                     yet completed with a past due date) and outstanding work order requests

                     (work order requests awaiting approval or denial), as of the effective date

                     of this Order. Submit, as provided herein, the procedures and training

                     related to submitting work order requests and a list of any outstandim2

                     work order requests and work orders.

                ii. Within one hundred twenty (120) days of the effective date of this Order,

                     unless otherwise agreed by EPA in writing, resolve all outstanding work

                     orders.

               iii. Within three hundred (300) days of the effective date of this Order, unless

                     otherwise agreed by EPA in writing, resolve all outstanding work order

                     requests.




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              1.   I lousekeepinu Standard: Within thirty (30) days of the effective date of this

                   Order:

                       i. Develop a housekeeping standard for the Facility, including purpose,

                            scope, objective, and regularly schedule plant tours, occurring at least

                            every two weeks for the initial six (6) months, to identify housekeeping

                            issues and establish corrective actions.

                      ii. Inform Facility personnel of the developed housekeeping standard.

                      iii. Designate responsible personnel. to oversee implementation of the

                            housekeeping standard.

                      iv. Establish a system to track and manage identified housekeeping issues and

                            the status of corrective actions.

                                                Submissions

        73.        Every 30 days from the effective date of this Order until the termination of this

 Order, Respondent shall provide a progress report to EPA detailing the actions Respondent has

 taken in furtherance of its obligations under this Order, including records in electronic format

 (e.g. Excel) of the tracking system used for managing dead legs at the Facility. Such records

 shall include the routine reporting of administrative control compliance issued at least monthly

 by the production manager to site leadership and the LINO Dead Leg Table.xls located on

 Intranet in the HNO Polymer Study Folder referred to in the BD Dead Leg Management Policy,

 EHS-MGT-I INO-1 110, effective January 3 1 , 2021.

        74.        Upon completion of each milestone detailed in Paragraph 71 of this Order,

 Respondent shall provide verification in the monthly progress report that the requirement is




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 satisfied. The first progress report shall be due no later than 30 days after the effective date of

 this Order. Each subsequent progress report shall be due every 30 days thereafter.

        75.     Within 7 days of each progress report submission, Respondent shall meet with the

 EPA virtually, in person, or otherwise to discuss the progress towards its obligations under this

 Order and any questions related to that progress.

        76.     All submissions to EPA required by this Order shall contain the following

 certification signed by an authorized representative of Respondent:

        I certify under penalty of law that I have examined and am familiar with the information
        submitted in this document and all attachments and that, based on my inquiry of those
        individuals immediately responsible for obtaining the information, the information is
        true, accurate, and complete. I am aware that there are significant penalties for
        submitting false information, including the possibility of fines and imprisonment.

        77.     All submissions to EPA required by this Order, and requests for progress report

 meetings, shall be sent by electronic mail to:

        Justin McDowell
        Enforcement and Compliance Assurance Division
        Air Enforcement Branch
        U.S. Environmental Protection Agency, Region 6
        1201 Elm Street, Suite 500 (ECDAC)
        Dallas, Texas 75270-2101
        mcdowell.justin@epa.f.zov

        and

        Clarissa Mills
        Office of Regional Counsel
        U.S. Environmental Protection Agency, Region 6
        1201 Elm Street, Suite 500 (ECDAC)
        Dallas, Texas 75270-2101
        mills.clarissa@epa.gov

        78.     All documents submitted by Respondent to EPA in the course of implementing

 this Order shall be available to the public unless identified and determined to he confidential

 business information pursuant 40 C.F.R. Part 2, Subpart B.


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                                        Stipulated Penalties

         79.    Respondent shall be liable for stipulated penalties for failure to comply with the

 requirements of this Order. The following stipulated penalties shall accrue per violation per day

 for failure to comply with the Compliance Actions or Submissions requirements above:

                Penalty per Violation per Day          Period of Noncompliance

                $7,500                                 1st through 15th day

                S15.000                                15th through 30th day

                $37.500                                3Ist day and beyond

        80.     All penalties shall begin to accrue on the day after the complete performance is

 due, or on the day a violation occurs and shall continue to accrue through the final day of the

 correction of the noncompliance or completion of the activity required by this Order.

        81.     If.EPA rejects Respondent's proposed resolution of any Compliance Action or

 rejects any written submittal required in paragraph 72 above, EPA will notify Respondent

 promptly in writing. Respondent shall have 15 days in which to address EPA's concern. Any

 stipulated penalties applicable shall accrue during the 15-Day period, but shall not be payable

 unless the Respondent's further efforts to address EPA's concerns are rejected as insufficient by

 the EPA at the conclusion of the 15-Day period. As to any written submittal required in

 paragraph 72 above, if the original submittal was so deficient as to constitute a material breach of

 Respondent's obligations under this Order, the stipulated penalties applicable to the original

 submission shall be due and payable notwithstanding any subsequent resubmission.

        82.     The EPA may, in the unreviewable exercise of its discretion, reduce or waive

 stipulated penalties otherwise due to it under this Order.

        83.     Respondent retains the right to dispute any demand for stipulated penalties.



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        84.     The payment of penalties shall not alter in any way Respondent's obligation to

 comply with the provisions of this Order.

        85.     All penalties accruing under this section shall be due and payable to the United

 States within thirty (30) days of Respondent's receipt from the EPA of a demand for payment of

 stipulated penalties. Such payments shall identify Respondent by name and docket number and

 shall be by certified or cashier's check made payable to the "United States Treasury" and sent to:

                U.S. Environmental Protection Agency
                Fines and Penalties
                Cincinnati Finance Center
                PO Box 979077
                St. Louis, Missouri 63197-9000

 or by alternate payment method described at http://www.epa.gov/financial/makepavment.

        86.     A copy of the check or other information confirming payment shall

 simultaneously be sent by electronic mail to:

                Justin McDowell
                Enforcement and Compliance Assurance Division
                Air Enforcement Branch
                U.S. Environmental Protection Agency, Region 6
                1201 Elm Street, Suite 500 (ECDAC)
                Dallas, Texas 75270-2101
                mcdowell.justin@epa.gov •

        87.     Respondent understands that failure to timely pay any portion of the stipulated

 penalty may result in the commencement of a civil action in Federal District Court to recover the

 full remaining balance, along with penalties and accumulated interest. In such case, interest shall

 begin to accrue on the stipulated penalty from the date of delinquency until such stipulated

 penalty and any accrued interest are paid in full. 31 C.F.R. § 901.9(b)(1). Interest will be

 assessed at a rate of the United States Treasury Tax and loan rates in accordance with 31 U.S.C.

 § 3717. Additionally, a charge will be assessed to cover the costs of debt collection including,



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 processing and handling costs, and a non-payment penalty charge of six percent (6%) per year

 compounded annually will be assessed on any portion of the debt which remains delinquent more

 than ninety (90) days after payment is due. 31 U.S.C. § 3717(e)(2).

                                    Other Terms and Conditions

        88.     By entering into this Order, Respondent: (a) consents to and agrees to not contest

 the EPA's authority or jurisdiction to issue or enforce this Order: and (b) agrees to undertake all

 actions required by this Order. RespOndent reserves the right to challenge the Findings of Fact

 and Conclusions of Law made herein in any proceedings outside of this Order, not including any

 enforcement of this Order.

        89.      Respondent neither admits nor denies the EPA Findings of Fact and Conclusions

 of Law and the EPA Findings of Violation. By entering into this Order, Respondent makes no

 factual or legal admissions.

        90.     Respondent and the EPA agree to bear their respective costs and attorney's fees.

 Respondent waives its right to seek reimbursement of their costs and attorney's fees under the

 Equal Access to Justice Act (5 U.S.C. § 504), as amended by the Small Business Regulatory

 Enforcement Fairness Act (P.L. 104-121), and any regulations promulgated thereunder.

                                         General Provisions

        91 .     Respondent waives any and all remedies, claims for relief and otherwise available

 rights to jurisdictional or administrative review of this Order that Respondent may have with

 respect to any issue of fact or law set forth in this Order, including, but not limited to, any right

 of judicial review under Section 307(b)(1) of the CAA, 42 U.S.C. § 7607(b)(1), or under the

 Administrative Procedure Act. 5 U.S.C. § 701-706.




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        92.      Any violation of this Order may result in an additional enforcement action under

 Section 113 of the CAA, 42.U.S.C. § 7413. The EPA may use any information submitted under

 this Order in an administrative, civil judicial, or criminal action. Section 113 of the CAA, 42

 U.S.C. § 7413. authorizes the Administrator to:

              a. issue an administrative penalty order under Section 113(d)(1) of the CAA, 42

                 U.S.C. § 7413(d)(1), assessing a civil penalty not to exceed $51,796 (or amount as

                 adjusted by the Civil Monetary Penalty Adjustment Rule) per day of violation,

                 pursuant to Section 113(d)(1)(B) of the CAA, 42 U.S.C. § 7413(d)(1)(B);

              b. bring a civil judicial enforcement action for permanent or temporary injunction. or

                 to assess and recover a civil penalty not to exceed $414,364 (or amount as

                 adjusted by the Civil Monetary Penalty Adjustment Rule) per day of violation. or

                 both, pursuant to Section 113(b)(2) of the CAA, 42 U.S.C. § 7413(b)(2); or

              c. request the Attorney General to commence a criminal action pursuant to Section

                 113(c) of the CAA, 42 U.S.C. § 7413(c).

        93.      This Order does not resolve any civil or criminal claims for violations alleged in

 this Order. In accordance with Section 113(a)(4) of the CAA, 42 U.S.C. § 7413(a)(4), issuance

 of this Order does not preclude EPA from assessing penalties, obtaining injunctive relief, or

 taking any other action authorized under the CAA. or other applicable federal laws or regulation.

 This Order does not affect the obligation of Respondent to comply with all federal, state, and

 local statutes, regulations, and permits.

        94.      Nothing herein shall be construed to limit the power of the EPA to undertake any

 action against Respondent or any person in response to conditions that may present an imminent

 and substantial endangerment to public health, welfare, or the environment.



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         95.     Nothing in this Order shall limit EPA's right to obtain access to, and/or inspect

  the Facility, and/or to request additional information from Respondent pursuant to the authority

  of Section 1 14 of the CAA. 42 U.S.C. § 7414.

         96.     For purposes of the identification requirement in Section 162(f)(2)(A)(ii) of the

  Internal Revenue Code. 26 U.S.C. § 162(f)(2)(A)(ii), and 26 C.F.R. § 162-21(b)(2), performance

  of the Order for Compliance is restitution. remediation. or required to come into compliance with

  the law.

         97.     By signing this Order, the undersigned representative of Respondent certifies that

  he or she is authorized to enter into the terms and conditions of this Order, and to execute and

  legally bind Respondent to this Order.

         98.     The provisions of this Order shall apply and be binding upon Respondent and its

  agents, officers, directors, employees, trustees, authorized representatives, successors, and

  assigns. Respondent shall ensure that any agents, officers, directors, employees, contractors,

  consultants, firms or other persons or entities acting under or for Respondent with respect to

  matters included herein comply with the terms of this Order. From the Effective Date until

  termination of this Order, Respondent must give written notice and a copy of this Order to any

  successors in interest prior to any transfer of ownership or control of any portion or interest in

  the Facility. Simultaneously with such notice. Respondent shall provide written notice of such

  transfer. assignment, or delegation to the EPA. In the event of such transfer, assignment, or

  delegation. Respondent shall not be released form the obligations or liabilities of this Order

  unless the EPA has provided written approval of the release of said obligations or liabilities.

         99.     Pursuant to Section 113(a)(4) of the CAA, 42 U.S.C. § 7413(a)(4), this Order

  shall be effective when fully executed, shall not exceed the earlier of one year or the date of a



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 determination by the EPA that Respondent has achieved compliance with all terms of this Order,

 and shall be nonrenewable.

         100.     The EPA and Respondent may subsequently amend this Order, in writing, in

 accordance with the authority of the CAA. In the event of any amendment to this Order, all

 requirements for performance of this Order not affected by the amendment shall remain as

 specified by the original Order.

        101.      Unless otherwise stated. all time periods stated herein shall be calculated in

 calendar days from such date. If a deadline or reporting obligation falls on a Saturday. Sunday,

 or Federal holiday, the period continues to run until the end of the next day that is not a Saturday.

 Sunday, or Federal holiday.

        102.      The EPA and Respondent agree to the use of electronic signatures for this matter.

 The EPA and Respondent further agree to electronic service of this Order by electronic mail to

 the following:

                  To EPA:

                         mills.clarissa@epa.gov

                  To Respondent:

                         scott.elliott@bakerbotts.com; and
                         scottjanoe@bakerboits.coin




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 RESPONDENT:
 TPC GROUP, LLC


 Date: ir   c7 0
                                     ignature


                                              FA(P')   g2r
                                    Name


                                                              e;Its\- Opg- Sis243
                                    Title



 COMPLAINANT:
 U.S. ENVIRONMENTAL PROTECTION AGENCY
                                                             Digitally signed by
                                                             CHERYL SEAGER
                                                             Date: 2022.08.22
                                                             17:57:23 -0500'
 Date:   ALRILISt 22. 2022
                                          Cheryl T. Seager
                                          Director
                                          Enforcement and
                                           Compliance Assurance Division
                                          U.S. EPA, Region 6




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                                 CERTIFICATE OF SERVICE

        I certify that on the date noted below I sent a true and correct copy of the original

 Administrative Order on Consent to:

       Scott Elliott, counsel for TPC Group, LLC
       scomelliott@bakerbotts.com; and

       Scott Janoe, counsel for TPC Group, LLC
       scottjanoe@bakerbotts.com


                                               CLARISS Digitally signed by
                                                                    CLARISSA MILLS
                                                                    Date: 2022.08.23
                                               A MILLS              0 8: 29:2 3 -05'00'

                                               Signed
                                               Office of Regional Counsel
                                               U.S. EPA, Region 6




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                                    APPENDIX A

      Piping Unit ID            Equipment ID                 Equipment Type       Inspection
                                                                                  Date


      H20-FRFRL                 0090C XTML DUP         .     Pipe                   8/30/2007
      H20-FRFRL                 0090D XTML DUP               Pipe                   8/30/2007
      SYSTEM#10 IGS             01                           Pipe                    9/8/2011
      SYSTEM#11 COMPTU          01                           Pipe                  11/16/2011
      SYSTEM#15 STPR            01                           Pipe                   9/19/2011
      SYSTEM#16 LN              01                           Pipe                   9/17/2011
      SYSTEM#17 5040VH          01                           Pipe                   9/17/2011
      SYSTEM#26 STEAM-          01                           Pipe                   11/1/2011
      SYSTEM#6 H20              01                           Pipe                   11/3/2011
      SYSTEM#9 QUENCH           01                           Pipe                   9/12/2011
      SYSTEM#15 STPR            02                           Pipe                   9/19/2011
      SYSTEM#16 LN              02                           Pipe                   9/18/2011
      SYSTEM#17 5040VH          02                           Pipe                   9/18/2011
      SYSTEM#2 REO              02                           Pipe                   8/23/2011
      SYSTEM#26 STEAM-   •      02                           Pipe                   11/2/2011
      SYSTEM#28 NG              02                           Pipe                  10/31/2011
      SYSTEM#12 QOR             03                           Pipe                   9/26/2019
      SYSTEM#16 LN              03                           Pipe                   9/18/2011
      SYSTEM#2 REO              03                           Pipe                   8/24/2011
      SYSTEM#26 STEAM-          03                           Pipe •                 11/2/2011
      SYSTEM#10 IGS             04                           Pipe                  11/17/2011
      SYSTEM#16 LN              04                           Pipe                   9/18/2011
      SYSTEM#18 505DPS          04                           Pipe                   9/24/2011
      SYSTEM#26 STEAM-          04                •          Pipe                   11/2/2011
      SYSTEM#16 LN              05                           Pipe                   9/19/2011
      SYSTEM#22 CWR             05                           Pipe                   9/28/2011
      SYSTEM#28 NG              05                           Pipe                  10/28/2011
      SYSTEM#15 STPR            06                           Pipe                   9/19/2011
      SYSTEM#16 LN              06                           Pipe                   9/19/2011
      SYSTEM#16 LN              07                         - Pipe                   9/19/2011
      SYSTEM#6 H20              07 •                         Pipe                   8/29/2011
      SYSTEM#7 ABS-INT          07                           Pipe                   8/31/2011
      SYSTEM#9 QUENCH    .      07                           Pipe                   9/16/2011
      SYSTEM#15 STPR            08                           Pipe                   12/5/2011
                                                                                   Appendix A 1
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      SYSTEM#16 LN          08                        Pipe                     9/19/2011
      SYSTEM#21 CWS         08                        Pipe                    10/21/2011
      SYSTEM#25 STEAM       08                        Pipe                     11/3/2011
      SYSTEM#9 QUENCH       08                        Pipe                     9/16/2011
      SYSTEM#23 STEAM       09                        Pipe                     10/3/2011
      SYSTEM#21 CWS         10           •            Pipe                    10/30/2011
      SYSTEM#23 STEAM       10                        Pipe                    11/14/2011
      SYSTEM#9 QUENCH       10                        Pipe                     9/16/2011
      SYSTEM#23 STEAM       11                      • Pipe                    11/14/2011
      SYSTEM#23 STEAM       12                        Pipe                    11/22/2011
      SYSTEM#7 ABS-INT      12                        Pipe                    10/27/2011
      SYSTEM#15 STPR        13                        Pipe                     12/5/2011
      SYSTEM#23 STEAM       14                        Pipe                     11/3/2011
      SYSTEM#18 505DPS      18                        Pipe                     11/2/2011
      SYSTEM#23 STEAM       18                        Pipe                     11/3/2011
      SYSTEM#5 COMP         22                        Pipe                    10/30/2011
      B1          .         B1-00180B                 Pipe                      3/4/2016
      CONDENSATE            COND-00090C               Pipe                      1/9/2017
      FLR    •              FLR-00520A                Pipe                     3/29/2011
      FLR                   FLR-00800C                Pipe                      4/5/2007
      FLR                   FIR-C1O21A                Pipe                     9/14/2009
      FLR                   FLR-C1022                 Pipe                     9/14/2009
      FLR                   FIR-C1030                 Pipe                     9/11/2009
      FLR                   FIR-C1O32                 Pipe                     9/30/2016
      FRFRL                 FRFRL-00004A              Pipe                     7/19/2016
      FRFRL                 FRFRL-00021               Pipe                    10/24/2016
      FRFRL                 FRFRL-00059               Pipe                      2/4/2008
      FRFRL                 FRFRL-00060               Pipe                     5/10/2016
      FRFRL                 FRFRL-00128               Pipe                     1/31/2011
      IBTYLN                IBTYLN-00580B             Pipe                     2/29/2016
      IC4                   IC4-00110I                Pipe                      6/2/2016
      OLIG                  OLIG-00060A               Pipe                     9/14/2009
      OLIG                  OLIG-00070A               Pipe                      9/1/2009
      OLIG                  OLIG-COO80A               Pipe                     9/14/2009
      OLIG                  OLIG-00090A               Pipe                     9/14/2009
      OLIG                  OLIG-00110A               Pipe                     9/14/2009
      OLIG                  OLIG-CO12OA               Pipe                      9/8/2009
      OLIG                  OLIG-00150A               Pipe                      3/2/2016
      OLIG                  OLIG-00170A               Pipe                      9/9/2009
      OLIG                  OLIG-00180A               Pipe                      9/9/2009

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      OLIG                      OLIG-00190A               Pipe                  9/9/2009
      PPWW                      PIB-C0010A                Pipe                 1/24/2017
      PPWW                      PIB-00010A                Pipe                 1/16/2017
      PPWW                      PIB-C0020A                Pipe                 3/11/2020
      PIB                       PIB-00027D                Pipe                  8/9/2019
      PIB                       PIB-00041A                Pipe                  5/5/2008
      RACLN                     RACLN-00056               Pipe                 10/3/2006
      RAFF PIPING               RAFF-00027                Pipe                 8/15/2002
      STEAM 150#                STM150-C0060A             Pipe .              12/14/2009
      STEAM 150#         •      STM150-C0080A             Pipe                12/14/2009
      STEAM 150#                STM15O-COO9OA             Pipe                12/14/2009
      STEAM 150#                STM150-C0100A             Pipe .              12/14/2009
      STEAM 150#                STM150-C0100B             Pipe                12/14/2009
      STEAM 150#                STM150-C0110A             Pipe                12/14/2009
      STEAM 150#                STM150-C0110B             Pipe                12/14/2009
      STEAM 150#                STM150-00110C             Pipe                12/14/2009
      STEAM 150#                STM150-C0110D             Pipe                 1/28/2010
      STEAM 150#                STM150-C0110E             Pipe                12/14/2009
      STEAM 150#                STM150-C0110F .           Pipe                12/14/2009
      STEAM 150#                STM150-C0110G             Pipe                12/14/2009
      STEAM 150#                STM150-C011011            Pipe                12/14/2009
      STEAM 150#                STM150-C0110I             Pipe                 1/25/2010
      STEAM 150#                STM15O-CO12OA             Pipe                 1/28/2010
      STEAM 150#                STM15O-CO12OC             Pipe                 1/21/2010
      STEAM 150#                STM15O-CO12OD             Pipe                 1/26/2010
      STEAM 150#                STM150-C0120E             Pipe                12/14/2009
      STEAM 150#                STM150-C0130A             Pipe                 1/28/2010
      STEAM 150#                STM150-C0140A             Pipe                 1/15/2010
      STEAM 150#                STM150-C0140B             Pipe                 1/15/2010
      STEAM 150#                STM150-C0140C             Pipe                 1/15/2010
      STEAM 150#                STM150-C0140D             Pipe                 1/28/2010
      STEAM 150#                STM150-C0140E             Pipe                 1/28/2010
      STEAM 150#                STM150-C0140F             Pipe                 1/15/2010
      STEAM 150#                STM150-C0150A             Pipe                 1/15/2010
      STEAM 150#                STM150-C0150B         •   Pipe                 1/26/2010
      STEAM 150#                STM15O-CO16OA             Pipe                 1/15/2010
      STEAM 150#                STM15O-CO16OE             Pipe              . 1/15/2010
      STEAM 150#                STM150-C0350A             Pipe                 8/24/2009
      STEAM 150#                STM150-C0390G             Pipe                 4/26/2013
      STEAM 150#                STM150-C0510B             Pipe                 12/3/2009

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      STEAM 150#             STM15O-CO52OA           Pipe                     12/9/2009
      STEAM 150#             STM150-00530A           Pipe                     12/3/2009
      STEAM 150#             STM150-00540A           Pipe                     12/3/2009
      STEAM 150#             STM150-00540B       •   Pipe                     12/3/2009
      STEAM 150#             STM150-00540C           Pipe                     12/3/2009
      STEAM 150#             STM150-00550A           Pipe                     12/3/2009
      STEAM 150#             STM150-C0560A           Pipe                     12/3/2009
      STEAM 150#             STM150-00560B           Pipe                     12/3/2009
      STEAM 150#             STM150-C0600A           Pipe                    10/27/2009
      STEAM 150#             STM150-00600B           Pipe                    10/27/2009
      STEAM 150#             STM150-C0610A           Pipe                    10/28/2009
      STEAM 150#             STM150-C0620A           Pipe                    10/28/2009
      STEAM 150#             STM150-00640B           Pipe                    10/29/2009
      STEAM 150#             STM150-C0650A           Pipe                    10/30/2009
      STEAM 150#             STM150-C0660A   '       Pipe                    10/31/2009
      STEAM 150#             STM150-00660B           Pipe                    10/31/2009
      STEAM 150#             STM150-C0670A           Pipe                     11/1/2009
      STEAM 150#             STM150-00670B           Pipe                     11/1/2009
      STEAM 150#             STM150-C0670C           Pipe                     11/2/2009
      STEAM 150#             STM150-C0680A           Pipe                     11/2/2009
      STEAM 150#             STM150-00680B           Pipe                     11/2/2009
      STEAM 150#             STM15O-CO68OC           Pipe                     11/2/2009
      STEAM 150#             STM150-C0680D           Pipe                     11/3/2009
      STEAM 150#             STM150-C0690A           Pipe                     11/3/2009
      STEAM 150#             STM150-00690B           Pipe                     11/3/2009
      STEAM 150#             STM150-00700A           Pipe                     11/3/2009
      STEAM 150#             STM150-00700B           Pipe                     11/4/2009
      STEAM 150#             STM150-00710A           Pipe                     11/5/2009
      STEAM 150#           . STM150-00710B           Pipe                     11/5/2009
      STEAM 150#             STM150-00710C           Pipe                     11/5/2009
      STEAM 150#             STM15O-CO72OA           Pipe                     11/9/2009
      STEAM 150#             STM150-00720B           Pipe                     11/5/2009
      STEAM 150#             STM150-00730A           Pipe                     11/9/2009
      STEAM 150#             STM150-00730B           Pipe                     11/9/2009
      STEAM 150#             STM150-00740A           Pipe     •               11/9/2009
      STEAM 150#             STM150-00750A           Pipe                    11/10/2009
      STEAM 150#             STM15O-CO76OA           Pipe                    11/10/2009
      STEAM 150#             STM150-00760B           Pipe                    11/12/2009
      STEAM 150#             STM150-00770A           Pipe                    11/12/2009
      STEAM 150#             STM150-00790A           Pipe                    11/13/2009

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      STEAM 150#            STM150-C0800A            Pipe                     11/13/2009
      STEAM 150#            STM150-00800B            Pipe                     11/14/2009
      STEAM 150#            STM150-C0810A            Pipe                     11/14/2009
      STEAM 150#            STM150-C0820A            Pipe                     11/14/2009
      STEAM 150#            STM150-00820B            Pipe                     11/16/2009
      STEAM 150#            STM150-C0830A            Pipe                     11/16/2009
      STEAM 150#            STM150-00830B            Pipe                     11/16/2009
      STEAM 150#            STM15O-CO84OA            Pipe                     11/16/2009
      STEAM 150#            STM150-00840B            Pipe                     11/16/2009
      STEAM 150#            STM15O-CO85OA            Pipe                     11/16/2009
      STEAM 150#            STM150-C0860A            Pipe                     11/16/2009
      STEAM 150#            STM15O-CO87OA            Pipe                     11/18/2009
      STEAM 150#            STM15O-CO88OA            Pipe                   . 11/18/2009
      STEAM 150#            STM150-00880B            Pipe                     11/18/2009
      STEAM 150#            STM150-C0890A            Pipe                     11/18/2009
      STEAM 150#            STM150-C0900A            Pipe                     11/18/2009
      STEAM 150#            STM150-00900B            Pipe                     11/18/2009
      STEAM 150#            STM150-00910A            Pipe                     11/19/2009
      STEAM 150#            STM150-00920A            Pipe                     11/19/2009
      STEAM 150#            STM150-C0930A            Pipe                     11/19/2009
      STEAM 150#            STM150-C0950A            Pipe                     11/19/2009
      WW                    WW-00001                 Pipe                       9/9/2009
      WW                    WW-00002                 Pipe                       9/9/2009
      WW                    WW-00003                 Pipe                      7/13/2009
      WW                    WW-00014                 Pipe                       3/8/2016
      WW                    WW-00016                 Pipe                       3/8/2016

      FLR                    FLR-00880H              Pipe                       6/30/2017
      FLR                    FLR-00930B              Pipe                       6/30/2017
      FLR                    FLR-00930D              Pipe                       6/30/2017
      FLR                    FLR-00500C              Pipe                       6/29/2017
      FLR                    FLR-00500D              Pipe                       6/29/2017
      FLR                    FLR-00900C              Pipe                       6/29/2017
      FLR                    FLR-00930H              Pipe                       6/29/2017
      FLR                    FIR-009301 •            Pipe                       6/29/2017
      FLR                    FLR-00500F              Pipe                       6/28/2017
      FLR                    FLR-00500K              Pipe                       6/28/2017
      FLR                    FLR-00870B              Pipe                       6/28/2017
      FLR                    FLR-00930J              Pipe                       6/28/2017
      FLR                    FLR-00930K              Pipe                       6/28/2017

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        FLR                  FIR-009301              Pipe                      6/28/2017
        FLR                  FLR-00130B              Pipe                      6/27/2017
        FLR                  FLR-00850A              Pipe                      6/27/2017
        FLR                  FIR-008801              Pipe                      6/27/2017
        FLR                  FLR-00880M              Pipe                      6/27/2017
        FLR                  FIR-00880N              Pipe                      6/27/2017
        FLR                  FLR-00500N              Pipe                      6/26/2017
        FLR                  FLR-00500Q              Pipe                      6/26/2017
        FLR                  FLR-00800G              Pipe                      6/23/2017
        FLR                  FLR-00800H              Pipe                      6/23/2017
        FLR                  FIR-00800I              Pipe                      6/23/2017
        FLR                  FLR:C0800K              Pipe                      6/23/2017
        FLR                  FIR-008001              Pipe                      6/23/2017
        FLR                  FIR-00800D              Pipe                      6/22/2017
        FLR                  FLR-0O280A              Pipe                      6/19/2017
        FLR                  FLR-00660A              Pipe                      6/19/2017
        FLR                  FLR-00910G              Pipe                      6/16/2017
        FLR                  FIR-009101              Pipe                      6/16/2017
        FLR                  FLR-00910J              Pipe                      6/16/2017
        FLR                  FLR-00460A              Pipe                      6/15/2017
        FLR                  FLR-CO64OA              Pipe                      6/15/2017
        FLR                  FLR-00650A              Pipe                      6/15/2017
        FLR                  FLR-00910A              Pipe                      6/15/2017
        FLR                  FLR-00910C              Pipe                      6/15/2017
        FLR                  FLR-00910D              Pipe                      6/15/2017
        FLR                  FLR-00910F              Pipe                      6/15/2017
        B2                   B2-00030B               Pipe                      6/14/2017
        FLR                  FLR-00010B              Pipe                      6/14/2017
        FLR                  FLR-00430A      •       Pipe                      6/14/2017
      • FIR                  FLR-00570A              Pipe                      6/14/2017
        FLR                  FLR-00600A              Pipe                      6/14/2017
        FLR                  FLR-00630A              Pipe                      6/14/2017
        BD PIPING            BD-00345                Pipe                      6/13/2017
        FLR                  FIR-00010C              Pipe                      6/13/2017
        FLR                  FLR-00110D              Pipe                      6/13/2017
        FIR                  FLR-00130A              Pipe                      6/13/2017
        FLR                  FLR-00360A              Pipe                      6/13/2017
        FLR                  FLR-00470A              Pipe                      6/13/2017
        MTBE                 MTBE-00048              Pipe                      6/13/2017
        B2                   B2-00100D               Pipe                      6/12/2017

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       B2                      B2-00100E             Pipe                      6/12/2017
       B2                      B2-00100F             Pipe                      6/12/2017
       B2                      B2-00110A             Pipe                      6/12/2017
       B2                      B2-00110B             Pipe                      6/12/2017
       BD PIPING               BD-00016              Pipe                      6/12/2017
       BD PIPING               BD-00018              Pipe                      6/12/2017
       BD PIPING               BD-00020              Pipe                      6/12/2017
       BD PIPING               BD-00412              Pipe                      6/12/2017
       FLR                     FLR-00010D            Pipe                      6/12/2017
       FLR                     FLR-00210A            Pipe                      6/12/2017
       FLR                     FLR-00500L            Pipe                      6/12/2017
       B2                      B2-00040B             Pipe                       6/9/2017
       B2                      B2-00060              Pipe                       6/9/2017
       B2                      B2-00080              Pipe                       6/9/2017
       B2                    . B2-00090A             Pipe                       6/9/2017
       B2                      B2-00090B             Pipe                       6/9/2017
       BD PIPING               BD-00003              Pipe                       6/9/2017
       BD PIPING               BD-00008              Pipe                       6/9/2017
       BD PIPING               BD-00013              Pipe                       6/9/2017
       BD PIPING               BD-00014              Pipe                       6/9/2017
       BD PIPING               BD-00017              Pipe                       6/9/2017
       B2                      B2-00040A             Pipe                       6/8/2017
       B2                      B2-00070A             Pipe                       6/8/2017
       B2                      B2-00070B             Pipe                       6/8/2017
       B2                      B2-00110C             Pipe                       6/8/2017
       B2                      B2-00220C             Pipe                       6/7/2017
       FLR                     FLR-00550A            Pipe                       6/6/2017
       FLR                     FLR-00820C            Pipe                       6/5/2017
       FLR                     FLR-00900D            Pipe                       6/2/2017
       PIB                     PIB-00007             Pipe                       6/2/2017
       FLR .                   FLR-00500G            Pipe                       6/1/2017
       FIR                     FLR-00680I            Pipe                       6/1/2017
       FLR                     FLR-00800E            Pipe                       6/1/2017
       FLR                     FLR-00830A            Pipe                       6/1/2017
       FLR                     FLR-00830B            Pipe                       6/1/2017
       FLR                     FLR-00840A            Pipe                       6/1/2017
       FLR                     FLR-00880F            Pipe                       6/1/2017
       FRFRL                   FRFRL-00060           Pipe                       6/1/2017
       HCSLOP                  HCSLOP-00100A         Pipe                       6/1/2017
       FLR                     FLR-00220A            Pipe                      5/31/2017

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      FLR                       FLR-00500P           Pipe                      5/31/2017
      FLR                       FLR-00800A           Pipe                      5/31/2017
      FLR                       FLR-00880E       •   Pipe                      5/31/2017
      FLR                       FLR-00610A           Pipe                      5/30/2017
      FLR                       FLR-00620A           Pipe                      5/30/2017
      FLR                       FLR-00650B           Pipe                      5/30/2017
      FLR                       FLR-00860B           Pipe                      5/30/2017
      FLR                       FLR-00860E           Pipe                      5/30/2017
      FLR                       FLR-00860G           Pipe                      5/30/2017
      FLR                       FLR-00870C           Pipe                      5/30/2017
      FLR                       FLR-00880A           Pipe                      5/30/2017
      FLR                       FLR-00890D           Pipe                      5/30/2017
      FLR                       FIR-00890K           Pipe                      5/30/2017
      FLR                       FLR-00540A           Pipe                      5/26/2017
      FLR                       FLR-0O380A           Pipe                      5/24/2017
      FLR                       FLR-0O380B           Pipe                      5/24/2017
      FLR                       FLR-0O380D           Pipe                      5/24/2017
      FLR                       FLR-00500E           Pipe                      5/23/2017
      FLR                       FLR-00500H           Pipe                      5/23/2017
      FLR                       FLR-00500M           Pipe                      5/23/2017
      FLR                       FLR-CO25OA           Pipe                      5/22/2017
      FLR         •             FLR-0O250B           Pipe                      5/22/2017
      FLR                       FLR-00410A           Pipe                      5/22/2017
      FLR                       FLR-00440A           Pipe                      5/22/2017
      FLR                       FLR-0O260A           Pipe                      5/19/2017
      FLR                     ' FLR-00310A           Pipe                      5/18/2017
      FLR                       FLR-CO32OA           Pipe                      5/18/2017
      FLR                       FLR-00320B           Pipe                      5/18/2017
      FLR                       FLR-00350D           Pipe                      5/18/2017
      FLR                       FLR-00370A           Pipe                      5/18/2017'
      BD PIPING             . BD-00050               Pipe                      5/17/2017
      FLR                      FLR-00070A            Pipe                      5/17/2017
      FLR                      FLR-00160A            Pipe                      5/17/2017
      FLR                      FIR-0O220B            Pipe                      5/17/2017
      FIR                       FLR-0O220C           Pipe                    • 5/17/2017
      FLR                       FLR-0O220D           Pipe                      5/17/2017
      FLR                       FLR-CO23OA           Pipe                      5/17/2017
      FIR                       FLR-CO24OA           Pipe                      5/17/2017
      FLR                       FLR-CO24OC           Pipe                      5/17/2017
      FLR                      FLR-00340A            Pipe                      5/17/2017

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       FLR                    FLR-00340C              Pipe                      5/17/2017
       FLR                    FLR-00040D              Pipe                      5/16/2017
       FLR                    FLR-00050A              Pipe                      5/16/2017
       FIR                    FLR-00060A              Pipe                      5/16/2017
       FIR                    FLR-00090A              Pipe                      5/16/2017
       FIR                    FLR-00140A              Pipe                      5/16/2017
       FLR                    FLR-00140B              Pipe                      5/16/2017
       FLR                    FLR-00170A              Pipe                      5/16/2017
       FLR                    FLR-00180A              Pipe                      5/16/2017
       FLR                    FLR-00190A              Pipe                      5/16/2017
       FLR                    FLR-CO2OOA        •     Pipe                      5/16/2017
       FLR                    FLR-00010E              Pipe                      5/15/2017
       FLR                    FLR-00030A              Pipe                      5/15/2017
       FLR                    FLR-00040B              Pipe                      5/15/2017
       FLR                    FLR-00100A              Pipe                      5/15/2017
       FLR                    FLR-00820D              Pipe                      5/15/2017
       FLR                    FLR-00860C              Pipe                      5/12/2017
       FLR                    FLR-00860F              Pipe.                     5/12/2017
       FLR                    FLR-00860D              Pipe                      5/11/2017
       PIB                    PIB-00040G              Pipe                      5/10/2017
       HCSLOP                 HCSLOP-00020A           Pipe                       5/8/2017
       BD PIPING            . BD-00411                Pipe                       5/4/2017
       FLR                    FLR-00020D              Pipe                       5/3/2017
       FLR                    FLR-00040A              Pipe                       5/3/2017
       FLR                    FLR-00040C              Pipe                       5/3/2017
       FLR                    FLR-00060C              Pipe                       5/3/2017
       HCSLOP                 HCSLOP-00060A           Pipe                       5/3/2017
       HCSLOP                 HCSLOP-00060B           Pipe                       5/3/2017
       HCSLOP                 HCSLOP-00170B           Pipe                       5/3/2017
       FLR                    FLR-00110A              Pipe                       5/2/2017
       FLR                    FLR-00110B              Pipe                       5/2/2017
       FLR                    FLR-00680A              Pipe                       5/2/2017
       FLR                    FLR-00690A              Pipe                       5/2/2017
       FLR                    FLR-00890E            . Pipe                       5/2/2017
       FLR    .               FLR-00890F              Pipe                       5/2/2017
       BD PIPING              BD-00065                Pipe                       5/1/2017
       BD PIPING              BD-00239                Pipe                       5/1/2017
       METH                   METH-00006              Pipe                       5/1/2017
       RAFF PIPING            RAFF-00040              Pipe                       5/1/2017
       PIB                    PIB-00038F              Pipe                      4/28/2017

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      BD PIPING              BD-00037                Pipe                      4/27/2017
      BD PIPING              BD-00042                Pipe                      4/27/2017
      BD PIPING              BD-00279                Pipe                      4/27/2017
      MTBE                   MTBE-00053              Pipe                      4/27/2017
      BD PIPING              BD-00110                Pipe                      4/26/2017
      BD PIPING              BD-CO12O                Pipe                      4/26/2017
      BD PIPING              BD-CO28O                Pipe                      4/26/2017
      BD PIPING              BD-00289                Pipe                      4/26/2017
      BD PIPING              BD-00404                Pipe                      4/26/2017
      HCSLOP                 HCSLOP-00030A           Pipe                      4/26/2017
      RAFF PIPING            RAFF-00039              Pipe                      4/26/2017
      BD PIPING              BD-00388                Pipe                      4/25/2017
      BD PIPING              BD-00399                Pipe                      4/25/2017
      BD PIPING              BD-00405                Pipe                      4/25/2017
      BD PIPING              BD-00406                Pipe                      4/25/2017
      FRFRL                  FRFRL-00013             Pipe                      4/25/2017
      FRFRL                  FRFRL-00110             Pipe                      4/25/2017
      HCSLOP                 HCSLOP-00130A           Pipe                      4/25/2017
      BD PIPING              BD-00056              - Pipe                      4/24/2017
      BD PIPING              BD-00369                Pipe                      4/24/2017
      BD PIPING              BD-00376                Pipe                      4/24/2017
      BD PIPING              BD-00377                Pipe                      4/24/2017
      BD PIPING              BD-00402                Pipe                      4/24/2017
      MTBE                   MTBE-00042              Pipe                      4/24/2017
      BD PIPING              BD-00350                Pipe                      4/21/2017
      BD PIPING              BD-00363                Pipe                      4/21/2017
      BD PIPING              BD-00367                Pipe                      4/20/2017
      BD PIPING              BD-00375                Pipe                      4/20/2017
      BD PIPING              BD-00380                Pipe                      4/20/2017
      BD PIPING              BD-00381                Pipe                      4/20/2017
      MTBE                   MTBE-00005              Pipe                      4/20/2017
      MTBE                   MTBE-00007              Pipe                      4/20/2017
      MTBE                   MTBE-00033              Pipe                      4/20/2017
      BD PIPING              BD-00005          •     Pipe                      4/19/2017
      BD PIPING              BD-00408                Pipe                      4/19/2017
      BD PIPING              BD-00415                Pipe                      4/19/2017
      BD PIPING              BD-00063                Pipe                      4/18/2017
      BD PIPING              BD-00214                Pipe                      4/18/2017
      BD PIPING              BD-00278                Pipe                      4/18/2017
      BD PIPING              BD-00286                Pipe                      4/18/2017 I

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      BD PIPING              BD-00329                Pipe                       4/18/2017
      PIB                    PIB-00038G              Pipe                       4/18/2017
      BD PIPING              BD-0O248                Pipe                       4/17/2017
      BD PIPING              BD-00341                Pipe                       4/17/2017
      BD PIPING              BD-00360                Pipe                       4/17/2017
      BD PIPING              BD-00374                Pipe                       4/17/2017
      BD PIPING              BD-00414                Pipe                       4/17/2017
      RAFF PIPING            RAFF-00037A             Pipe                       4/17/2017
      BD PIPING     •        BD-00006                Pipe                       4/13/2017
      BD PIPING              BD-00371                Pipe                       4/12/2017
      BD PIPING              BD-00372                Pipe                       4/12/2017
      BD PIPING              BD-00373                Pipe                       4/12/2017
      MTBE                   MTBE-00054              Pipe                       4/12/2017
      RAFF PIPING            RAFF-00044              Pipe                       4/12/2017
      BD PIPING              BD-00114                Pipe                       4/11/2017
      BD PIPING              BD-00364                Pipe                       4/11/2017
      BD PIPING              BD-00366                Pipe                       4/11/2017
      BD PIPING              BD-00067                Pipe                       4/10/2017
      BD PIPING              BD-00141                Pipe                       4/10/2017
      BD PIPING              BD-00149                Pipe                       4/10/2017
      BD PIPING              BD-0O242                Pipe                        4/7/2017
      BD PIPING              BD-0O243                Pipe       -                4/7/2017
      BD PIPING              BD-0O244                Pipe                        4/7/2017
      BD PIPING              BD-0O241                Pipe                        4/6/2017
      BD PIPING              BD-00047                Pipe                        4/5/2017
      RAFF PIPING            RAFF-00038              Pipe                        4/5/2017
      BD PIPING              BD-00118                Pipe                       3/22/2017
      BD PIPING              BD-00139                Pipe                       3/22/2017
      BD PIPING              BD-0O259              . Pipe                       3/22/2017
      BD PIPING              BD-0O260                Pipe                       3/22/2017
      BD PIPING              BD-00378                Pipe                       3/22/2017
      BD PIPING              BD-0O383                Pipe                       3/22/2017
      FRFRL                  FRFRL-00021             Pipe                       3/22/2017
      BD PIPING              BD-00115                Pipe                       3/21/2017
      BD PIPING              BD-CO122                Pipe                       3/21/2017
      BD PIPING              BD-CO25O                Pipe                       3/21/2017
      BD PIPING              BD-00111                Pipe                       3/20/2017
      BD PIPING              BD-CO112                Pipe                       3/20/2017
      BD PIPING              BD-00130                Pipe                      .3/20/2017
      BD PIPING              BD-00131                Pipe                       3/20/2017

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      BD PIPING               BD-CO142              Pipe                      3/20/2017
      FRFRL                   FRFRL-00128           Pipe                      3/20/2017
      RAFF PIPING             RAFF-00006            Pipe                      3/20/2017
      BD PIPING               BD-CO281              Pipe                      3/17/2017
      BD PIPING               BD-00098              Pipe                      3/16/2017
      BD PIPING               BD-CO1O6              Pipe                      3/16/2017
      BD PIPING               BD-CO123              Pipe                      3/16/2017
      BD PIPING               BD-00150              Pipe                      3/16/2017
      BD PIPING               BD-00238              Pipe                      3/16/2017
      BD PIPING               BD-CO267              Pipe                      3/16/2017
      BD PIPING               BD-00269              Pipe                      3/16/2017
      BD PIPING               BD-00240              Pipe                      3/15/2017
      BD PIPING              •BD-00263              Pipe                      3/15/2017
      BD PIPING               BD-00264              Pipe                      3/15/2017
      BD PIPING               BD-00265              Pipe                      3/15/2017
      BD PIPING               BD-CO352              Pipe                      3/15/2017
      HCSLOP                  HCSLOP-00020C         Pipe    .,                3/15/2017
      HCSLOP                  HCSLOP-00130B         Pipe                      3/15/2017
      HCSLOP                  HCSLOP-00130C         Pipe                      3/15/2017
      HCSLOP                  HCSLOP-00130D         Pipe                      3/15/2017
      BD PIPING               BD-00253              Pipe                      3/14/2017
      BD PIPING               BD-00262              Pipe                      3/14/2017
      BD PIPING               BD-CO234              Pipe                      3/13/2017
      BD PIPING               BD-CO251              Pipe                      3/13/2017
      BD PIPING               BD-CO252              Pipe                      3/13/2017
      BD PIPING               BD-CO254              Pipe                      3/13/2017
      BD PIPING               BD-00342              Pipe                      3/10/2017
      BD PIPING               BD-00343              Pipe                      3/10/2017
      BD PIPING               BD-00233              Pipe                       3/9/2017
      BD PIPING               BD-00255              Pipe                       3/9/2017
      BD PIPING               BD-00347              Pipe                       3/9/2017
      BD PIPING               BD-00348              Pipe                       3/9/2017
      BD PIPING               BD-00271              Pipe                       3/8/2017
      BD PIPING              BD-00273               Pipe                       3/8/2017
      BD PIPING              BD-00288               Pipe                       3/8/2017
      BD PIPING              BD-00290               Pipe                       3/8/2017
      BD PIPING              BD-00316               Pipe                       3/8/2017
      BD PIPING              BD-00349               Pipe                       3/8/2017
      BD PIPING              BD-00266               Pipe                       3/7/2017
      BD PIPING              BD-00268               Pipe                       3/7/2017

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      BD PIPING              BD-0O277              ' Pipe                      3/7/2017
      BD PIPING              BD-0O287                Pipe                      3/7/2017
      BD PIPING              BD-0O272                Pipe                      3/6/2017
      BD PIPING              BD-0O274                Pipe                      3/6/2017
      BD PIPING              BD-00301                Pipe                      3/6/2017
      BD PIPING              BD-00303                Pipe                      3/6/2017
      BD PIPING              BD-00306                Pipe                      3/6/2017
      BD PIPING              BD-00302                Pipe                      3/3/2017
      BD PIPING              BD-00304                Pipe                      3/3/2017
      BD PIPING              BD-00305                Pipe                      3/3/2017
      BD PIPING              BD-00344                Pipe                      3/3/2017
      BD PIPING              BD-CO346                Pipe                      3/3/2017
      BD PIPING              BD-00153                Pipe                      3/2/2017
      BD PIPING              BD-00163                Pipe                      3/2/2017
      BD PIPING              BD-00183                Pipe                      3/2/2017
      BD PIPING              BD-0O213                Pipe                      3/2/2017
      BD PIPING              BD-00300                Pipe                      3/2/2017
      DIB                    DIB-CO21OA          _   Pipe                      3/2/2017
      BD PIPING              BD-00094                Pipe                      3/1/2017
      BD PIPING              BD-0O258                Pipe                      3/1/2017
      BD PIPING              BD-0O382                Pipe                      3/1/2017
      BD PIPING              BD-00413                Pipe                      3/1/2017
      METH                   METH-00009              Pipe                      3/1/2017
      BD PIPING              BD-CO126                Pipe                     2/28/2017
      BD PIPING              BD-00144                Pipe                     2/28/2017
      BD PIPING              BD-00145                Pipe                     2/28/2017
      BD PIPING              BD-0O256                Pipe                     2/28/2017
      BD PIPING              BD-0O257                Pipe                     2/28/2017
      BD PIPING              BD-CO32O                Pipe                     2/28/2017
      FRFRL                  FRFRL-00035             Pipe                     2/28/2017
      RAFF PIPING            RAFF-00047              Pipe                     2/28/2017
      BD PIPING              BD-00051                Pipe                     2/27/2017
      BD PIPING              BD-00091                Pipe                     2/27/2017
      BD PIPING              BD-00116                Pipe                     2/27/2017
      BD PIPING              BD-00117                Pipe                     2/27/2017
      FRFRL                  FRFRL-COO27             Pipe                     2/27/2017
      FRFRL                  FRFRL-00091             Pipe                     2/27/2017
      BD PIPING              BD-00029                Pipe                     2/24/2017
      BD PIPING              BD-00124                Pipe                     2/24/2017
      BD PIPING              BD-00330                Pipe                     2/24/2017

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      FRFRL                   FRFRL-00014            Pipe                        2/24/2017
      SYSTEM#13 RED-GA        02                     Pipe                        2/23/2017
      SYSTEM#28 NG            16                     Pipe                        2/23/2017
      SYSTEM#28 NG            18                     Pipe                        2/23/2017
      SYSTEM#28 NG            21                     Pipe                        2/23/2017
      SYSTEM#28 NG            22                     Pipe                        2/23/2017
      BD PIPING               BD-00054               Pipe                  •     2/23/2017
      BD PIPING               BD-00055    •          Pipe                        2/23/2017
      BD PIPING               BD-00105               Pipe                        2/23/2017
      BD PIPING               BD-00046               Pipe                        2/22/2017
      BD PIPING               BD-00058               Pipe                        2/22/2017
      BD PIPING               BD-00311 •             Pipe                        2/22/2017
      BD PIPING               BD-00410               Pipe                        2/22/20i7
      BD PIPING               BD-00059               Pipe                        2/21/2017
      BD PIPING               BD-00060               Pipe                        2/21/2017
      BD PIPING               BD-00113               Pipe                        2/21/2017
      FRFRL                   FRFRL-00017            Pipe                        2/21/2017
      METH                    METH-00002             Pipe                        2/21/2017
      BD PIPING               BD-00001               Pipe                        2/20/2017
      BD PIPING               BD-00009               Pipe       .                2/20/2017
      BD PIPING               BD-CO384               Pipe                        2/20/2017
      BD PIPING               BD-00401               Pipe                        2/20/2017
      BD PIPING   "           BD-00337A              Pipe                        2/17/2017
      BD PIPING               BD-CO356               Pipe                        2/17/2017
      BD PIPING               BD-00317               Pipe                        2/16/2017
      BD PIPING               BD-CO321               Pipe                        2/16/2017
      BD PIPING               BD-00357               Pipe                        2/16/2017
      FRFRL                   FRFRL-00011            Pipe                        2/16/2017
      MTBE                    MTBE-00039             Pipe                        2/16/2017
      MTBE                    MTBE-00043A            Pipe                        2/16/2017
      MTBE                    MTBE-00050             Pipe                        2/16/2017
      MTBE                    MTBE-00052             Pipe                        2/16/2017
      BD PIPING               BD-00010               Pipe                        2/15/2017
      BD PIPING               BD-00310              .Pipe                        2/15/2017
      BD PIPING               BD-00312               Pipe                        2/15/2017
      BD PIPING               BD-00339               Pipe        •               2/15/2017
      FRFRL                   FRFRL-00023            Pipe                        2/15/2017
      MTBE                    MTBE-00043             Pipe                        2/15/2017
      MTBE                    MTBE-00051             Pipe                        2/15/2017
      BD PIPING               BD-00019               Pipe                        2/14/2017

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      BD PIPING               BD-00132              Pipe                      2/14/2017
      BD PIPING               BD-0O270              Pipe                    • 2/14/2017
      BD PIPING               BD-0O275              Pipe                      2/14/2017
      BD PIPING               BD-0O276 .            Pipe                      2/14/2017
      BD PIPING               BD-00002              Pipe                -     2/13/2017
      BD PIPING               BD-00102              Pipe                      2/13/2017
      BD PIPING               BD-00103              Pipe                      2/13/2017
      BD PIPING               BD-00104              Pipe                      2/13/2017
      BD PIPING               BD-00351              Pipe                      2/13/2017
      BD PIPING               BD-00325              Pipe                      2/10/2017
      BD PIPING               BD-00045              Pipe                  •    2/9/2017
      BD PIPING               BD-00066              Pipe                       2/9/2017
      BD PIPING               BD-00083              Pipe                       2/9/2017
      BD PIPING               BD-00136              Pipe                       2/9/2017
      BD PIPING             - BD-00324              Pipe                       2/9/2017
      BD PIPING               BD-00326              Pipe       •    -          2/9/2017
      BD PIPING               BD-00340              Pipe                       2/9/2017
      BD PIPING               BD-00355              Pipe                       2/9/2017
      BD PIPING               BD-COO21              Pipe                       2/8/2017
      BD PIPING               BD-COO27              Pipe                       2/8/2017
      BD PIPING               BD-00033              Pipe                       2/8/2017
      BD PIPING               BD-00034              Pipe                       2/8/2017
      BD PIPING               BD-00137              Pipe                       2/8/2017
      BD PIPING               BD-00309              Pipe                       2/8/2017
      BD PIPING               BD-00353              Pipe                       2/8/2017
      BD PIPING               BD-00354              Pipe                       2/8/2017
      BD PIPING               BD-00039              Pipe                       2/7/2017
      BD PIPING               BD-00135              Pipe                       2/7/2017
      BD PIPING               BD-00307              Pipe                       2/7/2017
      BD PIPING               BD-00308              Pipe                       2/7/2017
      BD PIPING               BD-00327              Pipe                       2/7/2017
      RAFF PIPING             RAFF-00066            Pipe                       2/7/2017
      RAFF PIPING             RAFF-00069            Pipe                       2/7/2017
      BD PIPING               BD-00044              Pipe                       2/6/2017
      BD PIPING               BD-00133              Pipe                       2/6/2017
      BD PIPING               BD-00134              Pipe                       2/6/2017
      BD PIPING               BD-0O285              Pipe                       2/6/2017
      BD PIPING               BD-0O292              Pipe                       2/6/2017
      RAFF PIPING             RAFF-00055            Pipe                       2/6/2017
      RAFF PIPING             RAFF-00071            Pipe                       2/6/2017

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      BD PIPING                    BD-00023              Pipe                       2/3/2017
      MTBE                         MTBE-00047            Pipe                       2/3/2017
      SYSTEM#1 HCFEED              03                    Pipe                       2/2/2017
      BD PIPING                    BD-00030              Pipe                       2/2/2017
      BD PIPING                    BD-00031              Pipe                       2/2/2017
      BD PIPING                    BD-00040              Pipe                       2/2/2017
      BD PIPING                    BD-00061              Pipe                       2/2/2017
      BD PIPING                    BD-00299              Pipe                       2/2/2017
      RAFF PIPING                  RAFF-00007            Pipe                       2/2/2017
      RAFF PIPING                  RAFF-00017            Pipe                       2/2/2017
      RAFF PIPING                  RAFF-00025B           Pipe                       2/2/2017
      SYSTEM#28 NG                 15                    Pipe                       2/1/2017
      BD PIPING                    BD-00049              Pipe                       2/1/2017
      BD PIPING                    BD-00249              Pipe                       2/1/2017
      BD PIPING                    BD-00298              Pipe                       2/1/2017
      BD PIPING                    BD-00392              Pipe                       2/1/2017
      BD PIPING                    BD-00048              Pipe                      1/31/2017
      BD PIPING                    BD-00064              Pipe                      1/31/2017
      FLR                          FLR-00890O    -       Pipe                      1/31/2017
      FRFRL                        FRFRL-00002           Pipe                      1/31/2017
      FRFRL                        FRFRL-00015           Pipe                      1/31/2017
      RAFF PIPING                  RAFF-00009            Pipe                      1/31/2017
      BD PIPING                    BD-00143              Pipe                      1/30/2017
      BD PIPING                    BD-00245              Pipe                      1/30/2017
      BD PIPING                    BD-00246              Pipe                      1/30/2017
      BD PIPING                    BD-00338            • Pipe                      1/30/2017
      FRFRL                        FRFRL-00028           Pipe                      1/30/2017
      RAFF PIPING                  RAFF-00075            Pipe                      1/30/2017
      BD PIPING          0     •   BD-00359              Pipe                      1/27/2017
      SYSTEM#15 STPR               07                    Pipe                      1/26/2017
      BD PIPING                    BD-00004              Pipe                      1/26/2017
      BD PIPING                    BD-00036              Pipe                      1/26/2017
      BD PIPING                    BD-00079              Pipe                      1/26/2017
      BD PIPING                    BD-00119              Pipe                      1/26/2017
      RAFF PIPING                  RAFF-00072            Pipe                      1/26/2017
      RAFF PIPING                  RAFF-00076            Pipe                      1/26/2017
      BD PIPING                    BD-00385              Pipe                      1/25/2017
      FLR                          FLR-00890P            Pipe                      1/25/2017
      BD PIPING                    BD-CO125              Pipe                      1/24/2017
      BD PIPING                    BD-00128              Pipe                      1/24/2017

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      FLR                     FLR-00890M             Pipe                      1/24/2017
      RAFF PIPING             RAFF-00053             Pipe                      1/23/2017
      RAFF PIPING             RAFF-00057             Pipe                      1/19/2017
      RAFF PIPING             RAFF-00058             Pipe                      1/19/2017
      BD PIPING               BD-00396               Pipe                      1/18/2017
      BD PIPING               BD-00397               Pipe                      1/18/2017
      FLR                     FLR-00890C             Pipe                      1/18/2017
      BD PIPING               BD-00038               Pipe                      1/17/2017
      BD PIPING               BD-00074               Pipe                      1/17/2017
      BD PIPING               BD-COO8O               Pipe                      1/17/2017
      BD PIPING               BD-00333               Pipe                      1/17/2017
      BD PIPING               BD-00334               Pipe                      1/17/2017
      BD PIPING               BD-00394               Pipe                      1/17/2017
      FRFRL                   FRFRL-00010            Pipe                      1/17/2017
      RAFF PIPING             RAFF-00036             Pipe                      1/17/2017
      RAFF PIPING             RAFF-00045             Pipe                      1/17/2017
      BD PIPING               BD-00088               Pipe                      1/16/2017
      BD PIPING               BD-00089               Pipe                      1/16/2017
      BD PIPING               BD-00090               Pipe                      1/16/2017
      BD PIPING               BD-00129 ,             Pipe                      1/16/2017
      BD PIPING               BD-CO2O5               Pipe                      1/16/2017
      BD PIPING               BD-00331               Pipe                      1/16/2017
      BD PIPING               BD-00335               Pipe                      1/16/2017
      METH                    METH-00001             Pipe                      1/16/2017
      RAFF PIPING             RAFF-00012             Pipe                      1/16/2017
      RAFF PIPING             RAFF-00061             Pipe                      1/16/2017
      BD PIPING               BD-00101               Pipe                      1/14/2017
      BD PIPING               BD-00398               Pipe                      1/13/2017
      BD PIPING               BD-00400               Pipe                      1/13/2017
      MTBE                    MTBE-00036             Pipe                    • 1/13/2017
      BD PIPING               BD-00092               Pipe                      1/12/2017
      BD PIPING               BD-00096               Pipe                      1/12/2017
      BD PIPING               BD-00151               Pipe                      1/12/2017
      BD PIPING               BD-00323               Pipe                      1/12/2017
      BD PIPING               BD-CO332               Pipe                      1/12/2017
      BD PIPING               BD-00390               Pipe                      1/12/2017
      BD PIPING               BD-00391               Pipe                      1/12/2017
      BD PIPING               BD-00026               Pipe                      1/11/2017
      BD PIPING               BD-00084               Pipe                      1/11/2017
      BD PIPING               BD-00085               Pipe     '                1/11/2017

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      BD PIPING              BD-00086               Pipe                      1/11/2017
      BD PIPING              BD-00093               Pipe                      1/11/2017
      BD PIPING              BD-CO100               Pipe                      1/11/2017
      BD PIPING              BD-00386               Pipe                      1/11/2017
      BD PIPING              BD-00387               Pipe                      1/11/2017
      BD PIPING              BD-00011               Pipe                      1/10/2017
      BD PIPING              BD-00041               Pipe                      1/10/2017
      BD PIPING              BD-00043               Pipe                      1/10/2017
      BD PIPING              BD-00073               Pipe                      1/10/2017
      BD PIPING              BD-00075               Pipe                      1/10/2017
      BD PIPING              BD-00082               Pipe                      1/10/2017
      FRFRL                  FRFRL-00016            Pipe                       1/9/2017
      FRFRL                  FRFRL-00020            Pipe                       1/9/2017
      METH                   METH-00007             Pipe                       1/9/2017
      RAFF PIPING            RAFF-00051             Pipe                       1/9/2017
      BD PIPING              BD-00062               Pipe                       1/5/2017
      BD PIPING _            BD-00409               Pipe                       1/5/2017
      FRFRL                  FRFRL-00112            Pipe                       1/5/2017
      FRFRL                  FRFRL-00126            Pipe                       1/5/2017
      IBTYLN                 IBTYLN-00091B          Pipe                       1/5/2017
      MTBE                   MTBE-00019             Pipe                       1/5/2017
      RAFF PIPING            RAFF-00060             Pipe                       1/5/2017
      BD PIPING              BD-00314               Pipe                       1/4/2017
      BD PIPING              BD-00328 .             Pipe                       1/4/2017
      BD PIPING              BD-00393               Pipe                       1/4/2017
      FRFRL                  FRFRL-00107            Pipe                       1/4/2017
      FRFRL                  FRFRL-00121            Pipe                       1/4/2017
      FRFRL                  FRFRL-CO123            Pipe                       1/4/2017
      H2O-FRFRL              H2OF-00180A            Pipe                       1/4/2017
      H20-FRFRL              H2OF-00180B            Pipe                       1/4/2017
      SYSTEM#23 STEAM        02                     Pipe                       1/3/2017
      SYSTEM#23 STEAM        06                     Pipe                       1/3/2017
      SYSTEM#23 STEAM        17                     Pipe                       1/3/2017
      BD PIPING              BD-00313               Pipe                       1/3/2017
      BD PIPING              BD-00318               Pipe                       1/3/2017
      FRFRL                  FRFRL-00007            Pipe                       1/3/2017
      FRFRL                  FRFRL-00008            Pipe                       1/3/2017
      FRFRL                  FRFRL-00009            Pipe                       1/3/2017
      FRFRL                  FRFRL-00030            Pipe                       1/3/2017
      FRFRL                  FRFRL-00101            Pipe                       1/3/2017

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      FRFRL                   FRFRL-00106            Pipe                        1/3/2017
      PPWW                    PIB-00010C             Pipe                        1/3/2017
      SYSTEM#23 STEAM         05                      Pipe                     12/30/2016
      SYSTEM#23 STEAM         04                      Pipe                     12/28/2016
      FRFRL                   FRFRL-00022             Pipe                     12/28/2016
      FRFRL                  'FRFRL-00109             Pipe                     12/28/2016
      RAFF PIPING             RAFF-00070              Pipe                     12/28/2016
      SYSTEM#13 RED-GA        01                      Pipe                     12/27/2016
      SYSTEM#24 STEAM         01                      Pipe                     12/27/2016
      BD PIPING               BD-00095                Pipe                     12/27/2016
      BD PIPING               BD-00099                Pipe                     12/27/2016
      FRFRL                   FRFRL-00029             Pipe                     12/27/2016
      SYSTEM#23 STEAM         01                      Pipe                     12/21/2016
      SYSTEM#17 5040VH        05                      Pipe                     12/21/2016
      SYSTEM#22 CWR           11                      Pipe                     12/21/2016
      SYSTEM#21 CWS           12                      Pipe                     12/21/2016
      SYSTEM#28 NG            12                      Pipe                     12/21/2016
      SYSTEM#28 NG            13                    - Pipe                     12/21/2016
      SYSTEM#28 NG            14                      Pipe                     12/21/2016
      SYSTEM#28 NG            08                      Pipe                     12/20/2016
      SYSTEM#28 NG            09                      Pipe                     12/20/2016
      SYSTEM#28 NG            10                      Pipe                     12/20/2016
      SYSTEM#25 STEAM         11                      Pipe                     12/20/2016-
      SYSTEM#28 NG            11                      Pipe                     12/20/2016
      SYSTEM#5 COMP           23                      Pipe                     12/20/2016
      SYSTEM#24 STEAM         02                      Pipe                     12/19/2016
      SYSTEM#24 STEAM         03                      Pipe                     12/15/2016
      SYSTEM#1 HCFEED         04                      Pipe                     12/15/2016
      SYSTEM#24 STEAM         04                      Pipe                     12/15/2016
      SYSTEM#2 REO            01                      Pipe                     12/14/2016
      SYSTEM#20 MISC          02                      Pipe                     12/14/2016
      SYSTEM#1 HCFEED         05                      Pipe                     12/14/2016
      SYSTEM#9 QUENCH         05                      Pipe                     12/14/2016
      SYSTEM#20 MISC          01                      Pipe                     12/13/2016
      SYSTEM#3 AIRFEED        01                      Pipe                     12/13/2016
      SYSTEM#17 5040VH        04                      Pipe                     12/13/2016
      SYSTEM#17 5040VH        06                      Pipe                     12/13/2016
      SYSTEM#22 CWR           06                      Pipe                     12/13/2016
      SYSTEM#17 5040VH        07                      Pipe                     12/13/2016
      SYSTEM#22 CWR           07                      Pipe                     12/13/2016

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      SYSTEM#9 QUENCH          11                   Pipe                     12/13/2016
      SYSTEM#9 QUENCH        . 13                   Pipe                     12/13/2016
      SYSTEM#4 RAE             01                   Pipe                     12/12/2016
      SYSTEM#3 AIRFEED         02                   Pipe                     12/12/2016
      SYSTEM#17 5040VH         03                   Pipe                     12/12/2016
      SYSTEM#17 5040VH         08                   Pipe                     12/12/2016
      SYSTEM#17 5040VH         09                   Pipe                     12/12/2016
      SYSTEM#17 5040VH         10                   Pipe                     12/12/2016
      BD PIPING                BD-00127             Pipe                     12/12/2016
      SYSTEM#26 STEAM-         05                   Pipe                      12/8/2016
      SYSTEM#26 STEAM-         06                   Pipe                      12/8/2016
      SYSTEM#26 STEAM-         07                   Pipe                      12/8/2016
      SYSTEM#26 STEAM-         08                   Pipe                      12/8/2016
      SYSTEM#23 STEAM          08                   Pipe                      12/1/2016
      SYSTEM#18 505DPS         17                   Pipe                      12/1/2016
      SYSTEM#14 RO             03                   Pipe                     11/28/2016
      SYSTEM#5 COMP            19                   Pipe                     11/28/2016
      H2O-FRFRL                H2OF-00280A          Pipe                     11/28/2016 '
      SYSTEM#14 RO             02                   Pipe                     11/22/2016
      SYSTEM#14 RO             04                   Pipe                     11/21/2016
      SYSTEM#9 QUENCH          04                   Pipe                     11/21/2016
      SYSTEM#19 REVH           01                   Pipe                     11/17/2016
      SYSTEM#15 STPR           12                   Pipe                     11/17/2016
      SYSTEM#14 RO             08                   Pipe                     11/15/2016
      SYSTEM#22 CWR            08                   Pipe                     11/14/2016
      SYSTEM#16 LN             09                   Pipe                     11/14/2016
      SYSTEM#12 QOR            04                   Pipe                      11/8/2016
      SYSTEM#12 QOR            01                   Pipe                      11/3/2016
      SYSTEM#18 505DPS         13                   Pipe                      11/3/2016
      SYSTEM#28 NG             01                   Pipe                      11/2/2016
      SYSTEM#21 CWS            05                   Pipe                      11/2/2016
      SYSTEM#14 RO             06                   Pipe                      11/2/2016
      SYSTEM#28 NG             06                   Pipe                      11/2/2016
      SYSTEM#14 RO             07                   Pipe                      11/2/2016
      SYSTEM#7 ABS-INT         08                   Pipe                      11/2/2016
      SYSTEM#18 505DPS         09                   Pipe                      11/2/2016
      SYSTEM#18 505DPS         10                   Pipe                      11/2/2016
      SYSTEM#18 505DPS        11                    Pipe                      11/2/2016
      SYSTEM#18 505DPS         12                   Pipe                      11/2/2016
      SYSTEM#18 505DPS         14                   Pipe                      11/2/2016

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      SYSTEM#21 CWS          07                     Pipe                      11/1/2016
      SYSTEM#18 505DPS       08                     Pipe      .               11/1/2016
      SYSTEM#21 CWS          13                     Pipe                      11/1/2016
      PIB                    PIB-00005              Pipe                      11/1/2016
      SYSTEM#14 RO           01                     Pipe                     10/31/2016
      SYSTEM#18 505DPS       03                     Pipe.                    10/31/2016
      SYSTEM#28 NG '         04                     Pipe                     10/31/2016
      SYSTEM#18 S0SDPS       05                     Pipe                     10/31/2016
      SYSTEM#18 505DPS       06                     Pipe                     10/31/2016
      SYSTEM#21 CWS          09                     Pipe                     10/31/2016
      SYSTEM#22 CWR          12                     Pipe                     10/28/2016
      SYSTEM#22 CWR          03                     Pipe                     10/27/2016
      SYSTEM#21 CWS          06                     Pipe                     10/27/2016
      SYSTEM#18 505DPS       07                     Pipe                     10/27/2016
      SYSTEM#15 STPR         09                     Pipe                     10/27/2016
      SYSTEM#5 COMP          01                     Pipe                     10/26/2016
      SYSTEM#12 QOR          03                     Pipe                     10/26/2016
      SYSTEM#9 QUENCH        03                     Pipe                     10/26/2016
      SYSTEM#18 505DPS       01                     Pipe                     10/25/2016
      SYSTEM#22 CWR          02 .                   Pipe                     10/25/2016
      SYSTEM#9 QUENCH        02                     Pipe                     10/25/2016
      SYSTEM#6 H2O           06                     Pipe                     10/25/2016
      SYSTEM#18 505DPS       15                     Pipe                     10/25/2016
      SYSTEM#18 505DPS       16                     Pipe                     10/25/2016
      SYSTEM#21 CWS          01                     Pipe                     10/24/2016
      SYSTEM#18 505DPS       02                     Pipe                     10/24/2016
      SYSTEM#21 CWS          02                     Pipe                     10/24/2016
      SYSTEM#21 CWS          03                     Pipe           .         10/24/2016
      SYSTEM#5 COMP          15                     Pipe                     10/24/2016
      SYSTEM#5 COMP          16                     Pipe                     10/24/2016
      SYSTEM#5 COMP          13                     Pipe                     10/20/2016
      SYSTEM#5 COMP          14                     Pipe                     10/20/2016
      SYSTEM#5 COMP          17                     Pipe                     10/20/2016
      SYSTEM#15 STPR         03                     Pipe                     10/19/2016
      SYSTEM#8 OFF-GAS       03                     Pipe                     10/19/2016
      SYSTEM#15 STPR         04                     Pipe                     10/19/2016
      SYSTEM#15 STPR         05                     Pipe                     10/19/2016
      SYSTEM#9 QUENCH        06                     Pipe                     10/19/2016
      SYSTEM#5 COMP          18                     Pipe                     10/19/2016
      SYSTEM#5 COMP          20                     Pipe                     10/19/2016

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      SYSTEM#5 COMP          21               •      Pipe                 10/19/2016
      SYSTEM#8 OFF-GAS       01                      Pipe                 10/18/2016
      SYSTEM#8 OFF-GAS       02                      Pipe                 10/18/2016
      SYSTEM#5 COMP          12                      Pipe                 10/18/2016
      SYSTEM#12 QOR          02                      Pipe                 10/17/2016
      SYSTEM#7 ABS-INT       13                      Pipe                 10/17/2016
      SYSTEM#7 ABS-INT       14                      Pipe                 10/17/2016
      SYSTEM#5 COMP          08                      Pipe                 10/14/2016
      SYSTEM#5 COMP          09                      Pipe                 10/14/2016
      SYSTEM#7 ABS-INT       10                      Pipe   .             10/14/2016
      SYSTEM#7 ABS-INT       11                      Pipe                 10/14/2016
      SYSTEM#5 COMP          05                      Pipe                 10/13/2016
      SYSTEM#5 COMP          07                      Pipe                 10/13/2016
      SYSTEM#7 ABS-INT       09                      Pipe                 10/13/2016
      SYSTEM#5 COMP          03                      Pipe                 10/12/2016
      SYSTEM#5 COMP          04                      Pipe                 10/12/2016
      SYSTEM#5 COMP          06                      Pipe •               10/12/2016
      SYSTEM#7 ABS-INT       06                      Pipe -               10/12/2016
      RAFF PIPING            RAFF-00011 '            Pipe                 10/12/2016
      SYSTEM#7 ABS-INT       03                      Pipe                 10/11/2016
      SYSTEM#7 ABS-INT       05                      Pipe                 10/11/2016
      SYSTEM#7 ABS-INT       01 ,                    Pipe                 10/10/2016
      SYSTEM#7 ABS-INT       02                      Pipe                 10/10/2016
      SYSTEM#7 ABS-INT       04                      Pipe                 10/10/2016
      SYSTEM#5 COMP          10                      Pipe                 10/10/2016
      SYSTEM#5 COMP          11                      Pipe                 10/10/2016
      RAFF PIPING            RAFF-00035              Pipe                 10/10/2016
      SYSTEM#6 H2O           04                      Pipe                  10/6/2016
      SYSTEM#6 H2O           05                      Pipe                  10/6/2016
      SYSTEM#5 COMP          02                      Pipe                  10/5/2016
      SYSTEM#6 H2O           02                      Pipe                  10/5/2016
      SYSTEM#1 HCFEED        02                      Pipe                  10/4/2016
      PIB                    PIB-00009               Pipe                  9/30/2016
      BD PIPING              BD-COO24                Pipe                  9/29/2016
      PIB                    PIB-00022               Pipe                  9/29/2016
      SYSTEM#1 HCFEED        01                      Pipe                  9/28/2016
      BD PIPING              BD-00022                Pipe                  9/28/2016
      PIB                    PIB-00006               Pipe                  9/27/2016
      PIB                    PIB-00014               Pipe                  9/27/2016
      METH                   METH-00010              Pipe                  9/26/2016

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      METH                   METH-00011             Pipe                     9/26/2016
      PIB                    PIB-00015              Pipe                     9/26/2016
      FRFRL                  FRFRL-CO12O            Pipe                     9/23/2016
      PIB                    PIB-00002              Pipe                     9/22/2016
      PIB                    PIB-00003              Pipe                     9/21/2016
      PIB                    PIB-00004              Pipe                     9/20/2016
      PIB                    PIB-00024              Pipe                     9/20/2016
      METH                   METH-00008             Pipe                     9/19/2016
      FRFRL                  FRFRL-00088            Pipe                     9/14/2016
      MTBE                   MTBE-00011             Pipe                     9/14/2016
      RAFF PIPING            RAFF-00032             Pipe                     9/14/2016
      FRFRL                  FRFRL-00019            Pipe                     9/13/2016
      FRFRL                  FRFRL-00033            Pipe                     9/13/2016
      FRFRL                  FRFRL-CO125            Pipe                     9/12/2016
      MTBE                   MTBE-00010             Pipe                     9/12/2016
      RAFF PIPING            RAFF-00063             Pipe                     9/12/2016
      RAFF PIPING            RAFF-00065             Pipe                     9/12/2016
      RAFF PIPING            RAFF-00073             Pipe                     9/12/2016
      RAFF PIPING            RAFF-00067             Pipe                      9/8/2016
      RAFF PIPING            RAFF-00068             Pipe                      9/8/2016
      BD PIPING              BD-00077               Pipe                      9/6/2016
      MTBE                   MTBE-00018             Pipe                      9/6/2016
      RAFF PIPING            RAFF-00028             Pipe                     8/31/2016
      FRFRL                  FRFRL-00026            Pipe                     8/29/2016
      MTBE                   MTBE-00056             Pipe                     8/29/2016
      RAFF PIPING            RAFF-00034             Pipe                     8/29/2016
      METH                   METH-COO18A            Pipe                     8/25/2016
      RAFF PIPING            RAFF-00054             Pipe                     8/22/2016
      RAFF PIPING            RAFF-00030B            Pipe                     8/17/2016
      RAFF PIPING            RAFF-00004             Pipe                     8/16/2016
      RAFF PIPING            RAFF-00019             Pipe                      8/1/2016
      PPWW                   PIB-00010J             Pipe                     7/21/2016
      MTBE                   MTBE-00035             Pipe                     7/19/2016
      MTBE                   MTBE-00012             Pipe                     7/12/2016
      FRFRL                  FRFRL-00036            Pipe                     7/11/2016
      HCSLOP                 HCSLOP-00160B          Pipe                      7/7/2016
      RAFF PIPING            RAFF-00002             Pipe                      7/5/2016
      BD PIPING              BD-00389               Pipe                     6/15/2016
      HCSLOP                 HCSLOP-00040E          Pipe                     6/15/2016
      B1                     B1-CO2OOQ              Pipe                     6/14/2016

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      BD PIPING              BD-COO78               Pipe                      6/14/2016
      HCSLOP                 HCSLOP-00040A          Pipe                      6/14/2016
      IBTYLN                 IBTYLN-00540F          Pipe                      6/14/2016
      MTBE                   MTBE-00027             Pipe                      6/14/2016
      RAF-MTBE               RAF-MTBE-00003         Pipe                      5/11/2016
      MTBE                   MTBE-00032             Pipe                       5/6/2016
      RAFF PIPING            RAFF-00025A            Pipe                       5/6/2016
      RAFF PIPING            RAFF-00025C            Pipe                       5/6/2016
      RAFF PIPING            RAFF-00027             Pipe                       5/6/2016
      RAFF PIPING            RAFF-00062             Pipe                       5/6/2016
      BD PIPING      •       BD-00057               Pipe                       5/5/2016
      HCVENT                 HCVENT-00001           Pipe                       5/5/2016
      HCSLOP                 HCSLOP-00030B          Pipe                      4/25/2016
      MTBE                   MTBE-00043B            Pipe                      4/21/2016
      PPWW                   PIB-00010E             Pipe                      4/21/2016
      PPWW                   PIB-00010D             Pipe                      4/19/2016
      RAF-MTBE               RAF-MTBE-00001         Pipe                      4/19/2016
      IBTYLN                 IBTYLN-00710C          Pipe                      4/14/2016
      PPWW                   PIB-00010F             Pipe                      4/14/2016
      BD PIPING              BD-00007               Pipe                       4/6/2016
      BD PIPING              BD-COO28               Pipe                       4/6/2016
      BD PIPING              BD-00076               Pipe                       4/6/2016
      BD PIPING              BD-00362               Pipe                       4/6/2016
      BD PIPING              BD-00365               Pipe                       4/6/2016
      IBTYLN                 IBTYLN-00690A          Pipe                       4/6/2016
      IBTYLN                 IBTYLN-00690C          Pipe                       4/6/2016
      B2                     B2-00100B              Pipe                       4/5/2016
      BD PIPING              BD-00337E              Pipe                       4/5/2016
      CBD                    CBD-00220A             Pipe                       4/5/2016
      H2                     H2-00010B              Pipe                       4/5/2016
      IBTYLN                 IBTYLN-00360C          Pipe                       4/5/2016
      MTBE                   MTBE-00021             Pipe                       4/5/2016
      NG                     NG-00040A              Pipe                      3/31/2016
      DIB                    DIB-00240A             Pipe                      3/30/2016
      METH                   METH-00003B            Pipe                       3/7/2016
      PIB                    PIB-C0031A             Pipe                       3/4/2016
      BD PIPING              BD-00337B              Pipe                       2/4/2016
      FLR                    FLR-008901           . Pipe                       2/1/2016
      MTBE                   MTBE-00061             Pipe                       2/1/2016
      FLR                    FLR-00890H             Pipe                      1/28/2016

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       RAFF PIPING            RAFF-00037E           Pipe                      8/21/2015
       RAFF PIPING            RAFF-00037G           Pipe                      8/21/2015
       RAFF PIPING            RAFF-00037R           Pipe                      8/20/2015
      CBD                    CBD-00330H             Pipe                        6/2/2015
      CBD                     CBD-003301            Pipe                        6/2/2015
      CBD                    CBD-00330J             Pipe                        6/2/2015
      CBD                    CBD-00330K             Pipe                        6/2/2015
      CBD                    CBD-00330L             Pipe                        6/2/2015
      OLIG                   OLIG-00020A            Pipe                      10/7/2014
      OLIG                   OLIG-00030A            Pipe                      10/7/2014
      NG                     NG-00150A              Pipe                       8/8/2014
      PIB                    PIB-00029E             Pipe                      2/11/2014
      NG                     NG-00030D       •      Pipe                      12/4/2013
      NG                     NG-00130A              Pipe                     11/19/2013
      DIB                    DIB-00130A             Pipe                     11/12/2013
      DIB                    DIB-00150A             Pipe                     11/12/2013
      DIB                    DIB-00150B             Pipe                     11/12/2013
      NG                     NG-00060A              Pipe                      11/5/2013
      DMF                    DMF-00010A             Pipe                      10/2/2013
      DMF                    DMF-COO2OA             Pipe                      10/2/2013
      BD PIPING              BD-00199               Pipe                      9/11/2013
      B2                     B2-00140B              Pipe                      8/21/2013
      C5                     C5-00070D              Pipe                      8/16/2013
      IBTYLN                 IBTYLN-00220B          Pipe                      8/14/2013
      IBTYLN                 IBTYLN-00010C          Pipe                       8/2/2013
      FLR                    0880O                  Pipe                      7/17/2013
      METH                   METH-00015B     .      Pipe                      7/17/2013
      METH                   METH-00015C            Pipe                      7/16/2013
      DIMER                  DIMER-00040C           Pipe                      5/22/2013
      DIMER                  DIMER-00040A           Pipe                      5/21/2013
      DIMER                  DIMER-00040B           Pipe                      5/21/2013
      DIMER                  DIMER-00040D           Pipe                      5/21/2013
      PIB                    PIB-C0029A             Pipe                      5/21/2013
      PIB                    PIB-00038K             Pipe                      5/15/2013
      PIB                    PIB-00035A             Pipe                       5/9/2013
      PIB                    PIB-00035D             Pipe                       5/8/2013
      PIB                    PIB-C0035E             Pipe                       5/6/2013
      B1                     B1-00220B              Pipe                      4/18/2013
      B1                     B1-CO29OD              Pipe                       4/4/2013
      LN                     LN-CO25OG              Pipe                      2/27/2013

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      B1                     Bl-00070E               Pipe                    2/22/2013
      B1                     B1-00171A               Pipe                    2/22/2013
      LN                     LN-CO25OD               Pipe                    2/21/2013
      B1                     B1-00270A               Pipe                    2/11/2013
      C5                     C5-CO2OOA               Pipe                   12/17/2012
      HONWTR                 HONWTR-00170A           Pipe                   12/17/2012
      HONWTR                 HONWTR-00170E           Pipe                   12/17/2012
      HONWTR                 HONWTR-00170F           Pipe                   12/17/2012
      LN                     LN-CO18OD               Pipe                   12/14/2012
      LN                     LN-00250A               Pipe                   12/14/2012
                                               .
      LN                     LN-00250B               Pipe                   12/14/2012
      LN                     LN-00250J               Pipe                   12/14/2012
      LN                     LN-00300A             • Pipe                   12/14/2012
      H20-FRFRL              H2OF-00160B             Pipe                   12/12/2012
      H20-FRFRL              H2OF-00290A             Pipe                   12/12/2012
      LN                     LN-0O200A               Pipe                   12/12/2012
      LN                     LN-00250L               Pipe                   12/12/2012
      LN                     LN-00300B               Pipe .                 12/12/2012
      H20-FRFRL              H2OF-00290E             Pipe                   12/11/2012
      H20-FRFRL              H2OF-00300B             Pipe                   12/11/2012
      HONWTR                 HONWTR-00170B           Pipe                   12/11/2012
      LN                     LN-00260B               Pipe                   12/11/2012
      LN                     LN-00270A               Pipe                   12/11/2012
      LN                     LN-00020A               Pipe                   12/10/2012
      LN                     LN-00250F               Pipe                   12/10/2012
      LN                     LN-CO25OC               Pipe                    12/8/2012
      H20-FRFRL              H2OF-00130A             Pipe                    12/7/2012
      H20-FRFRL              H2OF-00160A             Pipe                    12/7/2012
      H20-FRFRL              H2OF-00210A             Pipe                    12/7/2012
      H20-FRFRL              H2OF-00220A             Pipe                    12/6/2012
      LN                     LN-00240A               Pipe                    12/6/2012
      LN                     LN-00250H               Pipe                    12/6/2012
      LN                     LN-CO230D               Pipe                    12/5/2012
      LN                     LN-00230F               Pipe                    12/5/2012
      LN                     LN-00250K               Pipe                    12/5/2012
      LN                     LN-00210E               Pipe                    12/4/2012
      H20-FRFRL              H2OF-00070A .           Pipe                   11/30/2012
      H20-FRFRL              H2OF-00140B             Pipe                   11/30/2012
      H20-FRFRL              H2OF-00250A             Pipe                   11/30/2012
      H20-FRFRL              H2OF-00260A             Pipe                   11/30/2012

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      H20-FRFRL                  H2OF-00370A            Pipe                    11/30/2012
      LN                         LN-00090B              Pipe                    11/30/2012
      H20-FRFRL          •       H2OF-00270A            Pipe                    11/29/2012
      H20-FRFRL                  H2OF-00140F            Pipe                    11/28/2012
      H20-FRFRL                  H2OF-00310A            Pipe                    11/28/2012
      H2O-FRFRL                  H2OF-CO31OC            Pipe                    11/28/2012
      H2O-FRFRL                  H2OF-CO11OD            Pipe                    11/27/2012
      H2O-FRFRL                  H2OF-00120A            Pipe                    11/27/2012
      H20-FRFRL                  H2OF-00240A            Pipe                    11/27/2012
      H20-FRFRL                  H2OF-00080B            Pipe                    11/26/2012
      H2O-FRFRL                  H2OF-00120B            Pipe                    11/26/2012
      H20-FRFRL                  H2OF-00140E            Pipe                    11/26/2012
      H20-FRFRL                  0080A XTML             Pipe                    11/20/2012
      H20-FRFRL                  H2OF-00080C            Pipe                    11/20/2012
      H20-FRFRL                  H2OF-00090B            Pipe                    11/20/2012
      H2O-FRFRL                  H2OF-00110F            Pipe                    11/20/2012
      H2O-FRFRL                  H2OF-00340B            Pipe                    11/20/2012
      H2O-FRFRL                  H2OF-CO34OC            Pipe                    11/20/2012
      H20-FRFRL                  H2OF-CO37OD            Pipe                    11/20/2012
      H20-FRFRL                  H2OF-00380A            Pipe                    11/20/2012
      H20-FRFRL                  H2OF-00090A            Pipe                    11/19/2012
      H20-FRFRL                  H2OF-CO14OC            Pipe                    11/19/2012
      H20-FRFRL                  H2OF-00350A            Pipe                    11/19/2012
      H2O-FRFRL                  H2OF-00370B            Pipe                    11/19/2012
      H2O-FRFRL                  H2OF-CO37OC            Pipe                    11/19/2012
      C5                         C5-00060B              Pipe                    11/16/2012
      H20-FRFRL                  H2OF-00280C            Pipe                    11/16/2012
      H20-FRFRL                  H2OF-00230A            Pipe                    11/15/2012
      H20-FRFRL                  H2OF-00320B            Pipe                    11/15/2012
      C5                         C5-00130A              Pipe                    11/13/2012
      H2O-FRFRL                  H2OF-00100F            Pipe                    11/12/2012
      H2O-FRFRL                  H2OF-CO1OOG            Pipe                    11/12/2012
      H20-FRFRL                  H2OF-00130B            Pipe                    11/12/2012
      H20-FRFRL                  H2OF-00340A            Pipe                    11/12/2012
      H2O-FRFRL                  H2OF-00390A            Pipe                    11/12/2012
      H20-FRFRL                  H2OF-00320F            Pipe                     11/9/2012
      H20-FRFRL                  H2OF-00360A            Pipe                     11/9/2012
      LN                         LN-COO6OB              Pipe                     11/9/2012
      C5                         C5-00010C              Pipe                     11/5/2012
      C5                         CS-00010A              Pipe                     11/1/2012

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      C5                     C5-00140A               Pipe                     11/1/2012
      C5                     C5-00050B               Pipe                    10/31/2012
      C5        •            C5-00200B               Pipe                    10/31/2012
      H2O-FRFRL              H2OF-00310E             Pipe                    10/30/2012
      H2O-FRFRL              H2OF-00320A             Pipe                    10/30/2012
      H20-FRFRL              H2OF-00100C             Pipe                    10/29/2012
      H20-FRFRL              H2OF-00290B             Pipe                    10/29/2012
      H2O-FRFRL              H2OF-00290C             Pipe                    10/29/2012
      H20-FRFRL              H2OF-00330A             Pipe                    10/29/2012
      H20-FRFRL              H2OF-CO100D             Pipe                    10/25/2012
      H20-FRFRL              H2OF-003200             Pipe                    10/25/2012
      H20-FRFRL              H2OF-00140G           ' Pipe                    10/24/2012
      H20-FRFRL              H2OF-00100B             Pipe                    10/23/2012
      NM                     NM-CO2OOB               Pipe                    10/10/2012
      NM                     NM-00160B               Pipe                     10/9/2012
      NM                     NM-00100A               Pipe                     10/1/2012
      NM                     NM-00100B               Pipe                     10/1/2012
      NM                     NM-CO2OOC               Pipe                     10/1/2012
      NM                     NM-00180A               Pipe                     9/26/2012
      NM                     NM-CO2OOA               Pipe                     9/26/2012
      NM          .          NM-00160A               Pipe                     9/20/2012
      HONWTR                 HONWTR-CO22OF           Pipe                     9/18/2012
      HONWTR                 HONWTR-CO22OM           Pipe                     9/18/2012
      HONWTR                 HONWTR-00220G           Pipe                     9/17/2012
      HONWTR                 HONWTR-00220L           Pipe                     9/17/2012
      HONWTR                 HONWTR-00220B           Pipe                     9/14/2012
      HONWTR                 HONWTR-00220H           Pipe                     9/14/2012
      HONWTR                 HONWTR-00220K           Pipe                     9/14/2012
      FLR                    FLR-00940A              Pipe                     9/12/2012
      FLR                    FLR-00500T              Pipe                     9/11/2012
      HONWTR                 HONWTR-CO22OA           Pipe                     9/11/2012
      FLR                    FLR-00880D              Pipe                     8/27/2012
      FLR                    FIR-00880G              Pipe                     8/16/2012
      FLR                    FLR-00880J              Pipe                     8/10/2012
      FLR                    FLR-00480A -            Pipe                      8/9/2012
      FLR                    FLR-00380C              Pipe                     7/26/2012
      HCSLOP             •   HCSLOP-00100D           Pipe                     7/26/2012
      HCSLOP                 HCSLOP-00100E           Pipe                     7/20/2012
      HCSLOP                 HCSLOP-00100C           Pipe                     7/19/2012
      FLR                    FLR-00860H              Pipe                     7/10/2012

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       FLR                   FLR-00170B              Pipe                      7/9/2012
       FLR                   FLR-00530A              Pipe                      7/5/2012
       FLR                   FLR-00870A              Pipe                      7/5/2012
       FLR                   FLR-00060B              Pipe                      4/3/2012
       RAFF PIPING           RAFF-00052              Pipe                     3/20/2012
       FRFRL                 FRFRL-00127             Pipe                     3/14/2012
       BD PIPING             BD-00379                Pipe                      3/2/2012
       BD PIPING             BD-00358                Pipe                      3/1/2012
      .RAFF PIPING           RAFF-00059              Pipe                     2/21/2012
       BD PIPING             BD-00035                Pipe                     2/14/2012
       PIB                   PIB-00001               Pipe                     9/30/2011




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       Appendix B: Letter of No Objection from the GUC Trust
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                    Appendix C:KPI Spreadsheet
                      A
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                                                                                       2895
1    KPI ‐ Category         KPI Name                                                                                 KPI Description
                                                                                                                     Total Number of PHA Open Corrective Actions with the Corrective Action
2    PHA                    # of PHA Corrective Actions Open                                                         Database
3                           # of PHA Revalidations past due
                            % of PHA reviews that included communication of action item resolution with applicable
4                           operations and maintenance employees.
5


6    Training               # of Overdue Refresher Training Course for Operators                                Number of Refresher Training Courses past the required refresher date
                            % of Operators Receiving Refresher Training with Documentation that they Understood
7                           the Training Received.
                            % of Initial Training for New Operators with Documentation that they Understood the
8                           Training Received.
                                                                                                                Number of Overdue Critcial Operating Procedures past Annual Review
9    Operating Procedures   # of Overdue Operating Procedure Reviews Past Annual Review Period                  Period.
                                                                                                                Number of TPC Operator Training certifications or recertifications past
10 Training                 # of Operator Training Certification or Recertifications Past Due                   their 3‐year due date
                                                                                                                KPI to track the number of Post Startup Action Items that are not PSI
11 MOC                      # OPEN POST STARTUP ACTION ITEMS Older Than 1 Year ‐ Non PSI                        related that are older than 1 year
                                                                                                                KPI to track the number of Post Startup Action Items that are PSI related
12 MOC                      # OPEN POST STARTUP ACTION ITEMS Older Than 6 Months ‐ PSI                          that are older than 6 year

                                                                                                                     KPI is to track potentially stagnate MOCs that are still in the MOC system
                            # MOCs IN‐PROGRESS AND NOT AUTHORIZED FOR S/U or in INITIAL AUTHORIZATION                for more than 1 Year and have not progressed to the Initial Authorization
13 MOC                      STATUS FOR MORE THAN 1 YEAR                                                              Status, Physical Contruction Started, or Authorized for S/U
                                                                                                                     Audit of All TPC MOCs closed during the Quarter that have deficiencies as
                                                                                                                     defined by the requirement of the Consent Decree. Consent Decree has
                                                                                                                     specific reporting for Audit Questions: 1) S&H Documentation 2)
                                                                                                                     Authorization Requirements Met 3) Training Conducted Prior to S/U 4)
14 MOC                      # MOC s WITH DEFICIENCIES ‐ TPC MOC Audits                                               Change Completed as described in MOC
                                                                                                                     TPC MOCs that have been approved for startup and not closed within 12
15 MOC                      # MOCs NOT CLOSED WITHIN 12 MONTHS OF APPROVAL TO STARTUP ‐ TPC                          months of that approval
                            % of MOC reviews that included communication of change with applicable operations
16                          and maintenance employees.
17                          # of temporary changes that exceeded the authorized time duration.
                   A
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                                                                                         2896
18 Management Systems        Corrective Actions Items Past Due                                                         Past due Corrective Actions tracked per the Corrective Action Standard
                                                                                                                       The number of corrective actions that are overdue from a Compliance
19 Compliance Audits         # of Compliance Audit Corrective Actions Overdue                                          Audit at a TPC Site
20                           # of Compliance Audits past 3‐Year Due Date
                                                                                                                       The number of potentially catastrophic events at a TPC Site as defined in
21 Incident Investigations   # of Events that Could Result in a Catastrophic Event                                     the Consent Decree with the EPA
                                                                                                                       The % compliance with the Incident Investigation Section of the EPA
22 Incident Investigations   % Compliance with Consent Decree Notification Requirements                                Consent Decree notification requirements
                                                                                                                       The % compliance with the Incident Investigation Section of the EPA
23 Incident Investigations   % Compliance with Consent Decree Corrective Action Requirements                           Consent Decree notification requirements
                                                                                                                       Total Number of Compliance Required MI Inspections past required
24 MI                        Overdue MI Compliance Inspections                                                         inspection date
                             Number of of MI inspections and tests found to be outside expected ranges which
                             required a shutdown or other measures to allow for continued safe operation
25


26                           # of MI inspections and tests that required an extended completion date for any reason.
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        Appendix D: Risk Ranking Program Summary and Definitions
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                                         Appendix D


      The Action Item Prioritization Tables and related requirements found in Appendix A to TPC’s

Corrective Action Management Procedure (EHS-GEN-ALL-1103) are attached to this Consent

Decree as Appendix D.


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                                                                                                                      Appendix A – Corrective Action Prioritization Tables

             System
             in place                                                                                                                               ACTION ITEM PRIORITIZATION
                and
                                                                                                                   Illustrative Possible Effects Corresponding to the Severity Values if Finding/Gap is not corrected
System      ineffectiv
in place       e OR
   and       System
partially     NOT in                                                                                                                                                                    COMMUNITY/PUBLIC
effective      place             SAFETY                                SECURITY                                            ENVIRONMENTAL                           REGULATORY                RELATIONS                                     BUSINESS                                  FINANCIAL IMPACT
                         • Multiple fatalities (on     • Any security incident resulting in priority 5   • Catastrophic (irreparable) off-site environmental      • Restrictions        • National public        • Total Plant shutdown > 10 days                                   • More than
                           site)                         Safety, Environmental, Community,                 damage                                                   placed by             concern                • Repair/remedial activities (> $500,000)                            $10,000,000 (e.g.,
                         • Multiple permanently          Business, Regulatory, or financial              • Very heavy contamination, widespread effects of          state/federal       • Extensive coverage     • Loss of 10% of customer business (> 3 months)                      revenue loss,
                           disabling injuries (on        consequence.                                      extended duration                                        regulatory            by national media      • Loss of 10% of supplier business (> 3 months)                      equipment damage,
                           site)                                                                                                                                    authorities         • Plant evacuation       • Delay of major strategic project construction phase (> 1           theft or loss of
                         • Single offsite injury (to                                                                                                              • Major SEC           • Community                month)                                                             company property,
                           public)                                                                                                                                  disclosure issue      evacuation             • Operating cash flow or EBITDA impact (>20%)                        repair costs,
                         • Transportation/pipeline                                                                                                                                      • Internal Fraud                                                                              production loss, etc.)
                           related fatality
                         • Hospitalization of 1 or     • Workplace violence or other incident            • Significant off-site environmental damage (e.g.        • State or federal    • Regional public        • Loss of 13,000,000 lbs. to 25,000,000 lbs. of production or 10   • More than $1,000,00
                           more workers                  resulting in a fatality                           substantial harm to wildlife)                            attention and         concern                  days total loss production                                         but less than
                         • Amputation or Loss of       • Theft with priority 4 financial impact          • Heavy contamination, localized effects of extended       sanctions - large   • Prolonged local        • Repair/remedial activities ($100k to $500k)                        $10,000,000 (e.g.,
                           Sight                       • Loss of critical intellectual property            duration                                                 fine                  media attention and    • Loss of 10% of customer business for < 3 months                    revenue loss,
                         • Single fatality (on site)   • Any security incident resulting in a                                                                     • Material              mention on national    • Loss of 10% of supplier business for < 3 months                    equipment damage,
                         • Transportation/pipeline       Priority 4 Safety, Environmental,                                                                          Weakness              news                   • Delay of major strategic project construction phase < 1 month      theft or loss of
                           related injury                Community, Business, or Regulatory                                                                         disclosure          • Community              • Major loss of competitive advantage (i.e. Leak of Business         company property,
                                                         consequence.                                                                                                                     Activated Shelter in     intelligence or Technical Knowledge)                               repair costs,
                                                                                                                                                                                          place                  • Operating cash flow or EBITDA impact 10% to < 20%                  production loss, etc.)
                                                                                                                                                                                        • External Fraud

                         • Multiple Medical Case       • Theft with priority 3 financial impact          • Off-site release causing minimal environmental         • Outside             • Regional political     • Loss of 1,300,000 lbs. to 13,000,000 lbs. of production or 5-    • More than $100,000
                           Recordable Injuries         • Any security incident results in Priority 3       damage with quick clean up                               regulatory            attention                day total loss production                                          but less than
                           from a single event           Safety consequence.                             • On-site release requiring containment and costly         agency              • Local media            • Potential revenue impact $100,000 to $1,000,000                    $1,000,000 (e.g.,
                         • Single Lost Time            • Any unauthorized access to a Restricted           clean up by emergency personnel                          involvement           attention              • Supply Chain delay causing significant impact to customer          revenue loss,
                           Recordable Injury             Area of a facility.                             • Simple contamination, widespread effects of extended     beyond              • Community concern      • Leak of Proprietary Technical Information                          equipment damage,
                         • Single Restricted           • An unauthorized entry to Company                  duration                                                 notification        • Financial              • Minor Loss of competitive advantage (i.e. Leak of Business         theft or loss of
                           Duty/Job Transfer             property with the perceived intent to           • Significant effects on water quality                   • Verbal mention        Stakeholder concern      intelligence or Technical Knowledge)                               company property,
                           Recordable                    cause physical damage to equipment or           • Major damage to an ecosystem (e.g. significant           by local                                     • Operating cash flow or EBITDA impact 5% to < 10%                   repair costs,
                           Injury/Illness                other key assets; or with the perceived           impact on fish population)                               government -                                                                                                      production loss, etc.)
                         • Tier 1 Process Safety         intent to cause harm to people.                 • Longer term closure of potable water extractors          small fine
                           Event                       • Theft of on-site chemicals                      • Significant reduction in amenity value                 • Financial re-
                         • Transportation/pipeline                                                       • Significant impact on Man                                statement
                                                                                                                                                                    required
                           related First Aid                                                             • Significant damage to agriculture or commerce
                         • Single Medical Case         • Theft with priority 2 financial impact.         • On-site release requiring containment and Minimal      • On-site RQ          • Community is aware     • Loss of 110,000 lbs. to 1,300,000 lbs. of production or 12       • More than $10,000 but
                           Recordable                  • Any Security event that requires                  clean up by emergency personnel                          release through       of event and some        hour total loss production                                         less than $100,000
                           Injury/Illness                summoning local law enforcement for             • Simple contamination, localized effects of short         environmental         concern                • Supply chain delay (1-4 days)                                      (e.g., revenue loss,
                         • Multiple minor                immediate action.                                 duration                                                 control device      • Media attention with   • Complaints from several different customers                        equipment damage,
                           injury/First Aid cases      • Any unauthorized access to a Secure             • Local, limited impact to water, land and air                                   small impact to        • Operating cash flow or EBITDA impact 2% to < 5%                    theft or loss of
                         • Tier 2 Process Safety         Area of a facility.                             • Notification to, and short term closure of, potable                            company operations                                                                          company property,
                           Event                       • Tampering of any inbound or outbound              water extractors required                                                                                                                                                  repair costs,
                                                         transportation equipment or materials                                                                                                                                                                                        production loss, etc.)
                                                         (truck, rail, barge, or pipeline).
                                                       • Any security threat or event resulting in a
                                                         deviation from planned operation or
                                                         transportation activities.

                         • First aid                   • Theft with priority 1 financial impact          • Slight impact on site                                  • Title V Permit      • Local community is     • Loss of < 110,000 lbs. of production or less than 1 hour total   • Less than $10,000
                         • Report only medical         • Any security related issue that does not        • No contamination, localized effects                      Exceedance            aware of event           loss production                                                    impact (e.g., revenue
                           event                         meet the threshold of a Priority 2 event        • Minor effect on air quality as evidenced by dust or                                                   • Repair/remedial activities of (<$10k)                              loss, equipment
                                                                                                           odor complaint(s)                                                                                     • Supply Chain delay (< 24 hours)                                    damage, theft or loss
                                                                                                         • Emission Level Value (ELV) Exceedance                                                                 • Not delivering due to off spec material                            of company property,
                                                                                                                                                                                                                 • Formal customer complaint                                          repair costs,
                                                                                                                                                                                                                 • Operating cash flow or EBITDA impact <1%                           production loss, etc.)
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             Appendix E: Items Through 9/30/23
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                     A                                 B
1         Corrective Action Number                 Risk Rank
2                 10021|1                            Orange
3                 10022|1                            Orange
4                 10728|1                            Green
5                 10735|1                            Orange
6                  1596|1                            Orange
7                  1659|1                            Yellow
8                  1692|1                            Yellow
9                 17403|1                            Orange
10                17404|1                            Yellow
11                17407|1                            Orange
12                21067|1                            Yellow
13                21070|1                            Yellow
14                21075|1                            Yellow
15                21078|1                            Green
16                21081|1                            Orange
17                21092|1                            Yellow
18                21094|1                            Orange
19                21097|1                            Yellow
20                21098|1                            Orange
21                21099|1                            Yellow
22                21100|1                            Orange
23                21106|1                            Orange
24                21111|1                            Yellow
25                21112|1                            Yellow
26                21187|1                            Yellow
27                21192|1                            Orange
28                21195|1                            Yellow
29                21196|1                            Yellow
30                21197|1                            Yellow
31                21198|1                            Yellow
32                21330|1                            Orange
33                21334|1                            Green
34                21710|1                            Yellow
35                21816|1                            Orange
36                21817|1                            Yellow
37                21822|1                            Green
38                24318|1                            Green
39                24321|1                            Orange
40                24328|1                            Orange
41                24329|1                            Orange
42                24331|1                            Orange
43                24332|1                            Orange
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                     A                                 B
44                24333|1                            Yellow
45                24390|1                            Orange
46                24505|1                            Orange
47                24512|1                            Green
48                25811|1                            Yellow
49                25815|1                            Orange
50                25821|1                            Orange
51                25822|1                            Orange
52                25871|1                            Orange
53                25872|1                            Orange
54                25873|1                            Orange
55                25886|1                            Orange
56                25887|1                            Orange
57                25888|1                            Orange
58                25889|1                            Orange
59                25890|1                            Orange
60                25891|1                            Orange
61                25892|1                            Orange
62                25893|1                            Orange
63                25894|1                            Orange
64                25895|1                            Orange
65                25897|1                            Orange
66                25898|1                            Orange
67                25899|1                            Orange
68                25900|1                            Orange
69                25901|1                            Yellow
70                25902|1                            Orange
71                25911|1                            Orange
72                25912|1                            Orange
73                25913|1                            Orange
74                25916|1                            Yellow
75                25920|1                            Yellow
76                25921|1                            Orange
77                25924|1                            Orange
78                25925|1                            Yellow
79                25926|1                            Orange
80                25927|1                            Orange
81                25928|1                            Yellow
82                25952|1                            Yellow
83                25953|1                            Orange
84                25956|1                            Yellow
85                25957|1                            Yellow
86                25958|1                            Yellow
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                      A                                 B
87                 25959|1                            Yellow
88                 26199|1                            Orange
89                 26201|1                            Orange
90                  2877|1                            Orange
91                 29057|1                            Green
92                 29058|1                            Yellow
93                 29059|1                            Yellow
94                 29060|1                            Yellow
95                 29082|1                            Yellow
96                 29083|1                            Green
97                 29084|1                            Yellow
98                 30478|1                            Green
99                 30497|1                            Yellow
100                30498|1                            Yellow
101                30504|1                            Yellow
102                30506|1                            Yellow
103                30509|1                            Orange
104                30514|1                            Orange
105                30516|1                            Orange
106                30550|1                            Yellow
107                30551|1                            Orange
108                30552|1                            Yellow
109                30553|1                            Orange
110                30555|1                            Yellow
111                30556|1                            Yellow
112                30557|1                            Yellow
113                30558|1                            Orange
114                30559|1                            Yellow
115                30561|1                            Orange
116                30562|1                            Orange
117                30564|1                            Orange
118                30565|1                            Yellow
119                30566|1                            Orange
120                30567|1                            Orange
121                 3101|1                            Yellow
122                 3106|1                            Orange
123                 3136|1                            Yellow
124                 3156|1                            Yellow
125                 3159|1                            Yellow
126                 3160|1                            Yellow
127                 3166|1                            Yellow
128                 3203|1                            Yellow
129                 3204|1                            Orange
      Case 1:24-cv-00187-MJT   Document 8     Filed 01/15/25   Page 160 of 181 PageID #:
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                      A                                 B
130                 3205|1                            Yellow
131                 3206|1                            Orange
132                 3207|1                            Orange
133                 3222|1                            Green
134                35515|1                            Orange
135                35516|1                            Yellow
136                35517|1                            Yellow
137                35519|1                            Yellow
138                35520|1                            Yellow
139                35521|1                            Yellow
140                35522|1                            Yellow
141                35523|1                            Yellow
142                35524|1                            Yellow
143                35525|1                            Yellow
144                35526|1                            Green
145                35527|1                            Green
146                35528|1                            Green
147                35533|1                            Yellow
148                35534|1                            Yellow
149                35535|1                            Yellow
150                35536|1                            Yellow
151                35537|1                            Orange
152                35538|1                            Yellow
153                35539|1                            Orange
154                35540|1                            Orange
155                35541|1                            Yellow
156                35542|1                            Yellow
157                35543|1                            Orange
158                35544|1                            Orange
159                35545|1                            Orange
160                35546|1                            Orange
161                35547|1                            Orange
162                35548|1                            Orange
163                35549|1                            Orange
164                35550|1                            Orange
165                35551|1                            Yellow
166                35552|1                            Yellow
167                35553|1                            Yellow
168                35554|1                            Yellow
169                35555|1                            Yellow
170                35556|1                            Yellow
171                35557|1                            Orange
172                35558|1                            Orange
      Case 1:24-cv-00187-MJT   Document 8     Filed 01/15/25   Page 161 of 181 PageID #:
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                      A                                 B
173                35559|1                            Orange
174                35560|1                            Orange
175                35561|1                            Yellow
176                35562|1                            Yellow
177                35563|1                            Yellow
178                35564|1                            Yellow
179                35566|1                            Yellow
180                35567|1                            Yellow
181                35568|1                            Yellow
182                35569|1                            Yellow
183                35571|1                            Orange
184                35576|1                            Yellow
185                35577|1                            Yellow
186                35580|1                            Yellow
187                35581|1                            Yellow
188                35584|1                            Yellow
189                35585|1                            Yellow
190                35592|1                            Yellow
191                35593|1                            Yellow
192                35594|1                            Yellow
193                35595|1                            Yellow
194                35596|1                            Yellow
195                35597|1                            Yellow
196                35598|1                            Yellow
197                35599|1                            Yellow
198                35600|1                            Yellow
199                35601|1                            Orange
200                35602|1                            Orange
201                35603|1                            Orange
202                35604|1                            Orange
203                35605|1                            Yellow
204                35606|1                            Yellow
205                35607|1                            Yellow
206                35608|1                            Yellow
207                35611|1                            Orange
208                35616|1                            Orange
209                35617|1                            Orange
210                35621|1                            Yellow
211                35622|1                            Yellow
212                35623|1                            Orange
213                35624|1                            Orange
214                35626|1                            Orange
215                35627|1                            Green
      Case 1:24-cv-00187-MJT   Document 8     Filed 01/15/25   Page 162 of 181 PageID #:
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                      A                                 B
216                35628|1                            Green
217                35629|1                            Green
218                35640|1                            Orange
219                35641|1                            Orange
220                35642|1                            Orange
221                35643|1                            Orange
222                35644|1                            Orange
223                35645|1                            Orange
224                35646|1                            Yellow
225                35647|1                            Yellow
226                35648|1                            Orange
227                35649|1                            Orange
228                35650|1                            Orange
229                35651|1                            Orange
230                35652|1                            Orange
231                35653|1                            Orange
232                35654|1                            Orange
233                35655|1                            Orange
234                35656|1                            Orange
235                35662|1                            Orange
236                35663|1                            Orange
237                35664|1                            Orange
238                35668|1                            Yellow
239                35669|1                            Yellow
240                35670|1                            Yellow
241                35671|1                            Yellow
242                35672|1                            Yellow
243                35675|1                            Yellow
244                35676|1                            Yellow
245                35680|1                            Orange
246                35681|1                            Orange
247                35682|1                            Orange
248                35683|1                            Orange
249                35685|1                            Yellow
250                35686|1                            Yellow
251                35687|1                            Yellow
252                35688|1                            Yellow
253                35690|1                            Orange
254                35692|1                            Orange
255                35693|1                            Yellow
256                35694|1                            Yellow
257                35695|1                            Orange
258                35696|1                            Orange
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                      A                                 B
259                35697|1                            Orange
260                35698|1                            Orange
261                35699|1                            Orange
262                35708|1                            Orange
263                35709|1                            Orange
264                35710|1                            Orange
265                35714|1                            Green
266                35715|1                            Green
267                35716|1                            Orange
268                35719|1                            Orange
269                35720|1                            Orange
270                35721|1                            Yellow
271                35722|1                            Yellow
272                35723|1                            Yellow
273                35724|1                            Yellow
274                35725|1                            Green
275                35726|1                            Green
276                35728|1                            Orange
277                35729|1                            Orange
278                35730|1                            Yellow
279                35731|1                            Yellow
280                35742|1                            Orange
281                35743|1                            Orange
282                35744|1                            Orange
283                35745|1                            Yellow
284                35746|1                            Yellow
285                35747|1                            Yellow
286                35750|1                            Yellow
287                35752|1                            Yellow
288                35753|1                            Yellow
289                35754|1                            Yellow
290                35755|1                            Yellow
291                35756|1                            Yellow
292                35757|1                            Yellow
293                35758|1                            Orange
294                35759|1                            Orange
295                35760|1                            Orange
296                35761|1                            Orange
297                35762|1                            Yellow
298                35764|1                            Yellow
299                35765|1                            Yellow
300                35766|1                            Yellow
301                35767|1                            Yellow
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                      A                                 B
302                35768|1                            Yellow
303                35769|1                            Yellow
304                35770|1                            Orange
305                35771|1                            Orange
306                35772|1                            Orange
307                35773|1                            Yellow
308                35774|1                            Yellow
309                35775|1                            Yellow
310                35776|1                            Yellow
311                35805|1                            Orange
312                36627|1                            Orange
313                36628|1                            Orange
314                36757|1                            Orange
315                36759|1                            Yellow
316                36763|1                            Yellow
317                36764|1                            Orange
318                36774|1                            Orange
319                36775|1                            Green
320                36776|1                            Orange
321                36779|1                            Orange
322                36782|1                            Yellow
323                36784|1                            Green
324                36785|1                            Yellow
325                36786|1                            Yellow
326                36952|1                            Orange
327                36953|1                            Orange
328                36954|1                            Orange
329                36955|1                            Orange
330                36956|1                            Orange
331                36957|1                            Orange
332                36958|1                            Orange
333                36959|1                            Orange
334                37035|1                            Yellow
335                37042|1                            Yellow
336                37081|1                            Yellow
337                37082|1                            Yellow
338                37083|1                            Yellow
339                37084|1                            Yellow
340                37085|1                            Yellow
341                37086|1                            Yellow
342                37090|1                            Yellow
343                37091|1                            Green
344                37095|1                            Yellow
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                      A                                 B
345                37099|1                            Yellow
346                37104|1                            Green
347                37215|1                            Yellow
348                37216|1                            Orange
349                37218|1                            Yellow
350                37260|1                            Green
351                37271|1                            Green
352                37348|1                            Orange
353                37351|1                            Orange
354                37352|1                            Orange
355                37355|1                            Orange
356                37476|1                            Yellow
357                37478|1                            Yellow
358                37479|1                            Yellow
359                37480|1                            Yellow
360                37481|1                            Yellow
361                37518|1                            Yellow
362                37519|1                            Yellow
363                37520|1                            Yellow
364                37521|1                            Yellow
365                37522|1                            Orange
366                37523|1                            Orange
367                37524|1                            Orange
368                37536|1                            Green
369                37663|1                            Yellow
370                37664|1                            Green
371                37665|1                            Green
372                37666|1                            Green
373                37668|1                            Orange
374                37669|1                            Orange
375                37805|1                            Yellow
376                37806|1                            Yellow
377                37807|1                            Yellow
378                37809|1                            Yellow
379                37812|1                            Yellow
380                37814|1                            Green
381                37815|1                            Yellow
382                37816|1                            Yellow
383                37824|1                            Orange
384                37827|1                            Orange
385                37830|1                            Yellow
386                37841|1                            Orange
387                37843|1                            Yellow
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                      A                                 B
388                37846|1                            Yellow
389                37847|1                            Yellow
390                37848|1                            Green
391                37941|1                            Yellow
392                37942|1                            Yellow
393                37943|1                            Yellow
394                38035|1                            Green
395                38160|1                            Green
396                38161|1                            Green
397                38162|1                            Yellow
398                38163|1                            Yellow
399                38164|1                            Green
400                38165|1                            Green
401                38166|1                            Green
402                38167|1                            Yellow
403                38168|1                            Yellow
404                38169|1                            Green
405                38170|1                            Green
406                38171|1                            Yellow
407                38199|1                            Yellow
408                38200|1                            Green
409                38278|1                            Green
410                38279|1                            Green
411                38285|1                            Green
412                 4009|1                            Yellow
413                 4047|1                            Yellow
414                 4050|1                            Yellow
415                 4054|1                            Yellow
416                 4068|1                            Yellow
417                 4074|1                            Orange
418                 4075|1                            Yellow
419                 4189|1                            Yellow
420                 4192|1                            Yellow
421                 4202|1                            Yellow
422                 4203|1                            Yellow
423                 4205|1                            Yellow
424                 4210|1                            Orange
425                 4214|1                            Orange
426                 4215|1                            Orange
427                 4222|1                            Green
428                 4583|1                            Yellow
429                 4585|1                            Yellow
430                 4592|1                            Yellow
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                      A                                 B
431                 4606|1                            Orange
432                 4609|1                            Yellow
433                 4611|1                            Green
434                 4612|1                            Green
435                 4613|1                            Orange
436                 4627|1                            Yellow
437                 4629|1                            Yellow
438                 4630|1                            Orange
439                 4635|1                            Yellow
440                 4640|1                            Yellow
441                 4641|1                            Yellow
442                 4643|1                            Yellow
443                 4648|1                            Yellow
444                 4649|1                            Yellow
445                 4653|1                            Orange
446                 4654|1                            Yellow
447                 4658|1                            Orange
448                 4659|1                            Yellow
449                 4663|1                            Yellow
450                 4665|1                            Yellow
451                 4666|1                            Yellow
452                 4670|1                            Yellow
453                 4674|1                            Yellow
454                 4675|1                            Yellow
455                 4679|1                            Yellow
456                 4684|1                            Green
457                 4686|1                            Yellow
458                 4689|1                            Yellow
459                 5215|1                            Yellow
460                 5220|1                            Orange
461                 5693|1                            Yellow
462                 5694|1                            Orange
463                 5698|1                            Orange
464                 5702|1                            Yellow
465                 5705|1                            Yellow
466                 5706|1                            Orange
467                 5707|1                            Orange
468                 5709|1                            Yellow
469                 5711|1                            Yellow
470                 5712|1                            Yellow
471                 5716|1                            Yellow
472                 5726|1                            Orange
473                 6488|1                            Orange
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                      A                                 B
474                 6497|1                            Orange
475                 6501|1                            Yellow
476                 6504|1                            Orange
477                 7563|1                            Orange
478                 7994|1                            Green
479                 7997|1                            Green
480                 8009|1                            Yellow
481                 8025|1                            Orange
482                 8027|1                            Yellow
483                 8029|1                            Orange
484                 8030|1                            Yellow
485                 8039|1                            Green
486                 8050|1                            Yellow
487                 8064|1                            Yellow
488                 8090|1                            Yellow
489                 8100|1                            Yellow
490                 8415|1                            Yellow
491                 8652|1                            Yellow
492                 8654|1                            Yellow
493                 8656|1                            Yellow
494                 8660|1                            Orange
495                 8662|1                            Orange
496                 9050|1                            Yellow
497                 9054|1                            Orange
498                 9058|1                            Yellow
499                 9060|1                            Yellow
500                 9061|1                            Orange
501                 9062|1                            Orange
502                 9063|1                            Yellow
503                 9066|1                            Orange
504                 9073|1                            Orange
505                 9345|1                            Yellow
506                 9905|1                            Yellow
507                 9911|1                            Yellow
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                 Appendix F: Air Monitoring Table
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                                         Appendix F


Warning and Action Levels for Air Monitors
                                          Table 1
    Pollutant     Level                   15-minute Average Concentration
 1,3-Butadiene   Warning    25 ppb
 Isobutylene     Warning    150 ppb


                                          Table 2
    Pollutant     Level                   15-minute Average Concentration
 1,3-Butadiene   Action     1,700 ppb
 Chlorine        Action     Any detection at fence line above 0.5 ppm
 Isobutylene     Action     78,000 ppb
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Appendix G: PNO Administrative Order on Consent Requirements




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                                          Appendix G

The compliance obligations contained in paragraph 72 of the AOC are amended as follows:



   72. The EPA and Respondent agree that Respondent shall complete the following actions

       (“Compliance Actions”) at the PNO Facility:

          a. Fixed Equipment (Vessels and Piping):

                  i. Remaining Life Calculations: Within sixty (60) days of the effective date

                     of this Order, identify all fixed equipment that requires a remaining life

                     calculation pursuant to RAGAGEP and does not have a recorded

                     remaining life calculation. Within one hundred twenty (120) days of the

                     effective date of this Order, calculate and record remaining life

                     calculations as required for all fixed equipment consistent with

                     RAGAGEP.

                 ii. Damage Mechanism Reviews: Within one (1) year of the effective date of

                     this Order, Respondent shall complete the actions described in the

                     Damage Mechanism Review Audit Plan submitted by Respondent to EPA

                     on October 13, 2022 and submit a summary of and schedule for preparing

                     any new damage mechanism review/control studies or otherwise address

                     any observations, findings, and recommendations.

                 iii. Inspection Plans: Within one (1) year of the effective date of this Order,

                     Respondent shall complete the actions described in the Inspection Plans

                     and Policies audit Plan submitted by Respondent to EPA on October 13,

                     2022, and provide a summary of and schedule for addressing any

                     observations, findings, and recommendations.


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              iv. Overdue Inspections: Within thirty (30) days of the effective date of this

                  Order, identify all fixed equipment with inspections that were overdue on

                  the effective date of this Order. Within ninety (90) days of the effective

                  date of this Order, unless otherwise agreed by the EPA in writing, conduct

                  all overdue inspections on fixed equipment. Within one hundred twenty

                  (120) days of the effective date of this Order, based on the results of

                  overdue inspections: (i) evaluate and update inspection plans and policies;

                  (ii) ensure inspection schedules are up-to-date and compliant with the

                  inspection plans, policies, and RAGAGEP; (iii) update and record

                  remaining life calculations as required by RAGAGEP; and (iv) correct any

                  equipment deficiencies identified consistent with 40 C.F.R. § 68.73(e).

                  Within one hundred twenty (120) days of the effective date of this Order,

                  submit, as provided herein, a summary of the corrective actions taken

                  pursuant to this paragraph, including documentation that any inspection

                  observations, findings, and recommendations and equipment deficiencies

                  were addressed.

              v. Materials of Construction: Within one (1) year of the effective date of this

                  Order complete the actions described in the Materials of Construction

                  Audit Plan submitted by Respondent to EPA on September 21, 2022, and

                  submit, as provided herein, a list of equipment with unknown,

                  incompatible or inadequate materials of construction. Within six months

                  of identifying the list of equipment, unless otherwise agreed by EPA in

                  writing, Respondent shall take action to: (a) identify any unknown




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                  materials of construction and incorporate the information into damage

                  mechanism reviews/corrosion studies and inspection plans and policies;

                  and (b) replace any incompatible or inadequate materials of construction

                  with those that are compatible or adequate.

        b. Rotating Equipment (Pumps and Compressors):

               i. Criticality Risk Ranking: Within one hundred eighty (180) days of the

                  effective date of this Order complete the actions described in the Rotating

                  Equipment Criticality Risk Ranking plan submitted by Respondent to EPA

                  on October 21, 2022, and submit a summary and schedule for addressing

                  any observations, findings, and recommendations.

              ii. ITPM Plans: Within one hundred eighty (180) days of the effective date of

                  this Order complete the actions described in the Rotating Equipment

                  ITPM submitted by Respondent to EPA on October 21, 2022, and a

                  summary of and schedule for addressing any observations, findings, and

                  recommendations.

              iii. ITPM Schedules: Within one hundred eighty (180) days of the effective

                  date of this Order, complete the actions described in the Rotating

                  Equipment ITPM Schedules plan submitted by Respondent to EPA on

                  October 21, 2022. Within one (1) year the effective date of this Order

                  provide a list of overdue ITPM tasks. Within thirty (30) days of submitting

                  the list of overdue ITPMs tasks, unless otherwise agreed by EPA in

                  writing: (a) complete all overdue ITPMs tasks; (b) take action to ensure

                  future schedules are up-to-date and compliant with the ITPM plans; and




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                  (c) submit, as provided herein, a summary of the actions taken to address

                  the overdue ITPM tasks and correct any future schedules.

              iv. Deficiencies: Within one (1) year of the effective date of this Order,

                  complete the actions described in the Rotating Equipment Deficiencies

                  plan submitted by Respondent to EPA on October 13, 2022,Within sixty

                  (60) days of the effective date of this Order, correct the deficiencies in

                  rotating equipment identified before further use of the equipment or

                  submit, as provided herein, a plan to EPA for correcting deficiencies in a

                  safe and timely manner when necessary means are taken to assure safe

                  operation.

        c. Instrumentation and Safety Systems:

               i. Within one hundred eighty (180) days of the effective date of this Order,

                  compile a list or lists of safety systems (see 40 C.F.R. § 68.65(d)(1)(viii)),

                  and audit the list(s) to ensure the list is accurate, complete, and current.

                  Submit, as provided herein, a summary of Respondent’s process for

                  identifying safety systems, and the compiled the list of safety systems.

              ii. Within one (1) year of the effective date of this Order, perform an audit of

                  the hazard and risk assessments (“H&RA”) conducted for all safety

                  instrumented systems (“SIS”) to ensure they are accurate, complete, and

                  compliant with Respondent’s corporate and Facility specific programs and

                  policies and established RAGAGEP (e.g. ANSI/ISA 61511). Submit, as

                  provided herein, a summary of and schedule for addressing any

                  observations, findings, and recommendations.




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              iii. Within one (1) year of the effective date of this Order, perform an audit of

                   the safety requirements, design, and safety integrity level (“SIL”) and/or

                   risk reduction factor (“RRF”) designations for all safety instrumented

                   systems (“SIS”) to determine whether they are accurate, current, and

                   consistent with the latest H&RAs. Submit, as provided herein, a summary

                   of Respondent’s process for auditing the SIS.

              iv. Within one (1) year of the effective date of this Order, complete the

                   actions described in the Instrumentation and Safety Systems: ITPM Audit

                   Response plan submitted by Respondent to EPA on December 20, 2022

                   and submit a summary of and schedule for addressing any observations,

                   findings, and recommendations.

               v. Within sixty (60) days of the effective date of this Order identify all

                   overdue instrumentation and safety system ITPM tasks and submit, as

                   provided herein, the list of overdue ITPM tasks to EPA. Within ninety

                   (90) days of the effective date of this Order, unless otherwise agreed by

                   EPA in writing, conduct all overdue ITPMs tasks and ensure schedules are

                   up-to-date and compliant with the ITPM plans.

              vi. Within one hundred twenty (120) days of the effective date of this Order,

                   Respondent shall identify all instrumentation and safety system

                   deficiencies and correct deficiencies before further use or submit, as

                   provided herein, a plan to EPA for correcting deficiencies in a safe and

                   timely manner when necessary means are taken to assure safe operation.

        d. Water on Pumps: Within sixty (60) days of the effective date of this Order:




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               i. Submit documentation that training offered at HNO to address the use of

                  water on pumps has been provided at PNO.

        e. Deficient Pressure Gauges:

               i. Within two hundred forty (240) days of the effective date of this Order,

                  unless otherwise agreed by EPA in writing:

                      a. Survey all operating units to evaluate the operating condition of

                          local gauges, including but not limited to pressure, temperature,

                          level, and flow gauges.

                      b. Remove, replace, or repair all gauges determined to be non-

                          functioning or in-error consistent with 40 C.F.R. § 68.73(e).

        f. Idle or Out-of-Service Equipment: Within one hundred twenty (120) days of the

           effective date of this Order, unless otherwise agreed by EPA in writing:

               i. Identify all units or equipment classified as idle, meaning retired from

                  service and abandoned in place, or out-of-service, including equipment

                  that has been permanently removed from operational service and

                  equipment that has been taken out-of-service for an undetermined length

                  of time (e.g. equipment currently out of service but may be returned to

                  operational service at some future time).

               ii. Except for vent systems, evaluate whether the idle or out-of-service units

                  or equipment are physically connected to in-service units or equipment.

              iii. Except for vent systems, positively isolate any units or equipment

                  determined to be physically connected to in-service units or equipment.

        g. Dead Legs Administrative Controls:




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               i. Within sixty (60) days of the effective date of this Order, for each dead leg

                  in high purity butadiene service that is managed with administrative

                  controls, Respondent shall submit to EPA, as provided herein, a

                  description of the type of administrative controls in place and the system

                  that documents ongoing and completed administrative control measures in

                  a timely, adequate, and reliable manner.

        h. Dead Legs Mobile Ops Tracking System: Within sixty (60) days of the effective

           date of this Order submit documentation of the system used to track the current

           status of PNO dead legs.

        i. Temporary Dead Legs: Within sixty (60) days of the effective date of this Order

           submit documentation of the system used to reliably and timely track and record

           the current status and type of mitigation employed for all temporary dead legs in

           high purity butadiene service.

        j. Maintenance:

               i. Within ninety (90) days of the effective date of this Order, audit the

                  Maximo maintenance work process software to verify that, as of the

                  effective date of this Order: (1) there are no outstanding work orders

                  (approved work orders not yet completed with a past due date) aged

                  beyond six (6) months; and (2) there are no outstanding work order

                  requests (work order requests awaiting approval or denial) aged beyond

                  thirty (30) days. For work orders that are aged beyond six (6) months,

                  provide documentation regarding the reasons the work order is open and




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                   the plan to complete the work. Submit, as provided herein, a summary of

                   the audit conducted of the Maximo maintenance work process software.

        k. Housekeeping Standard: Within sixty (60) days of the effective date of this Order

           implement a housekeeping standard consistent with the standard in place at the

           HNO facility.




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Appendix H: HNO Service Requests and Work Orders (Updated)




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                                       Appendix H



Service Request Completion Dates

 SR Number     Estimated Completion Date
 SR52951       5/31/2024
 SR59987       6/31/2024
 SR57962       12/31/2024
 SR59943       12/31/2024
 SR59946       12/31/2024
 SR55776       5/31/2024


Work Order Completion Dates

 WO Number     Estimated Completion Date
 994682        4Q2025
 1002296       3Q2025
 1048248       2Q2027
 7223787       4Q2024
 7200733       2Q2024




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